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                    EXHIBIT 4
             Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 2 of 192



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      APPLICATION     NUMBER               PATENT   NUMBER                         GROUP ART UNIT                               FILE     WRAPPER LOCATION

            13399884                          8407273                                   2193                                                 92X




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144359

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                                           PART     1   ATTORNEYAPPLICANT                 COPY
                                                               page   1   of   1




                                                                                                                                               SINGULAR 00001609
                       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 3 of 192
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           13399884                               03262013                               640   12                      00061   001       I




               24208            7590                    03062013

         ROBERT PLOTKIN PC
         15 New England Executive                 Office Park

         Burlington      MA 01803




                                                                        ISSUE NOTIFICATION

The projected           patent number             and issue date are specified above



                                Determination                of Patent Term Adjustment under 35                          USC 154 b
                                                          application          filed   on or after      May 29 2000

The Patent Term Adjustment is 0 days Any patent to issue from the above identified application                                                                           will   include

an indication          of the adjustment             on the front page



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 13399884                                         02172012                                           Joseph         Bates                                                                                                          A0006 1001C1                                          2684

TITLE      OF INVENTION




       APPLN TYPE                                 SMALL ENI           I                                T          DI   T            P11131       11   ATION FEE DI                        PRIN PAID ISSUE FEE                                        TOTAL           FEES DUE                                DATE DUE


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CFR 1363
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                                    Electronic Patent Application              Fee Transmittal


Application      Number                                    13399884




Filing Date                                                17 Feb 2012




Title of Invention                                         Processing   with   Compact Arithmetic   Processing    Element




First   Named InventorApplicant             Name           Joseph   Bates




Filer                                                      Robert Plotkin




Attorney Docket      Number                                A0006 1001C1



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                            EFS ID                                     15046402




                    Application        Number                          13399884




          International     Application          Number


                    Confirmation        Number                         2684




                      Title of   Invention                             Processing    with   Compact Arithmetic       Processing   Element




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            13399884                                              02172012                                                 Joseph   Rates                                            A0006 1001C1

                                                                                                                                                                       CONFIRMATION                      NO 2684
24208                                                                                                                                      PUBLICATION                            NOTICE
ROBERT PLOTKIN PC
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Title Processing               with     Compact       Arithmetic              Processing      Element


Publication               NoUS20130031153Al
Publication               Date01312013



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                                                                                            page   1   of   1




                                                                                                                                                                                               SINGULAR 00001617
               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 11 of 192

                                            ApplicationControl   No        ApplicantsPatent           Under
                                                                           Reexamination

           Search Notes                     13399884                       BATES JOSEPH

                                            Examiner                       Art   Unit


                                            MICHAEL D YAARY                2193




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       Class                                  Subclass                             Date                Examiner




                                                     SEARCH NOTES

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 Updated search                                                                  12072012         MY



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       Class                                  Subclass                             Date                Examiner
 708                  490524                                                     11152012         MY
 712                  221                                                        11152012         MY
 382                  255                                                        11152012         MY




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             13399884                              02172012                                                    Joseph       Bates                                        A0006 1001C1                                2684

TITLE      OF INVENTION            Processing       with   Compact         Arithmetic   Processing    Element




       APPLN         TYPE                                                   ISSUE FEE DUE                 PUBLICATION        FEF DT I         pRiv             SUE FEB                     FEES DUE                 DATE DUE

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Fees Transmittal and pay                 PUBLICATION
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and twice          the amount of the ISSUE FEE shown above or                                                                 Transmittal          and pay the PUBLICATION                        FEE if         required    and 12
                                                                                                                              the ISSUE           FEE shown above


II    PART B               FEES TRANSMITTAL                               or its   equivalent        must be completed                    and returned    to   the United       States Patent          and Trademark           Office

USPTO                with   your ISSUE            FEE and PUBLICATION                        FEE if required                  If  you are charging the fees to your deposit account section                                       4h
of Part       B       Fees Transmittal should be completed    and an extra copy                                             of the form should be submitted If an equivalent  of Part B is filed a

request       to     reapply a previously paid issue fee must be clearly made and delays                                                    in   processing     may occur due to the difficulty                     in   recognizing
the paper as           an equivalent          of Part      B
III    All    communications regarding this application must give                                           the application               number      Please    direct all     communications prior to issuance                     to

Mail Stop ISSUE FEE unless advised                                   to   the contrary


IMPORTANT                    REMINDER                    Utility          patents       issuing      on    applications              filed       on   or after Dec         12 1980             may      require          payment    of

maintenance fees It                    is   patentees responsibility to ensure timely payment of maintenance                                                    fees    when due


                                                                                                              Page      1   of 3

PTOL85        Rev 0211


                                                                                                                                                                                                      SINGULAR 00001619
                                      Case 1:19-cv-12551-FDS  Document
                                                           PART B FEES494-4  Filed 05/19/23 Page 13 of 192
                                                                       TRANSMITTAL

  Complete and send this form together with applicable                                                                fees to Mail                                 Mail Stop ISSUE FEE
                                                                                                                                                                   Commissionerfor Patents
                                                                                                                                                                   PO   Box 1450
                                                                                                                                                                   Alexandria Virginia 223131450
                                                                                                                                            or Fia                 5712732885
INSTRUCTIONS                   This    form       should    be    used   for transmitting the ISSUE FEE and PUBLICATION           FEE if required Blocks                                                                                 1     through 5 should be completed where
              All        further                                            the Patent advance   orders and notification of maintenance           be mailed                                                                                     the current correspondence address as

                                                                                                                     a                                                                                                         b
appropriate                       correspondence                 including                                                              fees will                                                                                         to

indicated unless         corrected   below or directed                     otherwise        in   Block    1   by           specifying           a new         correspondence                     address           andor            indicating            a separate             FEE ADDRESS               for

maintenance        fee notifications

                 CORRESPONDENCE               ADDRESS      Note        Use Block   I   for any change   of address                                                 Note           A certificate             of mailing can only be used for domestic mailings of the

                                                                                                                                                                   Fees Transmittal                         This certificate cannot be used for any other accompanying

                                                                                                                                                                   papers          Each        additional          paper such as an assignment or formal                                    drawing    must
                                                                                                                                                                   have its        own         certificate        of mailing or transmission
           24208                       7590                            11302012

    ROBERT                 PLOTKIN PC                                                                                                                                                                   Certificate of Mailing or Transmission

                                                                                                                                                                                                                      Fees Transmittal
           New England                                                                                                                                             I hereby certify that                     this                                    is   being deposited   with the United
     15                                Executive            Office Park
                                                                                                                                                                   States Postal Service                         with    sufficient      postage        for first class mail in an envelope

    Burlington MA 01803
                                                                                                                                                                   addressed              to    the    Mail         Stop      ISSUE          FEE    address      above or being facsimile
                                                                                                                                                                   transmitted            to    the    USPTO 571 2732885                           on the date indicated                   below




     APPLE                                           FILING           DA   I                                         FIRST           NAMED

           13399884                                    02172012                                                                      Joseph      Bates                                                                       A0006 1001C1                                                 2684

TITLE      OF INVENTION                 Processing        with    Compact          Arithmetic       Processing       Element




                                                                                          117 FEE TV T                   PT   7111ATION FE F DI 7                                          p            s031103                                FEES DUE                                 DATE DUE

     nonprovisional                                                                              S885                                       S   300                                                                                          $1185                                      02282013


                           EXAMINER

                  YAARY MICHAEL D                                                                2193                                     0820H

1 Change of correspondence                   address      or indication          of Fee Address               37              2 Ior printing on                the patent            front
                                                                                                                                                                                                 page list
CFR 1363
                                                                                                                              1      the    names         of up         to    3   registered patent                 attorneys
   la Change           of correspondence            address      or Change             of Correspondence                      or agents         OR alternatively
   Address form          PTOSB122                 attached
                                                                                                                              2    the name of a single firm having as a member a
   1I Fee Address               indication        or Fee Address                 Indication       form                        registered  attorney or agent and the names of up to
   PTOSR47 Rev 0302 or more recent                                    attached     Use of a Customer                          2 registered patent attorneys or agents If no name is

   Number         is   required                                                                                               listed no         name        will       be printed



3 ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT                                                                                       print or type

   PLEASE NOTE                  Unless an         assignee       is   identified        below      noassignee        data          will
                                                                                                                                           appear   on the patent  If an
                                                                                                                                                                         assignee                                       is   identified      below        the   document                has been   filed   for

   recordation as set          forth    in   37   CFR 311             Completion          of this form is      NOT a substitute                for tiling an assignment


   A NAME OF ASSIGNEE                                                                                                    B RESIDENCE CITY                                     and    STATE OR COUNTRY




Please check       the   appropri at                        it                                                                 I     n    the   patent                 la Individual                  1=1
                                                                                                                                                                                                            Corporation           or other       priN                            nuty     la Government



4a The following fees are submitted                                                                                4b Payment of Fees Please                                      first    reapply           any      previously         paid issue fee             shown above

   131   Issue Fee                                                                                                       ri        A check      is   enclosed

   121   Publication Fee           No small entity discount                    permitted                                 j         Payment       by credit             card Form           PTO 2038 is attached
   la Advance           Order          of Copies                                                                         la The           Director     is   hereby authorized                     to    charge          the required         fees any deficiency                        or credit any

                                                                                                                                                          to Deposit Account                      Number                                                                                    of this form
                                                                                                                              overpayment                                                                                                        enclose        an extra copy


5 Change         in Entity Status            from status         indicated       above
   la a Applicant          claims       SMALL ENTITY                    status See 37            CFR 127                 J h Applicant                 is   no longer claiming                        SMALL             ENTITY          status See         37 CFR            I
                                                                                                                                                                                                                                                                                 27g2
NOTE       The   Issue    Fee and Publication Fee                 if
                                                               required will not be                       accHd           11111111
                                                                                                                         Ii                           H       11111      II                                                        11                           L
                                                                                                                                                                                                                                                                    11   1       ig nee   or other party   in

interest   as shown       by   the    records     of the United States Patent and Trademark                           Office




   Authorized          Signature                                                                                                                                                    Date




   Typed    or printed         name                                                                                                                                                 Registration                 No

This collection of information is required by 37 CFR 1311 The information is required to obtain or retain a benefit by the public which is to file and by the USPTO to process

an application  Confidentiality   is
                                      governed   by 35                          USC
                                                             122 and 37 CFR 114 This collection is estimated to take 12 minutes to complete including gathering preparing and

submitting the completed application form to the                                USPTO
                                                                Time will vary depending upon the individual case Any comments on the amount of time you require to complete
this form andor
                 suggestions    for  reducing  this burden should be sent to the Chief Information Officer     Patent and Trademark Office         Department of Commerce         US                                                               US                                                  PO
Box 1450 Alexandria Virginia 223131450                                     DO NOT SEND FEES OR COMPLETED                                          FORMS 10 THIS ADDRESS                                             SEND TO Commissioner                            for      Patents      PO Box 1450
Alexandria Virginia 223131450

Under the    Paperwork          Reduction          Act of 1995             no persons      are required       to   respond          to    a collection of information                          unless       it
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PTOL85       Rev 0211              Approved         for   use through          08312013                                       OMB 06510033                              US Patent and Trademark Office US DEPARTMENT                                                                 OF COMMERCE



                                                                                                                                                                                                                                                                SINGULAR 00001620
                              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 14 of 192

                            UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                                                                      UNITED     STATES DEPARTMENT    OF COMMERCE
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                                                                                                                                      Address   COMMISSIONER FOR PATENTS
                                                                                                                                                PO Box 1450
                                                                                                                                                Alexandria   Virginia 223131450
                                                                                                                                                www moo gov



     APPLICATION         NO               FILING   DATE                         FIRST   NAMED INVENTOR                            I
                                                                                                                                      ATTORNEY       IXCKET NO              CONFIRMATION          NO

           13399884                        02172012                                     Joseph   Bates                                    A0006 1001C1                                2684



           24208                 7590               11302012

     ROBERT              PLOTKIN PC                                                                                                                          YAARY MICHAEL D
     15   New England            Executive    Office Park

     Burlington          MA 01803                                                                                                               ART UNIT                          PAPER   NUMBER

                                                                                                                                                  2193



                                                                                                                                  DATE MAILED                11302012




                                          Determination          of Patent Term Adjustment under 35                              USC 154 b
                                                               application     filed    on    or after     May 29 2000


The       Patent        Term Adjustment              to   date   is   0   days If the issue fee                is   paid   on the date            that       is   three months             after   the

mailing        date        of this      notice     and the patent         issues on     the      Tuesday before            the   date     that       is      28 weeks             six and a half
months             after   the mailing date of this notice                 the Patent    Term Adjustment will be 0 days


If   a Continued              Prosecution           Application       CPA was            filed    in     the   above identified             application               the     filing       date    that

determines              Patent    Term Adjustment is the filing date                  of the most recent             CPA

Applicant will              be able to obtain more detailed information by accessing                                  the Patent         Application               Information Retrieval

PAIR WEB site httppairusptogov

Any questions               regarding        the Patent        Term Extension       or Adjustment determination                         should be directed                    to    the Office of

Patent       Legal         Administration           at    5712727702           Questions          relating to        issue and publication                    fee payments                should       be
directed           to   the Customer Service Center of the Office of Patent                              Publication       at    18887860101                       or   5712724200




                                                                                        Page 3 of 3

PTOL85      Rev 0211


                                                                                                                                                                       SINGULAR 00001621
        Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 15 of 192




                                                                 Privacy Act                Statement



The Privacy Act of 1974                   PL 93579                     requires      that
                                                                                            you be given           certain        information in connection                 with

your submission of the attached form related                                    to   a patent application                 or patent        Accordingly            pursuant       to

the   requirements          of the Act          please          be advised           that     1    the   general           authority       for the       collection      of this

information       is   35     USC 2b2 2 furnishing of the information solicited voluntary and 3 the                                        is


principal     purpose       for which
                                   the information used by the US Patent and Trademark Office
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andor    examine            your    submission             related       to     a patent      application            or    patent     If        you do     not    furnish    the

requested information the                  US Patent and Trademark            may             Office                 not       be able to process andor examine

your submission which                    may result in termination of proceedings or abandonment                                                  of the application             or

expiration of the patent



The information provided                  by you       in      this    form will      be subject to the following                    routine       uses


  1 The information on this form will                                 be treated confidentially              to the extent            allowed       under the Freedom

       of Information Act                5 USC 552 and the Privacy                             Act      5 US0 552a Records from                              this      system of
       records        may be        disclosed        to     the    Department           of Justice         to     determine          whether        disclosure          of these

       records    is required          by the Freedom of Information Act
  2 A record           from this system of records                       may be disclosed as a routine use in the course of presenting
       evidence        to a   court      magistrate or administrative tribunal including disclosures                                               to opposing          counsel
       in the   course of settlement              negotiations
  3 A record           in    this         may be disclosed as a routine use to a Member of Congress
                                    system of records

       submitting a request involving                 whom the record pertains when the individual has
                                                               an individual to

       requested assistance from the Member with respect to the subject matter of the record
  4 A record in this system of records may be disclosed                                             as   a routine             use to a contractor          of the Agency

       having     need        for the     information             in   order to perform a contract                         Recipients           of information shall be

       required to          comply with           the     requirements               of the Privacy          Act       of 1974 as amended                                   to   5
                                                                                                                                                             pursuant
       USC 552am
  5 A record           related      to   an    International             Application          filed     under the Patent Cooperation                         Treaty      in this

       system     of records             may    be     disclosed           as    a routine use to the                     International          Bureau      of the      World
       Intellectual         Property Organization                     pursuant       to the Patent         Cooperation             Treaty
  6 A record in this system of records may be disclosed as a routine use to another federal                                                                           agency for

       purposes of National                Security         review       35     USC 181 and for review pursuant to the Atomic Energy
       Act    42 USC 218c
  7 A     record       from this system                 of records            may be disclosed                  as     a routine use to              the    Administrator

       General        Services       or hisher designee                   during an inspection                  of records conducted                 by    GSA as part of
       that   agencys          responsibility             to    recommend              improvements               in   records
                                                                                                                                      management             practices      and

       programs under authority of 44                           USC 2904 and 2906 Such disclosure shall be made in accordance
       with GSA regulations governing inspection of records for this purpose and any other relevant
                the

       ie GSA or Commerce directive Such disclosure shall not be used to make determinations  about

       individuals

  8 A record           from     this     system of records                may be disclosed as a routine use to the                                   public after         either

       publication          of the application              pursuant          to 35    USC 122b or issuance of a patent pursuant to 35
       USC        151 Further              a record            may be         disclosed        subject       to      the       limitations       of 37     CFR 114          as   a
       routine    use       to the       public   if      the   record        was     filed   in   an    application             which     became abandoned or                   in

       which     the    proceedings            were       terminated            and which          application            is    referenced       by either a published

       application          an application        open to public inspection                        or an   issued
                                                                                                                          patent
  9 A record           from this system of records     may be disclosed as a routine use to a Federal State or local
       law enforcement              agency if the USPTO becomes aware of a violation or potential violation of law or
       regulation




                                                                                                                                                                      SINGULAR 00001622
                         Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 16 of 192
                                                                                                                             Application          No                                 Applicants


                                                                                                                               13399884                                              BATES         JOSEPH
          ExaminerInitiated Interview                                                  Summary
                                                                                                                             Examiner                                                Art Unit



                                                                                                                             MICHAEL            D YAARY                              2193



  All    participants




 1 MICHAEL D YAARY
 2 Robert               Plotkin
                                    applicant          applicants representative                                 PTO personnel


                                                                                                                                3
                                                                                                                                4
        Date     of     Interview             14    November 2012


         Type                         Telephonic                     0 Video Conference
                               0 Personal copy                            to 0
                                                                      given                   applicant                   El applicants representative


  Exhibit        shown              or demonstration                 conducted                 0 Yes                      El   No
          If   Yes       brief       description




  Issues        Discussed                0101             0112               0102           0103               E0thers
 For each       of the checked        boxes above please                  describe    below   the issue and detailed description               of the discussion




 Claims discussed


  Identification               of    prior    art   discussed                See      Continuation               Sheet


 Substance               of    Interview

 For each       issue discussed provide             a detailed       description and indicate            if   agreement    was reached         Some   topics    may include       identification   or clarification   of a

 reference      or a portion        thereof   claim interpretation              proposed   amendments            arguments     of any applied references             etc


  Discussed              a TO to be filed                 to   tie    to   patent number 8150902                               Further in an examiner amendment examiner will add

 the     term low precision                        high   dynamic               rancleto        independent                 claims       14    and 24          in     order to define the abbreviation                       of

 LPHDR




 Applicant        recordation           instructions            It   is   not   necessary     for   applicant       to    provide   a separate        record        of the   substance   of interview




 Examiner recordation                   instructions            Examiners            must summarize the substance                   of   any   interview       of   record    A complete and       proper    recordation       of

 the    substance        of    an   interview      should      include      the items      listed   in   MPEP 71304 for complete                  and proper           recordation    including    the   identification      of the

 general       thrust    of   each argument or issue discussed a general indication of any other pertinent matters discussed regarding patentability                                                                  and the

 general       results    or   outcome of the interview to include an indication as to whether or not agreement was reached on the issues raised



 0 Attachment
  MICHAEL D YAARY
 Examiner         Art    Unit   2193




US Patent and Trademark Office
PTOL413B Rev 8112010                                                                                          Interview    Summary                                                                   Paper    No 20121115




                                                                                                                                                                                                      SINGULAR 00001623
                                    Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 17 of 192

                                                                                                                          Application        No                                         Applicants


                                                                                                                          13399884                                                      BATES JOSEPH
                                Notice of Allowability                                                                    Examiner                                                      Art Unit



                                                                                                                          MICHAEL          D YAARY                                      2193


                          The MAILING              DATE of this communication appears on the cover sheet with the correspondence address
All   claims        being allowable               PROSECUTION ON THE MERITS IS OR REMAINS CLOSED in this application          not included                                                               If




herewith          or previously            mailed a Notice                of   Allowance          PTOL85              or   other appropriate             communication                 will      be   mailed         in   due course THIS
NOTICE OF ALLOWABILITY                                  IS  NOT A GRANT OF PATENT RIGHTS      This application                                                is   subject        to    withdrawal              from       issue   at the   initiative

of    the   Office     or   upon      petition         by the applicant See 37 CFR 1313 and MPEP 1308

1 r         This communication                   is   responsive      to       02172012

2 0 An election                  was made by the applicant in response to a restriction                                          requirement           set   forth    during          the   interview           on                 the   restriction


            requirement          and election have been incorporated into this action

3 IN The allowed                    claims isare             170 As a result of the allowed claims                                   you    may be       eligible     to benefit            from the Patent                 Prosecution

            Highway program                 at   a    participating        intellectual         property         office    for the   corresponding            application For                    more information please see

            httawwwuutogovipatentsinit                               eventsphiindexis2                       or   send an        inquiry    to    PPHfeedbackza2usptcgov

4 0 Acknowledgment                         is   made      of   a claim      for foreign         priority     under        35   USC § 119a               d     or      f
              a0          All
                                      b 0 Some                   c 0 None                  of   the

                        1       0   Certified         copies   of   the    priority   documents              have     been received

                       2 0 Certified                  copies   of the      priority   documents              have     been received              in   Application         No
                       3 0 Copies of the certified                         copies     of   the        priority   documents           have    been received                in   this   national          stage        application     from the


                                    International         Bureau      PCT Rule 172a
                  Certified      copies     not       received


     Applicant       has        THREE MONTHS            FROM THE MAILING DATE of this communication to                                                         file   a    reply      complying               with   the requirements

      noted   below             Failure    to timely comply    result ABANDONMENT of this application
                                                                      will             in


     THIS     THREEMONTH                        PERIOD IS NOT EXTENDABLE

5 0 CORRECTED                         DRAWINGS                 as   replacement sheets must be submitted

             0       including      changes required by the attached                                  Examiners Amendment                        Comment or in the Office action                               of


                     Paper        NoMail Date

       Identifying        indicia     such as the         application number see 37 CFR 184c     should be written on the drawings                                                            in the front           not the back         al

       each       sheet     Replacement               sheets should be labeled as such in the header according to 37 CFR 1121d

6 0 DEPOSIT OF andor INFORMATION                                               about the deposit                 ofBIOLOGICAL MATERIAL must be submitted Note the
        attached          Examiners comment                    regarding         REQUIREMENT                      FOR THE DEPOSIT OF BIOLOGICAL MATERIAL




Attachments
1 0 Notice of References                          Cited      PTO 892                                                                  5           Examiners AmendmentComment

2           Information           Disclosure          Statements          PTOSB08                                                     6           Examiners Statement                       of    Reasons            for   Allowance

             Paper     NoMail             Date    02172012 and 11262012
3 0 Examiners Comment Regarding                                      Requirement                for    Deposit                        7 0 Other
             of   Biological        Material

4           Interview       Summary PTO 413
             Paper     NoMail   Date 20121115


 MICHAEL D YAARY
Examiner Art Unit 2193




 US Patent and Trademark Office
 PTOL37 Rev 0912                                                                                                  Notice       of Allowability                                                   Part   of    Paper       NoMail    Date 20121115




                                                                                                                                                                                                                          SINGULAR 00001624
       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 18 of 192


ApplicationControl            Number 13399884                                                          Page 2

Art Unit      2193




                                           EXAMINERS AMENDMENT

        An examiners amendment                  to the record appears   below Should the changes


andor additions be unacceptable                 to applicant   an amendment     may be filed as provided


by 37 CFR       1312         To ensure consideration     of such   an amendment        it   MUST be

submitted      no    later   than the payment of the issue fee



        Authorization          for this   examiners amendment was given         in   a telephone   interview



with   Robert Plotkin on            11142012




        The     application         has been amended as follows




         In   claim    14    line   2 replace   LPHDR with low precision high dynamic range

LPHDR




         In   claim   24 line 5 replace LPHDR with low precision                high dynamic       range


LPHDR




                                          REASONS FOR ALLOWANCE




        The following          is   an examiners statement      of reasons   for allowance




                                                                                                      SINGULAR 00001625
      Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 19 of 192


ApplicationControl          Number 13399884                                                                             Page 3

Art Unit   2193




       The prior art of record does                 not teach    or suggest        at least wherein        the dynamic



range of the possible valid inputs to the first operation                     is   at least as wide as from



165000      through    65000 and for at least X=5 of the possible                          valid inputs to the first



operation the     statistical    mean over repeated execution                      of the first   operation      on each


specific   input from      the at least    X        of the possible   valid    inputs to the       first   operation of


the numerical     values represented            by the first output signal of the             LPHDR unit executing

the first operation        on that   input differs by at least        Y=05 from the result of an exact

mathematical      calculation        of the first    operation    on the numerical values              of that   same


input as recited      in    independent       claim    1   and similarly in independent            claims 11       14 and


2




       Any comments            considered       necessary        by applicant       must be submitted no            later




than the payment of the issue fee and to avoid processing delays                                  should preferably



accompany the issue fee                Such submissions should be clearly                   labeled        Comments on


Statement    of   Reasons for Allowance




       Any inquiry concerning              this communication          or earlier communications                 from the



examiner should be directed              to   MICHAEL        D YAARY whose telephone number                        is




5712701249            The examiner can normally be reached on Mon Fri 9 am530                                       pm




                                                                                                                   SINGULAR 00001626
     Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 20 of 192


ApplicationControl       Number 13399884                                                                       Page 4

Art Unit    2193


       If
            attempts to reach the examiner by telephone                    are unsuccessful       the   examiners


supervisor Chat       Do can be reached on 5712723721                        The fax phone number          for the



organization    where    this application    or proceeding       is   assigned    is   5712738300

       Information       regarding   the status of an application            may be obtained        from the


Patent Application       Information   Retrieval   PAIR system Status information for

published applications       may be obtained       from either        Private   PAIR or Public PAIR


Status information       for unpublished     applications   is   available      through       Private   PAIR only


For more information       about the PAIR system see httppairdirectusptogov                               Should



you have questions on access           to   the Private PAIR system contact the Electronic


Business     Center   EBC at 8662179197             toll   free       If
                                                                           you would   like   assistance   from a



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system call 8007869199           IN USA OR CANADA                 or 5712721000




MICHAEL D YAARY
Examiner      Art Unit   2193




                                                                                                           SINGULAR 00001627
                                      Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 21 of 192

                                                                                  ApplicationControl           No                                      ApplicantsPatent                   Under        Reexamination


  Issue Classification                                                            13399884                                                             BATES         JOSEPH




                                                                   1111
                                                                                  Examiner                                                             Art Unit


            111   111        11     11111111
                                                                                  MICHAEL D YAARY                                                      2193




                                                        ORIGINAL                                                                         INTERNATIONAL                      CLASSIFICATION

                            CLASS                                                  SUBCLASS                                            CLAIMED                                                  NON CLAIMED
                                                                                                                       0    6      F                      7 i   38 k20060




                                    CROSS REFERENCES

  CLASS                             SUBCLASS              ONE SUBCLASS PER BLOCK
 708                         9f


 712                    221



 382                    255




                  Claims renumbered                      in   the    same order as presented by applicant                          CPA                                      TDR147
  Final            Original           Final              Original         Final      Original   Final                      Final        Original         Final       Original     Final     I

                                                                                                                                                                                                 Original   I     Final
                                                                                                            Original                               J                                                                          Original


                                       42           I
                                                              20           23           39       55     I

                                                                                                               58

                                       43                     21           24           40       56            59


                                       44                     22           25          41        57           60


                                       45                     23           26          42        58           61



                                                              24           27          43        59           62


                                       69                     25           28          44        60           63


                                       70                     26           29          45        61           64


                                       11                     27           30          46        62           65


       9                9              12                     28           31          47        63           66


       10               10             13                     29           32          48        64           67


   33                   11             14                     30           46          49        65           68


       34               12             15                     31           47           50       66           69


   35                   13             16                     32           48           51       67           70


       36               14             17                     33           49           52


   37                   15             18                     34           50           53


   38                   16             19                     35           51           54




 NONE
                                                                                                                                                                                         Total   Claims Allowed


                                                                                                                                                                                                      70
 Assistant Examiner                                                                                                                           Date
 MICHAEL D YAARY
 EXaMinerArt                 Unit   2193                                                                                                   11152012                         0G   Print    Claims            0G       Print    Figure



                                                                                                                                                                                                                          6
                                                                                                                                              Date
                                                                                                                                                                                     1
 Primary Examiner


US Patent and Trademark                    Office                                                                                                                                                    Part of    Paper     No 20121115




                                                                                                                                                                                                   SINGULAR 00001628
                               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 22 of 192

                                                                   ApplicationControl              No           ApplicantsPatent         Under     Reexamination


  Issue Classification                                             13399884                                     BATES JOSEPH




                               11111
                                                                   Examiner                                     Art Unit

         111   111    11                 11   1     11   11


                                                                   MICHAEL D YAARY                              2193




               Claims renumbered              In   the same order as presented by   ap p   I   i
                                                                                                   c a nt    CPA           TDR147
    39               17          20                36                  55


    40               18          21                37         53       56




 NONE
                                                                                                                                        Total   Claims Allowed


                                                                                                                                                   70
 Assistant Examiner                                                                                           Date
 MICHAEL D YAARY
 ExaminerArt          Unit   2193                                                                           11152012       0G   Print    Claims         0G      Print    Figure



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                                                                                                                                                 SINGULAR 00001629
                          Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 23 of 192
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Doc code     IDS
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Doc description Information         Disclosure     Statement         IDS Filed                                                    US Patent and Trademark Office US DEPARTMENT OF COMMERCE
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                                                                            Application      Number                                 13399884


                                                                            Filing   Date                                          20120217
INFORMATION DISCLOSURE                                                               Named
                                                                            First                 Inventor                BATES Joseph
STATEMENT BY APPLICANT                                                      Art Unit
     Not for submission under 37              CFR 199
                                                                            Examiner Name


                                                                            Attorney    Docket            Number                   AXXXXXXXX




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                          Patent Number                                   Issue     Date                                                                     Relevant          Passages     or   Relevant
Initial       No                                          Code        l
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 NY           1           5887160                                         19990323                 Lauritzen          et   al




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                          5867683                                         19990202                 Witt   et    al




              3           5809320                                         19980915                 Jain   et    al




     NY
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                                      Case 1:19-cv-12551-FDS Document 494-4 Filed 13399884
                                                                   Number
                                                                                  05/19/23 Page 24 of 192
                                                                                          Application


                                                                                          Filing    Date                                         20120217
INFORMATION                                   DISCLOSURE                                           Named
                                                                                          First                 Inventor               BATES Joseph
STATEMENT BY APPLICANT                                                                    Art Unit
     Not for submission under 37                               CFR 199
                                                                                          Examiner Name


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                                      Case 1:19-cv-12551-FDS Document 494-4 Filed 13399884
                                                                   Number
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                                                                                                            Application


                                                                                                            Filing   Date                                20120217
INFORMATION DISCLOSURE                                                                                               Named
                                                                                                            First              Inventor            BATES Joseph
STATEMENT BY APPLICANT                                                                                      Art Unit
 Not for submission under 37                                          CFR 199
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                                                                                                            CERTIFICATION              STATEMENT

Please see 37                    CFR 197 and 198 to make the appropriate                                                     selections




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A signature                of the applicant                 or representative                      is       required    in   accordance        with   CFR 133 1018 Please see CFR 14d for the
form of the signature



Signature                                       Robert Plotkin Reg43861                                                                Date    YYYYMMDD                          20120217

NamePrint                                       Robert Plotkin                 Esq                                                     Registration       Number                 43861




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                             Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 26 of 192

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                                                                                  Application        Number 13399884

                                                                                                Filing       Date       2172012
      INFORMATION DISCLOSURE                                                     First   Named       Inventor           Bates
       STATEMENT BY APPLICANT
                                                                                                      Art Unit          2193

                                                                                          Client     Number A0006

                          Page     1   of 2                                               Matter Number                 100101




                                                     US PATENT DOCUMENTS
    Initials      Cite   No            Document Number                      IssuePublication              Date              First   Named     Inventor

    MYI              1                         5892962                                   461999                                       Cloutier


    MX               2                    20040054708                                3182004                                         Happonen




    Examiner Signature                        Michael Yaary                          Date Considered                          11272012
Examiner Please initial citation
                              if considered whether                         or not   citation   is   in    conformance              with   MPEP Section
609 Please draw a line through the citation   is not     if   it            in   conformance         and    it   is   not   considered       Please include
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                                                                                             Application               Number 13399884

                                                                                                                Filing
                                                                                                                              Date1      2172012
        INFORMATION DISCLOSURE                                                            First        Named           Inventor          Bates
         STATEMENT BY APPLICANT
                                                                                                                       Art Unit          2193

                                                                                                         Client        Number A0006

                                  Page 2 of 2                                                            Matter Number                   1001C1




                                                                                 GENERAL
 Pursuant     to   37   CFR 197 and 198 and                to   the duty   of   disclosure    set forth         in 37   CFR 156 the Examiner                       in charge   of

the     above identified        application   is   requested     to   consider   and make         ot   record     the references           listed     herewith     A copy of each
listed    reference other than          US patentsapplications and references                          cited   in a    parent     application         is   enclosed


Although      the information        submitted      herewith     may be material        to    the      Examiners consideration                   of   the subject     application
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 In   accordance        with 37   CFR 197g the               tiling
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In    accordance         with   37 CFR        197b       this    Information       Disclosure           Statement            is   being filed within three months of
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application before the mailing of a first Office Action on the merits or before the mailing of a first Office Action
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No certification          statement      is   required       This Information         Disclosure               Statement          is   being     filed     in   accordance     with

37 CFR       197b


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                                                                             SIGNATURE

         Signature       Robert Plotkin            Reg43861                                                            Date       11262012

             Name         Robert Plotkin           Esq                                Registration              Number            43861




                                                                                                                                                                    SINGULAR 00001635
                  Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 29 of 192 Page                                                                            1   of   1




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  SERIAL              NUMBER                     FILING       or   371c                    CLASS            GROUP ART UNIT                      ATTORNEY          DOCKET
                                                        DATE                                                                                                 NO
           13399884                                    02172012                              708                     2193                          A0006 1001C1

                                                        RULE

      APPLICANTS
            Joseph Bates Lexington                        MA
      CONTINUING                DATA
            This application             is   a CON of 12816201                 06152010 PAT 8150902
                       which claims benefit of 61218691                          06192009

      FOR                APPLICATIONS

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Foreign    Priority   claimed              121   Yes litNo                                  STATE OR         SHEETS                TOTAL                   INDEPENDENT
35 USC 119a       d     conditions   met   11 Yes      0 No        L1Mel after
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                                                                                            COUNTRY         DRAWINGS               CLAIMS                     CLAIMS
                            MICHAEL D YAARY
                                                                                                   MA
Verified   and
                             Examiners                             ruTTIUT
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Acknowiedged                               Signature




      ADDRESS

            ROBERT PLOTKIN PC
            15New England Executive                           Office   Park

            Burlington          MA 01803
            UNITED STATES

      TITLE

            Processing          with     Compact          Arithmetic         Processing     Element


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               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 30 of 192

                                                                  ApplicationControl       No              ApplicantsPatent          Under
                                                                                                           Reexamination

             Index of Claims                                      13399884                                 BATES JOSEPH

                                                                  Examiner                                 Art Unit


       111               11     11        11         11
                                                                  MICHAEL D YAARY
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               Allowed                                         Restricted                       Interference                         Objected



      Claims renumbered              in   the       same order as presented by applicant               I   CPA        0 TD             I     R147


           CLAIM                                                                                DATE
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               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 31 of 192

                                                                  ApplicationControl       No              ApplicantsPatent          Under
                                                                                                           Reexamination

             Index of Claims                                      13399884                                 BATES JOSEPH

                                                                  Examiner                                 Art Unit


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               Allowed                                         Restricted                       Interference                         Objected



      Claims renumbered              in   the       same order as presented by applicant               I   CPA        0 TD             I     R147


           CLAIM                                                                                DATE
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EAST Search History
                            Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 32 of 192




                      EAST          Search    History


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                      L4            2        low near5 precision near10 high near5                            OR        ON        20121115
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                      15            20       5887160    or 5867683   or 5809320                     US        OR        OFF       20121115
                                             or 5293500 or 5226166 or                                     B                       1040
                                             4380046 or 5170484 or 5801715                               AT
                                             or 5966528   or 6173388   or                           USOGR
                                             6405185 or 6728871 or 6859869
                                             or 7243333   or 20050076187   or

                                             20060031659           or   20070124565        or




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                                             4380046 or 5170484 or 5801715                          USPAT
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                                             6405185 or 6728871 or 6859869
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                      S5            20       5887160    or 5867683   or 5809320                     US        OR        OFF       20120206
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                                             6405185 or 6728871 or 6859869


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                      S12       59             low near5 precision             near10 high near5                              OR   ON    20120206
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                      515   1611               708clas         or   712clas          or   382clas   and              US       OR   ON    20120206
                                               parallel near5 execution              and mean                             B              1505
                                                                                                                     USPAT

                      S16       140            708clas         or   712clas          or   382clas   and              US       OR   ON    20120206


                                               precision
                                               parallel     near5 execution          and mean and                         B              1505
                                                                                                                     USPAT

                      S17       28             708clas         or   712clas          or   382clas      and           US       OR   ON    20120206
                                               parallel     near5 execution          and mean and                         B              1505


                                               20080276232FN
                                               high    or   low     near5 precision                                  USPAT
                                                                                                             J

                      S18       1                                                                                             OR   OFF   20120206
                                                                                                                          B              1531
                                                                                                                     USPAT
                                                                                                                     uSocR

                      S19       1      i       7549145Ftg                                                                     OR   OFF   20120206
                                                                                                                     R3PIJB              1534
                                                                                                                     USPAT


                      Sn                                                                                             US
                                                                                                                     R3PIJB1034
                                682            382255ccls                                                                     OR   ON    20120207




                                               USPAT
                                                                                                                     USPAT

                      S21       494            382255ccls         and     range                                      US       OR   ON    20120207
                                                                                                                     PGFUB               1035
                            1              1




                                                                                                                     R3PUB1035
                      S22       208            382255ccls         and     range and wide                                      OR   ON    20120207

                                                                                                                     USPAT




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                                                                                                                                            SINGULAR 00001640
EAST Search History
                                Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 34 of 192
                  S25186                           1 382255ccls          and   range and wide and       mean                                  20120207
                                                                                                                      B                       1035
                                I                  I                                                           USPAT

                          S24       42                 382255ccls        and   range and wide and       mean   US         OR        ON        20120207
                                                       and blur                                                       B                       1035
                                                                                                               USPAT

                          S25       92                 708clas        or   712clas    or   382clas       and   US         OR                  20120207
                                                       parallel    near5 executionclm       and   mean                B                       1037
                                                                                                               USPAT

                                                       20080276232FN
                                                                                                                   PtJB1050
                          S26       1                                                                                     OR        OFF       20120207

                                                                                                               USPAT
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                          S3                           8150902FN                                               1USPAT     OR        OFF       20121114
                                                                                                                                              0941


                  EAST Search                           History Interference


                          Ref       Hits           Search     Query                                             DBs       Default   Plurals   Time
                                               1                                                               Operator                       Stamp
                                                                         712clas                                          OR                  20121115
                                        1528




                                               1708clas             or               or   382clas               USPAT
                                               z



                                               1   parallel   near5 executionclm                                UPAD                          1043

                                                                         712clas                                          OR        ON        20121115
                                                                                                                                    1043
                          L7        528        1708clas             or               or   382clas    and        USPAT
                      I

                                               I   parallel   near5 executionclm                                UPAD

                          S27       60         1708clas             or   712clas     or   382das     and        USPAT     OR        ON        20120207
                                               1parallel      near5 executionclm           and   mean           UPAD                          1037

                                                                         712clas                                USPAT OR            ON        20120207
                                               t


                          S28       8              708clas          or               or   382clas    and

                                                   parallel    near5 executionclm          and   meanclm        UPAD                          1037
                                                                                                               r
                          s2o       o              708clas          or   712clas     or   382clas and           USPAT     OR        ON        20120207
                                                   parallel    near5 executionclm          and meanclm          UPAD                          1038
                                                   and    precisiondm

                          S30       6          1708clas             or   712clas     or   382clas    and            AT OR           ON        20120207
                                               imeanclm and precisiondm                                         UPAD                          1038

                          S31       17         1708clas             or 712clas       or 382c1                   USPAT     OR                  20120207
                                               z




                                               j
                                                 low near3 precisionclm                                         UPAD                          1039

                          1$2       0          1708clas             or   712das      or   382das     and        USPAT     OR        ON        20120207




                                                   predsioni
                                                                                                                UPAD                          1039
                                               z


                                               z   low near3 precisionclm and deblurclm

                          S33       12         1708clas             or   712das      or   382clas    and       1USPAT     OR        ON        20120207
                                               I   low near3 precisionclm and high near3                        UPAD                          1040
                                               i




                          S34       8z 708clas                      or   712clas     or   382clas    and        USPAT     OR        ON        20120207
                                                       low near3   precisionclm      and high     near3        UPAD                           1040

                                    iprecisionclm

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                                                                                                                                                 SINGULAR 00001641
               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 35 of 192


                                                                                 Application        Number 13399884

                                                                                               Filing       Date       2172012
      INFORMATION DISCLOSURE                                                    First   Named       Inventor           Bates
       STATEMENT BY APPLICANT
                                                                                                     Art Unit          2193

                                                                                         Client     Number A0006

                          Page     1   of 2                                              Matter Number                 100101




                                                    US PATENT DOCUMENTS
    Initials      Cite   No            Document Number                     IssuePublication              Date              First   Named     Inventor    T

                     1                        5892962                                   461999                                       Cloutier


                     2                    20040054708                               3182004                                         Happonen




    Examiner Signature                                                              Date Considered

Examiner Please initial citation
                              if considered whether                        or not   citation   is   in    conformance              with   MPEP Section
609 Please draw a line through the citation   is not    if   it            in   conformance         and    it   is   not   considered       Please include
a   copy of this form with the next communication                 to the   applicant




                                                                                                                                                SINGULAR 00001642
              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 36 of 192


                                                                                             Application               Number 13399884

                                                                                                                Filing
                                                                                                                              Date1      2172012
        INFORMATION DISCLOSURE                                                            First        Named           Inventor          Bates
         STATEMENT BY APPLICANT
                                                                                                                       Art Unit          2193

                                                                                                         Client        Number A0006

                                  Page 2 of 2                                                            Matter Number                   1001C1




                                                                                 GENERAL
 Pursuant     to   37   CFR 197 and 198 and                to   the duty   of   disclosure    set forth         in 37   CFR 156 the Examiner                       in charge   of

the     above identified        application   is   requested     to   consider   and make         ot   record     the references           listed     herewith     A copy of each
listed    reference other than          US patentsapplications and references                          cited   in a    parent     application         is   enclosed


Although      the information        submitted      herewith     may be material        to    the      Examiners consideration                   of   the subject     application
 this   submission is not intended            to   constitute    an admission that such information                     is   prior art as        to   the claimed     invention



 In   accordance        with 37   CFR 197g the               tiling
                                                                      of this Information     Disclosure          Statement            shall   not    be construed     to   mean
that    a search      has been made




                                                                                 TIMING

In    accordance         with   37 CFR        197b       this    Information       Disclosure           Statement            is   being filed within three months of
the filing    of a national         application      other      than a continued        prosecution              application          under 37 CFR               153d
                                                                                                                                                             within

three months of the date of entry of the national stage as set forth in 37 CFR 1491 in an international
application before the mailing of a first Office Action on the merits or before the mailing of a first Office Action
after the    filing     of   a request for continued             examination        under 37           CFR 1114



                                                                CERTIFICATION             STATEMENT
No certification          statement      is   required       This Information         Disclosure               Statement          is   being     filed     in   accordance     with

37 CFR       197b


                                                                                    FEE
No fee is required                This Information        Disclosure        Statement        is   being        filed    in   accordance          with      37 CFR      197b
If
      necessary the Director is hereby authorized to charge or credit Deposit Account No 501797 for any
additional   fees or any underpayment or credit for overpayment in connection herewith Please reference
attorney     docket          number A0006 1001C1                for any     such charge or credit




                                                                             SIGNATURE

         Signature       Robert Plotkin            Reg43861                                                            Date       11262012

             Name         Robert Plotkin           Esq                                Registration              Number            43861




                                                                                                                                                                    SINGULAR 00001643
              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 37 of 192
                                           Electronic        Acknowledgement                 Receipt


                         EFS ID                                  14309210




                 Application     Number                          13399884




        International    Application       Number


                Confirmation      Number                        2684




                   Title of   Invention                         Processing    with   Compact Arithmetic         Processing            Element




      First   Named InventorApplicant           Name            Joseph     Bates




                  Customer Number                               24208




                          Filer                                 Robert PlotkinKaren      Del Greco




                  Filer Authorized     By                       Robert Plotkin




               Attorney Docket      Number                      A0006 1001C1



                     Receipt Date                               26NOV2012



                       Filing Date                               17FEB2012



                      Time Stamp                                 183343



                   Application Type                             Utility   under 35 USC   111a



Payment information

Submitted with Payment                                          no



File Listing


 Document                                                                                            File Size Bytes                        Multi       Pages
                      Document      Description                        File   Name
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Warnings

Information




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                        Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 38 of 192
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New           Applications Under 35             USC 111
                                                               and the application
                d
If   a   new application           is   being       filed                                      includes     the    necessary components                fora filing    date see 37 CFR

153b                   and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement                    Receipt      will    establish           the filing      date of the application



National          Stage of an International Application under 35                                  USC 371
If   a timely submission to                enter the national stage of an international application                                        is   compliant with the conditions of 35
USC 371 and other applicable                             requirements a Form PCTDOE0903                                 indicating         acceptance of the application as a
national          stage submission under 35                         USC 371          will   be issued     in    addition to the Filing Receipt             in   due course


New           International      Application            Filed with          the USPTO as a Receiving Office

If   a   new international              application            is   being    filed   and the international application includes the necessary components                                      for

an international               filing   date see PCT Article 11 and MPEP                           1810 a Notification of the International                       Application       Number
and of the International Filing Date Form PCTRO105                                               will    be issued      in   due course subject          to prescriptions concerning

national          security and the date shown on this Acknowledgement                                             Receipt     will   establish      the international     filing    date of

the application




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                          Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 39 of 192                                                                        PTOSB26
Doc Code DISTEFILE                                                                                                                          US Patent and Trademark Office
Document              Description Electronic           Terminal Disclaimer                   Filed                                                Department of Commerce




     Electronic        Petition   Request                 TERMINAL           DISCLAIMER              TO OBVIATE      A DOUBLE PATENTING           REJECTION OVER        A
                                                          PRIOR PATENT




     Application        Number                                 13399884




     Filing    Date                                            17   Feb 2012


     First    Named Inventor                                   Joseph    Bates




                      Docket   Number                          A0006 1001C1
     Attorney




 Title        of Invention



                                                               Processing     with     Compact         Arithmetic    Processing   Element




             Filing   of terminal disclaimer         does not obviate requirement                   for   response under 37 CFR 1111        to outstanding

             Office Action




             This electronic Terminal Disclaimer is                 not being used for a Joint Research Agreement



Owner                                                                                                      Percent   Interest




Singular Computing                LLC                                                                       100


The owners with percent interest                      listed   above    in   the instant application hereby disclaims except as provided below the

terminal         part of the statutory        term of any patent granted on the instant application which would extend beyond the expiration
date of the full statutory term of prior patent numbers



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as the term of said prior patent                is
                                                     presently      shortened by any terminal disclaimer The owner hereby agrees that any patent so

granted on the instant application                    shall be      enforceable only for and during               such period that   it   and the prior patent are commonly

owned This agreement runs with any patent granted on the instant application                                           and is binding upon the grantee       its   successors

or assigns



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     presently         shortened by any terminal disclaimer                  in    the event that said prior patent later

 expires for failure to            pay a maintenance fee
 is    held     unenforceable
 is    found invalid by a court of competent jurisdiction

 is
       statutorily       disclaimed     in   whole or terminally disclaimed under 37 CFR 1321

     has all claims       canceled      by a reexamination certificate
 is    reissued or

 is    in any     manner terminated            prior to the expiration            of its   full   statutory   term as presently shortened by any terminal disclaimer




             Terminal disclaimer fee           under 37 CFR         120d     is    included with Electronic          Terminal Disclaimer      request




                                                                                                                                                         SINGULAR 00001646
                            Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 40 of 192
                         in   accordance         with     37 CFR   14d4 that the terminal disclaimer fee under 37 CFR 120d
    certifyO
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           required for this terminal disclaimer has already been                              paid in the above identified application




    0      Applicant claims SMALL                  ENTITY      status    See 37 CFR       127



    0      Applicant        is   no longer claiming SMALL ENTITY                     status   See 37 CFR     127g2

    C      Applicants status remains as SMALL ENTITY



    0      Applicants status remains as other than SMALL ENTITY




I

    hereby declare that all statements made herein of my own knowledge are true and that                                          all   statements made on information     and

belief are believed to be true                     and further that these statements were made with the knowledge that willful                          false   statements and
the like so        made are punishable by fine or imprisonment or both under Section                                    1001   of Title   18 of the United States Code and

that      such    willful     false statements          may jeopardize the validity of the application                or any patent issued      thereon




    THIS       PORTION      MUST BE COMPLETED BY THE SIGNATORY OR SIGNATORIES


    I
        certify   in accordance           with     37 CFR     14d4 that am      I




           An attorney or agent registered to practice                                                                            who is of record in
    O
                                                                               before the Patent and Trademark Office

           this   application




                Registration       Number           43861




    0      A sole inventor



    0      A joint inventor          I

                                         certify   that      lam authorized         to sign this submission    on behalf of all of the inventors



    0      A joint inventor all            of   whom are signing this request


    0      The assignee of record of the entire interest that has properly made itself of record pursuant to 37 CFR 371



    Signature
                                                               Robert Plotkin



    Name
                                                               Robert Plotkin




Statement under 37 CFR                      373b        is
                                                             required   if   terminal disclaimer     is
                                                                                                          signed   by the assignee      owner
Form PTOSB96                  may be used for making this certification                       See MPEP § 324




                                                                                                                                                          SINGULAR 00001647
                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 41 of 192


                                    Electronic Patent Application              Fee Transmittal


Application      Number                                    13399884




Filing Date                                                17 Feb 2012




Title of Invention                                         Processing   with   Compact Arithmetic   Processing    Element




First   Named InventorApplicant          Name              Joseph   Bates




Filer                                                      Robert Plotkin




Attorney Docket      Number                                A0006 1001C1



Filed as Small Entity




Utility   under 35 USC           111a        Filing Fees



                                                                                                                            Sub Total in
                               Description                          Fee Code           Quantity          Amount
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Basic   Filing




                   Statutory   or terminal disclaimer                   2814               1                 80                 80




Pages



Claims




Miscellaneous Filing




Petition




Patent Appeals and Interference




Post Allowance     and Post Issuance



Extension of Time




                                                                                                                        SINGULAR 00001648
           Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 42 of 192
                                                                                       Sub Total in
                  Description                 Fee Code      Quantity       Amount
                                                                                         USD$


Miscellaneous




                                                    Total   in   USD   $                80




                                                                                    SINGULAR 00001649
                       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 43 of 192

Doc Code DISQEFILE
Document        Description   Electronic   Terminal Disclaimer         Approved




Application     No    13399884



Filing   Date         17   Feb 2012


ApplicantPatent under Reexamination                      Bates et al




Electronic   Terminal Disclaimer filed on             November 14 2012




  x          APPROVED



                 This patent    is   subject   to a   terminal disclaimer




  0          DISAPPROVED




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                                                                                                             SINGULAR 00001650
               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 44 of 192
                                             Electronic         Acknowledgement                      Receipt


                            EFS ID                                     14224776




                    Application        Number                          13399884




          International     Application          Number


                    Confirmation        Number                         2684




                      Title of   Invention                             Processing    with   Compact Arithmetic       Processing   Element




       First   Named InventorApplicant                 Name            Joseph     Bates




                     Customer Number                                   24208




                             Filer                                     Robert Plotkin




                     Filer Authorized       By


                Attorney Docket          Number                        A0006 1001C1



                        Receipt Date                                   14NOV2012



                         Filing Date                                   17FEB2012



                         Time Stamp                                    133524



                      Application Type                                 Utility   under 35 USC   111a



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Submitted with Payment                                                 yes


Payment Type                                                          Credit     Card


Payment was successfully         received   in   RAM                  $80

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Authorized   User                                                      PLOTKIN      ROBERT

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                  Case 1:19-cv-12551-FDS           Document 494-4 Filed
                            Fees required under 37 CFR Section 119 Document
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                                                                               05/19/23 Page 45 of 192
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New       Applications Under 35           USC 111
         new application                          and the application                              the necessary components                                                              date see 37 CFR

            d
If   a                     is   being     filed                                    includes                                                                         for a filing

153b            and MPEP        506 a Filing Receipt 37 FR 154 will be issued in due course and the date shown on this
Acknowledgement            Receipt       will   establish       the filing      date of the application



National      Stage of an International Application under 35                           USC 371
If   a timely submission to         enter the national stage of an international application                                       is   compliant with the conditions of 35
USC 371 and other applicable                    requirements a Form PCTDOE0903                              indicating             acceptance of the application as a
national      stage submission under 35                 USC 371          will   be issued       in   addition to the Filing Receipt                                      in      due course


New International Application                   Filed with      the USPTO as a Receiving Office

If   a   new international      application        is   being    filed    and the international application includes the necessary components                                                                       for

an international      filing    date see PCT Article 11 and MPEP                       1810 a Notification of the International                                                        Application        Number
and of the International Filing Date Form PCTRO105                                   will    be issued      in   due course subject                                   to prescriptions concerning

national security       and the date shown on this Acknowledgement                                     Receipt    will   establish                   the international                          filing    date of

the application




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                                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 46 of 192

                                       PATENT APPLICATION                                                         FEE DETERMINATION                                         RECORD                  Application   or   Docket   Number

                                                                                              Substitute              for   Form               PTO 875                                              13399884



                                        APPLICATION                                AS FILED                       PART               I
                                                                                                                                                                                                                          OTHER THAN
                                                                             Column            1                                     Column 2                                  SMALL ENTITY          OR                  SMALL     ENTITY

                            FOR                                        NUMBER                 FILED                    NUMBER EXTRA                                        RATE$        FEE$                      RATE$                   FEE$

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EXAMINAT                        3N FEr                                                 NA                                                NA                                  NA           125                          NA
37 CFR 1160                        w
TOTAL                     CLAIMS
                                                                            70                                                            50                                  31         1550
37 CFR 116i

INDEPENDENT                              CLAIMS
                                                                                                                                                                             125          125
37 CFR 116h

                                                              If       the specification                  and drawings exceed                            100
APPLICATION SIZE                                              sheets             of paper the application                                size fee due          is

FEE                                                           $310 $155 for small entity for each additional                                                                              000
37 CFR 116s                                                   50 sheets or fraction thereof See 35                                                USC
                                                              41a1G and 37 CFR 1165
MULTIPLE                        DEPENDENT                     CLAIM          PRESENT                  37 CFR 116j                                                                         D00

      If   the        difference             in   column           1   is   less       than    zero enter             0     in   column          2                          TOTAL        2208


                                 APPLICATION                                AS AMENDED                                 PART               II




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                                                         Column              1                                   Column          2              Column     3                   SMALL ENTITY          OR                  SMALL     ENTITY
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             FIRST              PRESENTATION                  OF MULTIPLE                     DEPENDENT               CLAIM      37 CFR 116j

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                 If   the      entry         in   column       1       is less than           the entry          in   column      2 write            0
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                 If   the      Highest            Number       Previously               Paid       For    IN   THIS     SPACE             is   less than   3   enter   3
                                       est   Number      Prevc                                              Dr   Independe




                                                                                                                                                                                                                                SINGULAR 00001653
                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 47 of 192



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     APPLICATION                FILING   or               GRP ART
       NUMBER                  71c DATE                     uNrr          FIL FEE RECD                              AITYDIXKELNO                                   ITOT     CLAIMS    IND CLAIMS

      13399884             02172012                         2193               2220                                 A0006 1001C1                                            70             4

                                                                                                                                                     CONFIRMATION                     NO 2684
    24208                                                                                                                         UPDATED                 FILING           RECEIPT
    ROBERT PLOTKIN PC
    15 New England Executive                       Office    Park
                                                                                                                              11111iningloppipinuin
    Burlington MA 01803


                                                                                                                                                           Date Mailed 10252012




Receipt     is   acknowledged             of this          non provisional patent application The application                                will    be taken up for examination

in    due course         Applicant        will       be notified as to the results of the examination                             Any correspondence                         concerning        the

application        must include the following                       identification    information the               US APPLICATION NUMBER                                        FILING    DATE
NAME OF APPLICANT                         and TITLE             OF INVENTION               Fees transmitted             by check          or draft are subject                    to collection

Please verify the accuracy of the data presented                                  on this    receipt         If   an error is noted on this Filing Receipt                                please
submit a written request for a Filing Receipt                                   Correction Please provide a copy of this Filing Receipt                                                with the

changes noted thereon                         If
                                                    you received         a Notice          to File      Missing       Parts for this application please submit
any corrections                to this Filing              Receipt     with    your reply to the Notice                   When          the        USPTO processes                    the reply

to    the Notice         the USPTO                 will   generate another            Filing       Receipt         incorporating          the requested                    corrections

I
    nventors
                                Joseph             Bates Lexington             MA
Applicants
                                Joseph             Bates Lexington             MA
Power of Attorney The patent                               practitioners       associated     with          Customer Number 24208


Domestic         Priority data           as claimed by applicant
                                This application               is   a CON of 12816201           06152010                PAT 8150902
                                which claims benefit of 61218691                            06192009

Foreign Applications                 You may be eligible                   to benefit      from the Patent Prosecution                             Highway program                   at the

USPTO Please see httpwwwusptogov                                         for   more information



Permission to Access                      A proper            Authorization           to   Permit           Access      to   Application                  by     Participating            Offices

PTOSB39             or   its   equivalent             has been received by the               USPTO


If
     Required       Foreign Filing License Granted                               03092012

The country code and number                               of your   priority   application         to   be used      for filing   abroad under the Paris Convention

is US 13399884




Projected Publication                    Date 01312013

Non Publication                Request              No

Early Publication               Request              No
      SMALL ENTITY
                                                                                       page    1   of   3




                                                                                                                                                                              SINGULAR 00001654
                Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 48 of 192




Title


                     Processing           with        Compact                Arithmetic          Processing                    Element


Preliminary Class

                     708


                        PROTECTING                              YOUR INVENTION OUTSIDE THE UNITED                                                                             STATES

Since     the   rights     granted         by a         US patent extend only throughout                                               the   territory         of the     United States              and have        no
effect    in   a foreign       country            an       inventor           who wishes                  patent          protection         in   another        country         must apply           for    a patent
in   a specific      country        or    in     regional           patent          offices           Applicants                may wish          to    consider         the   filing      of   an    international

application      under the Patent Cooperation                                     Treaty        PCT              An international                 PCT application generally                          has the same

effect   as a regular national patent application                                         in   each        PCT member country The PCT process                                             simplifies the filing

of patent applications              on the same invention                            in    member countries but does not result                                          in   a grant of an international

patent       and does not eliminate the need of applicants                                             to   file       additional        documents             and fees in countries where patent

protection      is   desired



Almost every country                 has       its    own patent law and a person                                         desiring       a patent        in   a particular          country      must make an

application      for    patent      in    that       country            in   accordance               with       its
                                                                                                                        particular        laws Since the laws of many countries                                 differ


in   various    respects from the patent law of the United States applicants                                                                 are advised           to    seek guidance                from specific

foreign      countries        to   ensure that patent rights are not                                      lost   prematurely



Applicants       also are advised                that      in   the case of inventions                           made in the             United        States the Director of the                    USPTO       must

issue    a license before applicants                            can      apply       for       a patent          in    a foreign        country The             filing    of a   US patent application
serves       as a    request        for    a foreign               filing         license        The        applications                filing    receipt       contains         further        information       and

guidance        as to the status of applicants                                license      for       foreign          filing




Applicants       may wish           to   consult           the     USPTO            booklet General                            Information        Concerning             Patents          specifically         the

section      entitled    Treaties          and Foreign Patents                                 for   more          information           on timeframes and deadlines                            for filing    foreign

patent applications                The guide            is   available             either       by contacting                   the    USPTO           Contact Center            at   8007869199                or   it




can     be viewed on the             USPTO             website               at   httpwwwusptogovwebofficespacdocgeneralindexhtml


For information          on preventing                 theft       of your         intellectual            property             patents trademarks                  and copyrights                   you may wish
to   consult    the    US Government                         website               httpwwwstopfakesgov                                   Part of        a Department             of   Commerce              initiative

this   website includes selfhelp toolkits                                    giving       innovators             guidance              on how      to   protect     intellectual          property       in specific


countries       such as China               Korea and Mexico                              For questions                   regarding          patent      enforcement             issues         applicants        may
call   the   US Government                  hotline           at    1   866 999 HALT 18669994158


                                                           LICENSE FOR FOREIGN FILING UNDER

                                                        Title           35        United             States               Code Section 184

                                           Title           37 Code of Federal Regulations                                                          511             515

GRANTED

The     applicant      has been granted                      a license              under 35              USC 184                 if   the   phrase           IF REQUIRED                  FOREIGN            FILING

LICENSE         GRANTED followed                           by a date appears                         on    this        form Such           licenses           are issued       in   all
                                                                                                                                                                                          applications         where

the conditions          for   issuance           of    a     license          have    been met regardless                              of whether         or not a license                may be required as

                                                                                                       page        2 of    3




                                                                                                                                                                                                 SINGULAR 00001655
                       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 49 of 192




set forth         in     37    CFR 515 The                 scope and limitations of this license are set forth                           in    37 CFR 515a unless an                   earlier

license        has been issued under 37                            CFR 515b The license                  is    subject        to    revocation       upon   written       notification    The
date indicated                  is   the   effective       date of the license unless an earlier license of similar scope has been granted under

37 CFR          513 or 514


This license              is   to    be retained by the licensee and may be used                         at    any time on or after the effective date thereof unless
it   is   revoked             This license          is   automatically      transferred    to   any related applicationss                      filed   under 37 CFR           153d       This

license        is    not       retroactive




The grant of a license does not in any way                                   lessen the responsibility                 of a licensee     for   the security        of the   subject    matter

as imposed                    by any Government                 contract     or the   provisions       of existing            laws relating      to    espionage          and the national

security        or the export                   of technical      data Licensees        should apprise themselves                       of current      regulations         especially    with

respect        to        certain       countries          of other    agencies        particularly       the      Office      of    Defense     Trade       Controls        Department      of

State       with                Arms Munitions and Implements of War 22 CFR 121128 the Bureau of Industry and
                          respect          to


Security            Department of Commerce 15 CFR parts 730774 the Office of Foreign AssetsControl Department of

Treasury            31 CFR Parts 500+ and the Department of Energy


NOT GRANTED

No        license        under 35           USC 184 has been granted                      at    this   time       if    the   phrase     IF REQUIRED                   FOREIGN        FILING

LICENSE              GRANTED DOES NOT appear on this form Applicant                                                may still        petition   for   a license under 37 CFR              512
if   a license           is   desired       before       the expiration      of 6   months from the filing                  date of the application          If    6   months has lapsed

from the filing                date of this application              and the licensee has not received any indication of a secrecy order under 35

USC 181 the licensee may foreign                                     file   the application      pursuant              to   37 CFR     515b


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     The United               States       represents       the    largest    most dynamic         marketplace                in   the world    and is an unparalleled               location

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                                                                                          page    3 of   3




                                                                                                                                                                            SINGULAR 00001656
                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 50 of 192


                                          Electronic Patent Application               Fee Transmittal


Application      Number                                           13399884




Filing Date                                                       17 Feb 2012




Title of Invention                                                Processing   with   Compact Arithmetic   Processing    Element




First   Named InventorApplicant                 Name              Joseph   Bates




Filer                                                             Robert Plotkin




Attorney Docket      Number                                       A0006 1001C1



Filed as Small Entity




Utility   under 35 USC               111a        Filing Fees



                                                                                                                                   Sub Total in
                                Description                                Fee Code           Quantity          Amount
                                                                                                                                     USD$


Basic   Filing




                  Utility   filing   Fee Electronic   filing                   4011               1                 95                  95




                              Utility    Search Fee                            2111               1                310                 310




                        Utility      Examination Fee                           2311               1                125                 125




Pages



Claims



                            Claims in excess of 20                             2202               50                30                 1500




                  Independent           claims in excess   of 3                2201               1                125                 125




Miscellaneous Filing




                                                                                                                               SINGULAR 00001657
              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 51 of 192
                                                                                                          Sub Total in
                             Description                      Fee Code         Quantity       Amount
                                                                                                            USDS

              Late filing   fee   for oath   or declaration     2051                1           65             65




Petition




Patent Appeals and Interference




Post Allowance   and Post Issuance



Extension   of Time



Miscellaneous



                                                                       Total   in   USD   $               2220




                                                                                                       SINGULAR 00001658
               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 52 of 192
                                             Electronic         Acknowledgement                      Receipt


                            EFS ID                                     12688220




                    Application        Number                          13399884




          International     Application          Number


                    Confirmation        Number                         2684




                      Title of   Invention                             Processing    with   Compact Arithmetic       Processing   Element




       First   Named InventorApplicant                 Name            Joseph     Bates




                     Customer Number                                   24208




                             Filer                                     Robert Plotkin




                     Filer Authorized       By


                Attorney Docket          Number                        A0006 1001C1



                        Receipt Date                                   02   MAY 2012


                         Filing Date                                   17FEB2012



                         Time Stamp                                    164437



                      Application Type                                 Utility   under 35 USC   111a



Payment information

Submitted with Payment                                                 yes


Payment Type                                                          Credit     Card


Payment was successfully         received   in   RAM                  $2220

RAM confirmation Number                                                3694


Deposit Account                                                        501797


Authorized   User                                                      PLOTKINROBERT

The Director of the USPTO        is
                                      hereby authorized to charge indicated fees and credit any overpayment as follows

       Charge any Additional      Fees required under 37      CFR Section    116 National    application   filing   search   and examination fees


       Charge any Additional      Fees required under 37      CFR Section    117 Patent application and reexamination processing fees




                                                                                                                                        SINGULAR 00001659
                  Case 1:19-cv-12551-FDS
           Charge any       Fees
                        Additional
                                              Document119
                                     under 37 CFR
                                            required
                                                       494-4    Filed 05/19/23 Page 53 of 192
                                                          Document supply fees  Section



           Charge any   Additional     Fees required under 37            CFR Section       120 Post Issuance fees


           Charge any   Additional     Fees required under 37            CFR Section       121   Miscellaneous          fees    and charges



File Listing


     Document                                                                                                                         File   SizeBytes                   Multi            Pages
                             Document           Description                                 File      Name
     Number                                                                                                                           Message Digest                   Part   zip        if   appl

                                                                                                                                               39631


                                 Fee Worksheet          51306                               feeinfopdf                                                                     no

                                                                                                                               9661   398003251 1202644 10d 10676a
                                                                                                                                              end



Warnings

Information


                                                                                  Total     Files     Size   in bytes                                            39631




This      Acknowledgement          Receipt       evidences        receipt       on the noted date by the USPTO of the indicated                                       documents
characterized      by the applicant and including page counts where applicable                                                 It     serves as evidence              of receipt       similar to a

Post Card as described            in   MPEP 503


New       Applications Under 35          USC 111
                                                  and the application                                                                                                  date see 37 CFR

            d
If   a   new application    is   being    filed                                    includes        the   necessary components                        for a filing

153b            and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement             Receipt      will   establish       the filing      date of the application



National      Stage of an International Application under 35                              USC 371
If   a timely submission to          enter the national stage of an international application                                         is   compliant with the conditions of 35
USC 371 and other applicable                    requirements a Form PCTDOE0903                                  indicating            acceptance of the application as a
national      stage submission under 35                 USC 371          will   be issued        in   addition to the Filing Receipt                       in   due course


New       International   Application           Filed with      the USPTO as a Receiving                     Office

If   a   new international       application       is   being    filed    and the international application includes the necessary components                                                     for

an international        filing   date see PCT Article 11 and MPEP                         1810 a Notification of the International                                   Application        Number
and of the International Filing Date Form PCTRO105                                   will    be issued         in   due course subject                  to prescriptions concerning

national      security and the date shown on this Acknowledgement                                       Receipt       will   establish          the international             filing    date of

the application




                                                                                                                                                                         SINGULAR 00001660
               UNITED STATES PATENT AND TRADEMARK OFFICE
         Case 1:19-cv-12551-FDS   Document 494-4 Filed 05/19/23 Page 54 of 192
                                                                                                                           Commissioner      for   Patents

                                                                                                        United States   Patent   and   Trademark    Office

                                                                                                                                         PO Box 1450
                                                                                                                        Alexandria      VA 223131450
                                                                                                                                        vnvNvusptogov




ROBERT PLOTKIN PC
15 NEW ENGLAND EXECUTIVE OFFICE PARK
BURLINGTON MA 01803                                                                               MAILED
                                                                                               APR     2 4 2012

                                                                                            OFFICE OF PETITIONS




In re   Application        of                                                    DECISION         ON REQUEST TO
Joseph        Bates                                                              PARTICIPATE          IN THEPATENT
Application No 13399884                                                         PROSECUTION            HIGHWAY
Filed February           17 2012                                                PROGRAM AND PETITION
Attorney Docket           No A0006 1001C1                                       TO MAKE SPECIAL UNDER
                                                                                37    CFR 1102a




This    is   a decision    on the request to participate                in the       PCT Patent   Prosecution       Highway PCT
PPH pilot program and the petition under 37 CFR 1102a                                        filed   February     17 2012  to make the

above identified application                    special




The request and          petition      are   GRANTED

                                                                  Discussion


A grantable request to participate                   in the    PCTPPH           pilot   program and petition to make special
require


1 The US              application      must have an        eligible     relationship to one or more PCT applications
where        the   ISA or 1PEA are the JPO                EPO KIPO NP NBPR or USPTO

2 At     least      one claim       in the   PCT application           has novelty        inventive   step and      industrial

applicability         and must be         free   of any observations            in   Box VIII in the latest work product                  in the

international
              stage or applicant                  must identify and explain why the claims isare not subject                                    to

the observation in Box VIII



3   Applicant must submit a copy of the claims from the PCT applications that have novelty
inventive step and industrial applicability along with an English translation thereof and a

statement that the English translation                    is   accurate    if    the claims are not in the English language



4   All the claims in the             US application            must    sufficiently      correspond or be amended to

sufficiently correspond
                                     to   the    claims that have novelty                inventive    step and     industrial

applicability        in the   PCT applications

5 Examination of              the    US application            has not begun




                                                                                                                                        SINGULAR 00001661
       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 55 of 192
Application     No 13399884                                                                                              Page 2


6   Applicant     must submit a copy of the               latest international   work product from the PCT
application     indicating     that   the   claims have novelty           inventive step and industrial applicability
along with an English translation thereof and a statement that the English                         translation   is   accurate
if the latest international work product is not in the English language


7   Applicant    must submit an IDS listing the documents cited by the PCT examiner in the
international    work product along with copies of documents except      patents or          US
                                                                                        patent                US
application   publications


The request to participate            in the   PCTPPH pilot program and petition comply with the above
requirements       Accordingly          the above identified application          has been accorded        special      status


Telephone     inquiries concerning             this   decision   should be directed     to   Joan Olszewski at 571272
7751

All other inquiries concerning              the examination or status of the application           is   accessible in the
PAIR system at httpwwwusptogovebcindexhtml

This application     will    be forwarded         to   the examiner for action        on the merits commensurate with
this decision    once   this   applications           formality reviews    have been completed




dab
David Bucci
Petitions   Examiner
Office of Petitions




                                                                                                                      SINGULAR 00001662
              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 56 of 192



                     UNITED STATES                        PATENT AND                                          OFFICE
                                                                                                                                        UNITED         STATFS       DEPARTMENT         OF COMMERCE
                                                                                                                                        United States          Patent and        Trademark Office
                                                                                                                                        Address   COMMISSIONER             FOR   PATENTS
                                                                                                                                                  PC   Box   1450

                                                                                                                                                  Alexandria   liqpiia   223131450
                                                                                                                                                  mew nsplogor

      APPLICATION     NT       MRER                        FLING     OR 371C DATE                                 FIRST   NAMED    APPLICANT                             ATTY DOCKET NOTITLE

           13399884                                              02172012                                                Joseph    Bates                                     A0006 1001C1

                                                                                                                                                               CONFIRMATION                        NO 2684
24208                                                                                                                                  FORMALITIES                       LETTER
ROBERT PLOTKIN PC
15 New England Executive                            Office      Park
                                                                                                                                       1111uniummlingoinam
Burlington       MA 01803
                                                                                                                                                                     Date Mailed                  03132012




              NOTICE TO                          FILE      MISSING PARTS OF NONPROVISIONAL                                                                   APPLICATION

                                                                         FILED UNDER 37 CFR                               153b
                                                                                   Filing    Date Granted


Items Required To Avoid                             Abandonment

An application number and filing date have been accorded                                                 to this application               The items indicated below
however      are missing                   Applicant       is   given TWO MONTHS                     from the date of this Notice within which to                                          file   all


required items below to avoid abandonment                                         Extensions         of time may             be obtained            by filing            a petition accompanied

by the extension               fee   under the provisions                 of 37     CFR 1136a

      The statutory basic                  filing   fee    is   missing

      Applicant     must submit $95 to complete                               the basic     filing       fee for a small entity


The     applicant    needs            to   satisfy     supplemental            fees problems indicated below


The required items                    identified       below must be timely submitted                               to    avoid abandonment


      Additional     claim           fees of $1625 as a small entity including                                    any required multiple dependent                                claim     fee are

      required Applicant                   must submit the additional                 claim      fees or cancel the additional                               claims for which fees are

      due
      A surcharge for late submission of filing fee search fee examination fee or oath or declaration                                                                                      as set forth   in


      37 CFR 116f of $65 for a small entity in compliance with 37 CFR 127 must be submitted

SUMMARY OF FEES DUE

Total   fees required                within         TWO MONTHS                from the date of this Notice                        is   $2220      for    a small entity

      $95 Statutory            basic       filing    fee

      $65 Surcharge
      The application search                     fee   has not been paid              Applicant               must submit $310 to complete                               the     search fee

      The application examination                          fee   has not been paid              Applicant                 must submit $125               to    complete              the   examination

      fee for a small entity                in   compliance            with   37 CFR 127
      Total additional           claim        fees        for this     application     is   $1625
          $125      for    1    independent            claims over            3
          $1500      for       50 total claims over 20




                                                                                            page     1   of   2




                                                                                                                                                                                           SINGULAR 00001663
                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 57 of 192




                      Replies   should be   mailed to


                                            Mail   Stop Missing       Parts

                                            Commissioner for Patents

                                            PO Box 1450
                                            Alexandria   VA 223131450

Registered       users of   EFSWeb may alternatively        submit their reply            to   this   notice via   EFSWeb
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visit   our website   at   httpwwwusptogovebc

           If
                you are not using     EFSWeb to submit your reply you must include a copy of this notice




                      mhteklu




Office    of    Data Management      Application    Assistance        Unit   571 2724000               or   571 2724200          or   18887860101




                                                                      page   2 of 2




                                                                                                                                         SINGULAR 00001664
                  Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 58 of 192



                     UNITED STATES           PATENT AND                                  OFFICE
                                                                                                                    UNITED           STATFS        DEPARTMENT          OF COMMERCE
                                                                                                                    United States              Patent and        Trademark Office
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                                                                                                                           PC Box 1450
                                                                                                                                  Alexandria   liqpiia   223131450
                                                                                                                                  mew nspionor

       APPLICATION    NTMRER                  FLING   OR 371C DATE                           FIRST   NAMED    APPLICANT                                  ATTY DOCKET NOTITLE

             13399884                             02172012                                       Joseph       Bates                                          A 00061001C1
                                                                                                                                               CONFIRMATION                NO 2684
24208                                                                                                            POA ACCEPTANCE LETTER
ROBERT PLOTKIN PC




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15 New England Executive               Office   Park                                                                    11   11
                                                                                                                                  IIIIIIIIII4M111111tIlit11111111111111111

Burlington         MA 01803
                                                                                                                                                     Date Mailed          03132012




                                 NOTICE OF ACCEPTANCE OF POWER                                                OF ATTORNEY

This   is   in   response   to the   Power of Attorney         filed   02172012

The Power          of Attorney   in this   application   is   accepted    Correspondence                     in this         application            will     be mailed to the

above address as provided              by 37 CFR       133




                       ewondimu




Office of        Data Management Application             Assistance      Unit   571 2724000                    or       571 2724200                          or      18887860101




                                                                         page   1   of   1




                                                                                                                                                                       SINGULAR 00001665
                                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 59 of 192

                                       PATENT APPLICATION                                                         FEE DETERMINATION                                         RECORD                  Application   or   Docket   Number

                                                                                              Substitute              for   Form               PTO 875                                              13399884



                                        APPLICATION                                AS FILED                       PART               I
                                                                                                                                                                                                                          OTHER THAN
                                                                             Column            1                                     Column 2                                  SMALL ENTITY          OR                  SMALL     ENTITY

                            FOR                                        NUMBER                 FILED                    NUMBER EXTRA                                        RATEM        FEES                      RATE$                   FEE$

                                                                                       NA                                                NA                                  NA                                        NA
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                                                                                       NA                                                NA                                  NA           310                          NA
EXAMINAT                        3N FEr                                                 NA                                                NA                                  NA           125                          NA
37 CFR 1160                        w
TOTAL                     CLAIMS
                                                                            70                                                            50                                  30         1500
37 CFR 116i

INDEPENDENT                              CLAIMS
                                                                                                                                                                             125          125
37 CFR 116h

                                                              If       the specification                  and drawings exceed                            100
APPLICATION SIZE                                              sheets             of paper the application                                size fee due          is

FEE                                                           $310 $155 for small entity for each additional                                                                              000
37 CFR 116s                                                   50 sheets or fraction thereof See 35                                                USC
                                                              41a1G and 37 CFR 1165
MULTIPLE                        DEPENDENT                     CLAIM          PRESENT                  37 CFR 116j                                                                         000

      If   the        difference             in   column           1   is   less       than    zero enter             0     in   column          2                          TOTAL        2155


                                 APPLICATION                                AS AMENDED                                 PART               II




                                                                                                                                                                                                                          OTHER THAN
                                                         Column              1                                   Column          2              Column     3                   SMALL ENTITY          OR                  SMALL     ENTITY
                                                              CLAIMS                                              HIGIli
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<            Application                Size      Fee   37 CFR              116s

             FIRST              PRESENTATION                  OF MULTIPLE                     DEPENDENT               CLAIM      37 CFR 116j                                                         OR

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                                                                                                                                                                                                     OR
                                                                                                                                                                           ADDL FEE                               ADDL FEE


                                                         Column              1                                   Column          2              Column     3
                                                              CLAIMS                                              HIGHEST
                                                         REMAINING                                                NUMBER                         PRESENT                               ADDITIONAL                                        ADDITIONAL
CO                                                                                                                                                                          RATES                                      RATES
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cc           Application                              e 137   CFR           116s
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             FIRST              PRESENTATION                  OF MULTIPLE                     DEPENDENT               CLAIM      37 CFR 116j

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                                                                                                                                                                                                     OR
                                                                                                                                                                        ADDL FEE                                  ADDL FE
                 If   the      entry         in   column       1       is less than           the entry          in   column      2 write            0
                                                                                                                                             in column                 3
                 If   the       Highest            Number              Previously             Paid       For IN THIS             SPACE is less than 20 enter                  20
                 If   the      Highest            Number       Previously               Paid       For    IN   THIS     SPACE             is   less than   3   enter   3
                                       est   Number      Previc                                             Dr   Independe




                                                                                                                                                                                                                                SINGULAR 00001666
                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 60 of 192



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     APPLICATION                FILING   or                GRP ART
      NUMBER                   71c DATE                     uNrr           FIL FEE RECD                             AITYDIXKELNO                                   ITOT    CLAIMS    IND CLAIMS

     13399884              02172012                         2193                000                                 A0006 1001C1                                           70             4

                                                                                                                                                     CONFIRMATION                    NO 2684
24208                                                                                                                          FILING RECEIPT
ROBERT PLOTKIN PC
15 New England Executive                           Office     Park
                                                                                                                             111111111111114NR00111111111111111
Burlington MA 01803


                                                                                                                                                           Date Mailed              03132012




Receipt     is   acknowledged             of this          non provisional patent application The application                                will    be taken up for examination

in   due course          Applicant        will       be notified as to the results of the examination                            Any correspondence                          concerning       the

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Applicants
                                Joseph             Bates Lexington              MA
Power of Attorney The patent                               practitioners        associated    with          Customer Number 24208

Domestic         Priority data           as claimed by applicant
                                This application               is   a CON of 12816201            06152010
                                which claims benefit of 61218691                             06192009

Foreign Applications                 You may be eligible                    to benefit     from the Patent Prosecution                             Highway program                  at the

USPTO Please see httpiwwwusptogov                                         for   more information



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The country code and number                               of your    priority   application        to   be used for filing       abroad under the Paris Convention

is   US 13399884

Projected Publication                    Date             To Be Determined            pending completion                of Missing           Parts



Non Publication                Request              No


Early Publication               Request              No
     SMALL ENTITY


                                                                                       page    1   of   3




                                                                                                                                                                             SINGULAR 00001667
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Title


                     Processing           with        Compact                Arithmetic          Processing                    Element


Preliminary Class

                     708


                        PROTECTING                              YOUR INVENTION OUTSIDE THE UNITED                                                                             STATES

Since     the   rights     granted         by a         US patent extend only throughout                                               the   territory         of the     United States              and have        no
effect    in   a foreign       country            an       inventor           who wishes                  patent          protection         in   another        country         must apply           for    a patent
in   a specific      country        or    in     regional           patent          offices           Applicants                may wish          to    consider         the   filing      of   an    international

application      under the Patent Cooperation                                     Treaty        PCT              An international                 PCT application generally                          has the same

effect   as a regular national patent application                                         in   each        PCT member country The PCT process                                             simplifies the filing

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patent       and does not eliminate the need of applicants                                             to   file       additional        documents             and fees in countries where patent

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Almost every country                 has       its    own patent law and a person                                         desiring       a patent        in   a particular          country      must make an

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                                                                                                                        particular        laws Since the laws of many countries                                 differ


in   various    respects from the patent law of the United States applicants                                                                 are advised           to    seek guidance                from specific

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Applicants       also are advised                that      in   the case of inventions                           made in the             United        States the Director of the                    USPTO       must

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guidance        as to the status of applicants                                license      for       foreign          filing




Applicants       may wish           to   consult           the     USPTO            booklet General                            Information        Concerning             Patents          specifically         the

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patent applications                The guide            is   available             either       by contacting                   the    USPTO           Contact Center            at   8007869199                or   it




can     be viewed on the             USPTO             website               at   httpwwwusptogovwebofficespacdocgeneralindexhtml


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countries       such as China               Korea and Mexico                              For questions                   regarding          patent      enforcement             issues         applicants        may
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                                                        Title           35        United             States               Code Section 184

                                           Title           37 Code of Federal Regulations                                                          511             515

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                                                                                                       page        2 of    3




                                                                                                                                                                                                 SINGULAR 00001668
                       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 62 of 192




set forth         in     37    CFR 515 The                 scope and limitations of this license are set forth                           in    37 CFR 515a unless an                   earlier

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respect        to        certain       countries          of other    agencies        particularly       the      Office      of    Defense     Trade       Controls        Department      of

State       with                Arms Munitions and Implements of War 22 CFR 121128 the Bureau of Industry and
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USC 181 the licensee may foreign                                     file   the application      pursuant              to   37 CFR     515b


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                                                                                                                                                                            SINGULAR 00001669
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          POWER OF ATTORNEY                                                                                                            Application Number                                    NA

                 OR                                                                                                                    Filing      Date                                      NA
                                                                                                                                       First Named                                           BATES Joseph
  REVOCATION OF POWER OF ATTORNEY                                                                                                                                  inventor


                                                                                                                                                                                             Processing with             Compact Arithmetic7
    WITH A NEW POWER OF ATTORNEY
                                                                                                                                       Title



                                                                                                                                                                                             NIA
                 AND
                                                                                                                                       Art Unit

                                                                                                                                       Examiner Name                                         NiA
 CHANGE OF CORRESPONDENCE   ADDRESS
                                                                                                                                       Attorney Docket                     Number       1
                                                                                                                                                                                             MOW um

 I
     hereby                 revoke           all        previous               powers           of    attorney         given      in the        above identified                       application


                      A Power of Attorney is submitted herewith

               OR                                                                                                                                                                                                                                    1




     0            i
                       hereby appoint Practitioners associated

                  Number as myour attorneys                                         or agents
                                                                                                         with the foliowing

                                                                                                        to prosecute the amlication
                                                                                                                                       Customer                                                           24208

                  identified            above               and        to transact     all   business       in   the United States Patent

                  and Trademark                     Office connected                    therewith

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     lam the

     ix          ApplicantInventor

               OR
                                                                                                      See 37 CFR 371
     r1          Assignee               of record of the entire interest

     iJ           Statement              under 37 CFR 373b                              Form PTOS896                    submitted herewith                      or filed   on


                                                                                                    SIGNATVRE          of Applicant or             Assignee of Record

     Signature                                          I

                                                                                                       7a                                                                            Date                  U       liQevE                0    0

     Name                                                    Joseph Bates                                                                                                            Telephone            7815385664
pTitle         and Company                                   Managing                 Partner            Singular        Computing                  LLC
     lign        sigriatum              of   ali   the      inventors         or   assignees        of record of the    entire interest        or their         representatives        are   required     Submit   multiple   forms    if   more   than   one

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      1     The information on this form will be treated                                           confidentially to              the extent        allowed              under the
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            Such disclosure shall be made                            in accordance  with the GSA regulations governing

            inspection      of records for this purpose and any other relevant     GSA or Commerce                                     ie
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      8     A record       from this system of records                          may be disclosed                           as a routine            use     to      the public           after

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            37 CFR 114 as a routine                           use    to   the public                if    the record          was filed       in   an     application                 which

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      9     A record       from this system of records                          may be disclosed                           as a routine            use        to   a    Federal
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            potential      violation         of   law    or   regulation




                                                                                                                                                                                                     SINGULAR 00001671
                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 65 of 192


                                          Electronic Patent Application               Fee Transmittal


Application      Number


Filing Date




Title of Invention                                                Processing   with   Compact Arithmetic   Processing    Element




First   Named InventorApplicant                 Name              Joseph   Bates




Filer                                                             Robert Plotkin




Attorney Docket      Number                                       A0006 1001C1



Filed as Small Entity




Utility   under 35 USC               111a        Filing Fees



                                                                                                                                   Sub Total in
                                Description                                Fee Code           Quantity          Amount
                                                                                                                                     USD$


Basic   Filing




                  Utility   filing   Fee Electronic   filing                   4011               1                 95                  95




                              Utility    Search Fee                            2111               1                310                 310




                        Utility      Examination Fee                           2311               1                125                 125




Pages



Claims



                            Claims in excess of 20                             2202               50                30                 1500




                  Independent           claims in excess   of 3                2201               1                125                 125




Miscellaneous Filing




                                                                                                                               SINGULAR 00001672
              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 66 of 192
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Petition




Patent Appeals and Interference




Post Allowance   and Post Issuance



Extension   of Time



Miscellaneous



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              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 67 of 192
                                       Electronic   Acknowledgement                 Receipt


                         EFS ID                         12108864




                 Application   Number                   13399884




        International   Application      Number


                Confirmation     Number                2684




                  Title of   Invention                 Processing    with   Compact Arithmetic         Processing            Element




      First   Named InventorApplicant        Name      Joseph     Bates




                  Customer Number                      24208




                         Filer                         Robert Plotkin




                  Filer Authorized    By


               Attorney Docket     Number              A0006 1001C1



                     Receipt Date                       17FEB2012



                      Filing Date




                     Time Stamp                         185716



                   Application Type                    Utility   under 35 USC   111a



Payment information

Submitted with Payment                                 no



File Listing


 Document                                                                                   File SizeBytes                         Multi       Pages
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                             Specification                  Specificationpdf                                                           no          62

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Warnings

Information




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New Applications Under 35 USC 111
                                                   and the application                                                                                                                               FR
            d
If   a   new application   is
                                being     filed                                       includes     the   necessary components                            for a filing               date see 37

153b            and MPEP 506 a Filing Receipt 37 CFR 154 will be issued                                       in   due course and the date shown on this

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National      Stage of an International Application under 35                             USC 371
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                                                                                                                                          compliant with the conditions of 35
USC 371 and other applicable                    requirements a Form PCTDOE0903                               indicating              acceptance of the application as a
national      stage submission under 35                 USC 371             will   be issued     in   addition to the Filing Receipt                                in     due course


New       International   Application          Filed with          the USPTO as a Receiving Office

If   a   new international      application        is
                                                        being       filed   and the international application includes the necessary components                                                             for

an international      filing    date see PCT Article 11 and MPEP                          1810 a Notification of the International                                                Application     Number
and of the      International Filing           Date Form PCTRO105                       will    be issued    in   due course subject                            to prescriptions concerning

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the application




                                                                                                                                                                                      SINGULAR 00001675
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Attorney   Docket   No A0000 1001C1


                                       FOR
                             APPLICATION
                    UNITED STATES LETTERS PATENT




Title           Processing       with   Compact Arithmetic
                Processing       Element




                        Inventors         Joseph Bates




                                                                 SINGULAR 00001676
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Attorney Docket        No A00061 00                    1   C   I




                                                   Processing                          with

                  Compact Arithmetic Processing                                                             Element

                             Cross Reference                              to Related        Applications


         0001              This application                        is   a continuation        of   US Patent Application
Serial   Number 12816201                         filed         on June        15 2010          entitled      Processing       with


Compact       Arithmetic          Processing                Element             which      claims the benefit of          US
Provisional        Patent Application                      Serial         Number 61218691                  filed   on June    19 2009

entitled     Massively        Parallel            Processing                 with   Compact          Arithmetic      Element        both


of which     are hereby incorporated                               by reference        herein



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patent disclosure as               it
                                        appears             in      the Patent       and Trademark             Office   patent   file    or


records but otherwise                   reserves            all         copyright    rights    whatsoever



                                                                    Background


         0003              The     ability        to   compute               rapidly   has become enormously


important     to   humanity              Weather and                      climate    prediction        medical applications


such as drug design and noninvasive imaging                                                 national       defense      geological


exploration financial             modeling                  Internet         search network communications

scientific   research        in   varied          fields            and even        the design        of   new     computing

hardware      have     each       become dependent                            on the       ability   to rapidly     perform    massive

amounts      of calculation                Future progress such                        as the        computer aided design              of


complex nano scale systems or development                                             of   consumer products             that can       see

hear and understand                     will    demand                  economical      delivery      of    even greater

computing         power

         0004              Gordon Moores prediction                                  that computing           performance        per

dollar would       double every two years has proved valid for over 30 years                                                  and

looks    likely   to continue            in    some form                   But despite        this   rapid exponential




                                                                                                                                     SINGULAR 00001677
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Attorney Docket      No A0006 1001C1


improvement         the    reality   is   that the      inherent          computing            power      available          from


silicon   has grown far more quickly than                       it   has been           made available               to software


In   other words although the theoretical                       computing               power of computing                   hardware


has grown exponentially the interfaces through                                    which     software           is   required to


access the hardware              limits   the ability of software                  to use hardware                  to perform


computations       at anything        approaching              the       hardwares         theoretical              maximum

computing      power

          0005            Consider a modern                  silicon      microprocessor              chip      containing           about


one billion    transistors        clocked        at roughly          1    GHz On each cycle                     the    chip    delivers


approximately one useful arithmetic                      operation              to the   software         it   is   running          For


instance      a value     might be transferred                 between           registers another                  value might be


incremented perhaps a multiply is accomplished                                          This   is   not   terribly       different


from what chips did 30 years                  ago       though the clock                 rates are perhaps                  a thousand


times faster today


          0006            Real   computers             are   built       as physical       devices and                the


underlying     physics from which                the    machines are built                often exhibits              complex and

interesting    behavior          For example a               silicon       MOSFET          transistor is a device


capable of performing             interesting          nonlinear operations                     such as exponentiation


The    junction   of two wires can               add currents              If
                                                                                configured          properly a         billion



transistors and      wires should be able to perform                             some significant               fraction       of a


billion   interesting     computational            operations             within a       few propagation               delays of the

basic components           a cycle          if   the overall         design        is   a traditional          digital      design

Yet todays        CPU chips use their billion                   transistors to enable software                           to perform


merely a few such          operations            per cycle not the significant                       fraction       of the billion


that might    be possible



                                                         Summary

          0007            Embodiments             of the present                invention      are directed to a


processor     or other device             such     as a programmable                     andor massively                    parallel


processor     or other device             which        includes          processing        elements            designed         to


perform     arithmetic     operations            possibly but not necessarily                        including for




                                                                                                                                      SINGULAR 00001678
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example one or more of addition                  multiplication       subtraction and division                  on

numerical    values of low precision but high dynamic                    range      LPHDR arithmetic
Such a processor or other device                 may for example be implemented                       on a single

chip    Whether or not implemented                on a single chip the number                   of   LPHDR

arithmetic   elements        in   the processor      or other device        in   certain   embodiments               of


the present       invention significantly        exceeds      eg by      at least     20 more than three

times the number of arithmetic elements                    in   the processor       or other device            which


are designed       to perform       high dynamic      range arithmetic           of traditional       precision


such    as 32 bit or 64 bit floating           point arithmetic


         0008          In   some embodiments low precision                        processing         elements


perform arithmetic          operations       which produce       results that frequently             differ    from


exact results by at least          1 one         tenth of one     percent         This     is   far worse


precision    than the widely used IEEE 754 single precision floating point standard


Programmable embodiments                     of the present     invention     may be programmed with

algorithms that function           adequately      despite these unusually            large relative           errors

In   some embodiments the processing                  elements        have high dynamic range                    in



the sense that they are capable                of operating     on   inputs      andor producing outputs

spanning     a range at least as large as from one millionth to one million



                                  Brief Description        of the Drawings


         0009          FIG 1       is   an example overall design of a             SIMD processor

according    to one     embodiment           of the present     invention


         0010          FIG 2 is an example            of the Processing           Element Array of a

SIMD processor         according        to   one embodiment          of the present        invention


         0011          FIG 3 is an example            of   how a Processing Element                   in   a


Processing     Element Array communicates                  data with other parts of the processor


according    to   one embodiment             of the present     invention


         0012          FIG 4 is an example            design for a Processing               Element

according    to   one embodiment             of the present     invention


         0013          FIG 5 is an example LPHDR                  data word format according                    to   one

embodiment         of the present        invention




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           0014        FIG 6 is an example         design for an      LPHDR arithmetic            unit


according     to   one embodiment         of the present   invention


           0015        FIG 7 is an original image

           0016        FIG 8 is an image blurred by a blur kernel according                      to   one

embodiment         of the present      invention


           0017        FIG 9 is an image produced            by Richardson         Lucy deconvolution

using floating     point arithmetic      according     to one   embodiment     of the present


invention


           0018        FIG 10 is an image produced              by Richardson       Lucy

deconvolution       using    LPHDR floating point arithmetic          with   added noise fp+noise

according     to   one embodiment         of the present   invention


           0019        FIG 11     is   an image produced        by Richardson       Lucy

deconvolution       using    LPHDR logarithmic         arithmetic   Ins according          to one


embodiment         of the present      invention



                                         Detailed Description


           0020       As described above todays             CPU chips make inefficient                use of

their transistors      For example a conventional               CPU chip containing         a   billion



transistors might enable         software to perform       merely a few operations              per clock

cycle      Although   this is highly     inefficient   those having ordinary skill         in   the art


design     CPUs    in this
                             way for what    are widely accepted        to be valid   reasons             For


example such designs            satisfy the often      essential     requirement for software


compatibility      with earlier designs       Furthermore they deliver great precision

performing      exact arithmetic       with integers typically      32 or 64 bits long and

performing      rather accurate        and widely standardized        arithmetic    with   32 and 64         bit



floating   point   numbers      Many applications need this kind of precision                     As a

result conventional          CPUs typically are designed          to provide such     precision using

on the order of a million transistors to implement the arithmetic operations

           0021       There are many economically               important    applications however

which are not especially         sensitive   to precision    and that would greatly benefit                 in



the form of application        performance      per transistor from the ability to draw upon a




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far greater fraction    of the computing             power      inherent    in   those        million transistors


Current architectures        for general          purpose computing          fail    to deliver     this   power

           0022        Because      of the       weaknesses        of conventional             computers such as

typical microprocessors other               kinds of computers            have been developed                  to attain


higher performance           These machines                include single    instruction          streammultiple

data stream      SIMD designs multiple instruction streammultiple data stream
MIMD designs reconfigurable                      architectures     such as field programmable gate


arrays     FPGAs and graphics processing unit designs GPUs which when
applied to general      purpose computing                   may be viewed         as single instruction


streammultiple thread         SIMT designs
           0023        SIMD machines              follow a sequential        program            with each


instruction    performing    operations           on a collection     of data            They come        in   two main

varieties     vector processors          and     array processors           Vector processors              stream

data through      a processing          element     or small collection          of such         elements         Each

component       of the data stream          is    processed      similarly       Vector        machines gain

speed by eliminating         many instruction fetchdecode                   operations           and by pipelining

the processor      so that the clock           speed       of the operations        is   increased


           0024       Array processors             distribute    data across a grid of processing


elements      PEs Each element has                   its   own memory            Instructions       are broadcast


to the     PEs from a central control             until sequentially        Each         PE performs the

broadcast      instruction   on   its    local data     often with the option to sit               idle   that   cycle

Array processors       gain speed by using silicon efficientlyusing                              just one


instruction    fetchdecode        unit to drive       many small simple execution                   units in


parallel


           0025       Array processors             have been built using fixed                  point   arithmetic       at


a wide variety of bit widths such as                 1 4 8 and wider             and using         floating      point


arithmetic      Small bit widths allow the processing                 elements to be small which

allows more of them to fit          in   the computer but many operations                         must be carried

out   in   sequence   to perform         conventional        arithmetic     calculations           Wider widths

allow conventional      arithmetic         operations        to be completed             in   a single cycle       In



practice wider widths are desirable                    Machines      that   were         originally designed         with




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small bit widths               such    as the Connection                   Machine 1 and             the   Goodyear Massively

Parallel        Processor which              each   used         1    bit   wide processing               elements evolved

toward wider data paths to better support fast arithmetic producing                                                     machines

such     as the Connection               Machine 2 which                    included      32   bit   floating         point hardware


and    the      MasPar machines which                  succeeded               the    Goodyear machine and

provided 4            bit   processing       elements       in       the    MasPar1 and              32    bit   processing

elements         in    the    MasPar2

           0026                Array processors         also          have     been designed               to use analog


representations               of   numbers and analog                  circuits    to perform             computations             The

SCAMP           is    such    a    machine     These machines provide low precision arithmetic                                                in




which     each operation               might introduce perhaps                     an error of a few percentage


points     in   its    results        They   also introduce                noise   into   their computations                  so the


computations                are not repeatable          Further they represent only a small range of

values corresponding                    for instance    to       8    bit    fixed point values             rather than providing


the large        dynamic range            of typical    32 or 64 bit floating point representations

Given these limitations the                   SCAMP was not                    intended as a general                    purpose

computer              but    instead   was designed and used                       for image         processing             and   for


modeling         biological         early vision    processes                 Such     applications              do   not   require a


full   range of arithmetic              operations     in    hardware and                 the       SCAMP for example
omits general division                 and   multiplication            from     its   design

           0027                While    SIMD machines were popular                             in   the    1980s as

priceperformance for microprocessors                                  improved designers                   began       building


machines from                large collections      of communicating                      microprocessors                   These

MIMD machines                  are fast and     can have              priceperformance comparable                             to their


component              microprocessors but they exhibit the                            same inefficiency                as those


components                   that they deliver to their software                                                 computation
                        in                                                            relatively       little
                                                                                                                                        per

transistor


           0028                Field    Programmable                 Gate Arrays FPGAs are integrated

circuits     containing            a large grid of general                  purpose    digital       elements          with


reconfigurable               wiring    between those elements                         The elements               originally were


single digital          gates such as AND and                        OR gates but evolved                       to larger elements




                                                                                                                                        SINGULAR 00001682
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that could        for instance          be programmed             to   map 6 inputs to 1 output             according         to



any Boolean function                  This architecture           allows the FPGA to be configured                     from

external    sources       to    perform a wide variety of digital computations which                              allows


the device        to be used          as a co processor           to a   CPU to accelerate          computation

However       arithmetic         operations        such as multiplication             and   division      on integers


and   especially        on floating       point    numbers         require        many gates and          can absorb a


large fraction         of an    FPGAs general             purpose        resources       For this reason modern


FPGAs       often devote a significant               portion       of their area to providing             dozens      or


hundreds      of multiplier blocks             which       can be used instead of general purpose

resources for computations                  requiring       multiplication          These    multiplier blocks


typically   perform       18    bit    or wider    integer       multiplies       and use many       transistors            as

similar multiplier circuits             do when they are part of a general purpose                          CPU

           0029           Existing       Field     Programmable            Analog Arrays FPAAs are


analogous         to   FPGAs          but their configurable           elements      perform analog processing

These devices           generally        are intended to do signal processing such                          as helping

model      neural      circuitry       They are relatively low precision have                   relatively       low


dynamic range and                introduce        noise    into   computation          They have          not   been

designed      as or intended for use as general                          purpose computers                For instance


they are not seen by those having                        ordinary skill      in   the art as   machines         that can


run the variety of         complex algorithms with floating                       point arithmetic        that typically


run on     high    performance           digital   computers

           0030           Finally       Graphics         Processing        Units    GPUs are a variety of
                               that evolved        to provide              speed graphics                              to
parallel    processor                                              high                          capabilities


personal computers                 They offer standard             floating       point computing         abilities    with


very high     performance             for certain tasks           Their computing           model    is   sometimes

based on having           thousands         of nearly          identical   threads of computing             SIMT
which    are executed           by a collection          of SIMDlike         internal   computing          engines each

of which     is   directed      and     redirected       to perform        work for which      a slow external


DRAM memory has provided data                             Like    other machines that implement                   standard


floating    point arithmetic            they use     many transistors for that arithmetic They                          are


as wasteful of those transistors                    in   the   sense discussed          above    as are general




                                                                                                                            SINGULAR 00001683
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purpose    CPUs

         0031                Some GPUs include support                          for 16 bit floating       point values


sometimes            called   the         Half format The GPU manufacturers                               currently            such as

NVIDIA or AMDATI describe                                 this   capability   as being useful for rendering                    images

with   higher dynamic              range than the usual 32                     bit    RGBA format which uses 8 bits

of fixed point data per color while also saving                                 space over using 32 bit floating

point for color        components                      The special      effects       movie firm Industrial            Light    and

Magic   ILM independently                            defined an identical representation                 in   their OpenEXR


standard which they describe                               as   a high dynamic range HDR image                          file   format


developed       by Industrial                  Light       Magic     for use in       computer     imaging applications


Wikipedia       late    2008         describes the 16 bit floating point representation                                 thusly

This format is used                in     several          computer graphics environments                     including


OpenEXR OpenGL                      and             D3DX The advantage                over 8bit or 16 bit binary


integers   is   that the increased                        dynamic    range allows for more             detail    to    be

preserved       in   highlights            and shadows The advantage over 32 bit single                                   precision


binary formats          is   that    it
                                            requires        half the storage          and bandwidth

         0032                When a graphics                     processor     includes        support for 16 bit floating


point that support            is    alongside              support for 32       bit   floating    point and increasingly

64 bit floating point               That is the 16 bit floating                  point format is supported                  for those


applications         that    want         it    but the higher precision formats also are supported

because they are believed                            to   be needed for traditional graphics              applications               and

also for so called general                          purpose       GPU applications Thus                 existing        GPUs

devote substantial            resources to 32                    and   increasingly        64 bit arithmetic and are
wasteful   of transistors                 in    the sense discussed             above

         0033                The variety               of architectures       mentioned          above are all attempts                to


get more performance                      from silicon than            is   available     in   a traditional    processor

design     But designers                   of traditional         processors         also have been struggling                  to   use

the enormous           increase                in   available     transistors to improve           performance           of their


machines         These machines                        often     are required because of history and


economics        to support               large existing           instruction       sets such      as the     Intel    x86


instruction     set     This        is     difficult       because     of the law of diminishing returns                       which




                                                                                                                                     SINGULAR 00001684
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does not enable twice                the performance              to    be delivered by twice the             transistor


count         One facet of these designers struggle has been to increase                                      the precision


of arithmetic         operations since transistors are abundant                          and some applications

could be sped up significantly                    if   the processor        natively    supported          long     eg 64
bit   numbers           With the increase of native fixed point precision from 8 to 16 to 32


to 64 bits         and of floating        point from 32 to              64 and sometimes 128               bits


programmers have come                        to think    in   terms of high precision              and   to develop


algorithms based on the assumption                             that    computer      processors          provide such

precision since           it   comes      as an integral part of each                new generation            of silicon


chips and thus           is    free

              0034             Embodiments             of the present       invention    efficiently       provide


computing           power using a fundamentally                    different    approach           than those described

above         In   particular      embodiments                of the    present invention are directed to


computer processors                or other devices which use low precision high dynamic


range     LPHDR processing elements to perform computations                                           such         as

arithmetic         operations

              0035             One variety of LPHDR                arithmetic     represents         values from one

millionth up to one million with                   a precision of about           01          If   these values were


represented           and manipulated            using the methods              of floating        point arithmetic            they

would      have      binary     mantissas of no more than 10                    bits   plus a sign bit        and        binary


exponents           of at least 5 bits plus a sign bit                   However       the circuits to multiply and


divide    these floating point values would be relatively                             large        One example            of an


alternative         embodiment          is   to use a logarithmic            representation          of the    values          In



such an approach the values require the same number of bits to represent                                                       but


multiplication         and     division      are implemented              as addition and subtraction


respectively of the logarithmic                        representations         Addition    and subtraction                may be

implemented            efficiently      as described            below      As a result the area of the

arithmetic         circuits     remains relatively small and a greater                    number of computing

elements           can be fit    into   a given area of silicon               This    means the machine                  can


perform a greater number of operations                             per unit of time or per unit             power         which


gives    it   an advantage         for those           computations        able to be expressed               in   the    LPHDR



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framework

          0036              Another embodiment                      is    to use analog representations                                    and

processing       mechanisms              Analog          implementation                        of   LPHDR arithmetic                       has the


potential    to be superior to digital                implementation because                                       it   tends to use the


natural     analog physics of transistors or other physical devices                                                       instead of using


only the     digital      subset of the devices                    behavior               This      fuller         use of the devices

natural     abilities
                           may permit smaller mechanisms                                  for doing                LPHDR            arithmetic       In



recent years          in   the field    of silicon       circuitry                 analog methods                       have been

supplanted       by     digital    methods          In   part        this          is   because         of the           ease       of doing


digital   design compared              to analog          design               Also       in   part         it    is    because          of the


continued      rapid scaling           of digital     technology                    Moores             Law compared to analog
technology         In      particular at      deep submicron dimensions analog                                                  transistors no


longer work as they had                 in   prior generations                      of larger scale                     technology           This


change      of familiar behavior              has made analog design                                still        harder        in   recent years


However        digital      transistors are         in   fact analog                    transistors used                  in   a digital      way

meaning       digital      circuits    are   really      analog           circuits        designed                 to    attempt to switch

the transistors between                completely             on and completely                        off        states        As scaling

continues even              this   use of transistors is starting to                            come face to face with the

realities   of analog            behavior      Scaling of transistors for digital use                                          is   expected

either to stall      or to require digital            designers                    increasingly             to     acknowledge              and work

with analog       issues           For these reasons                 digital            embodiments                      may no longer be

easy      reliable      and scalable and analog embodiments                                            of        LPHDR arithmetic may

come to dominate                 commercial      architectures


          0037              Because          LPHDR processing                           elements             are relatively              small a


single    processor or other device                   may include a very large number                                               of   LPHDR

processing       elements adapted                to operate                   in   parallel with                 each other and

therefore     may constitute            a massively                parallel             LPHDR        processor                 or other device


Such      a processor         or other device            has not been                    described                or practiced            as a

means of doing general                 purpose computing                           by those having                      ordinary skill        in   the


art   for at least two           reasons      First      it   is    commonly               believed                by those          having


ordinary skill       in    the   art that     LPHDR computation and                                   in         particular         massive




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amounts           of   LPHDR computation whether                    performed       in    a massively parallel              way

or not       is   not practical      as a substrate        for moderately          general computing               Second

it   is   commonly believed by those having ordinary skill                           in   the art that     massive

amounts           of even      high precision      computation           on a single chip or in a single

machine as is enabled by a compact                           arithmetic      processing       unit   is   not useful


without      a corresponding              increase   in   bandwidth        between processing elements

within      the machine and into and out of the machine because                                computing          is   wire


limited      and       arithmetic    can be considered             to   be available       at no cost


            0038              Despite these viewsthat massive amounts of arithmetic                                     on a

chip or in a massively parallel machine                       are not useful and that massive amounts

of    LPHDR arithmetic              are even      worseembodiments                  of the present         invention


disclosed         herein demonstrate             that massively parallel            LPHDR designs               are    in   fact


useful      and provide         significant      practical    benefits      in   at least several     significant


applications


            0039              To conclude         modern     digital     computing         systems provide high

precision         arithmetic but that precision              is   costly     A modern double precision

floating      point multiplier may require                on the order of a         million transistors           even

though       only a handful of transistors is required to perform a low precision


multiplication               Despite the common           belief    among those           having   ordinary skill           in



the art that modern applications                    require       high precision      processing          in   fact a


variety of useful algorithms function                     adequately        at   much lower precision                  As a

result such algorithms may be performed                             by processors          or other devices


implemented              according       to   embodiments         of the present          invention which         come

closer to achieving              the goal of using a few transistors to multiply and a wire


junction      to   add thus enabling             massively parallel arithmetic               computation          to    be

performed          with relatively         small amounts          of physical      resources       such        as a single

silicon     chip         Although        certain specialized        tasks can function         at low precision                  it




is   not obvious and             in fact      has been viewed as clearly false by those having

ordinary skill          in   the art that relatively       general       purpose computing           such as is


typically performed              today on general          purpose computers               can be done at low


precision          However          in   fact a variety    of useful      and important algorithms can be




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made to function             adequately        at   much lower than 32                 bit   precision     in   a massively


parallel      computing        framework and              certain       embodiments             of the    present     invention


support such          algorithms thereby offering                      much more efficient               use of transistors

and thereby provide improved speed power andor cost compared                                                     to


conventional          computers

           0040              Various computing             devices         implemented           according       to


embodiments            of the   present       invention         will    now     be described           Some of these

embodiments               may be an instance of a SIMD computer                               architecture       Other


architectures         may be used such               as MIMD architectures                      programmable          array


architectures         such as FPGAs and                   FPAAs or GPUSIMT architectures                               The

techniques        disclosed      herein       may for example be implemented                              using   any

processor         or other device           having       such an existing architecture                    and   replacing      or


augmenting           some or all       existing      arithmetic          units   in   the    processor      or other    device

if
     any   with   LPHDR arithmetic              units     in
                                                                any of the ways disclosed                  herein      Devices


implemented           according        to   embodiments                of the present         invention     however        need

not   start    with an existing         processor         design         but    instead       may be designed          from


scratch       to include      LPHDR arithmetic                 units within       any of the       architectures       just


described or any other architecture


           0041              Embodiments            of the present             invention      may for example            be


implemented           using the architecture               of a particular            kind of   SIMD computer            the


array processor               There are       many variations and                 specific      instances       of array


processors         described      in   the scientific          and commercial                literature     Examples

include     the    Illiac    4 the Connection             Machine         1    and    2 the Goodyear MPP and the
MasPar        line   of     computers

           0042              Embodiments            of the present             invention      need not however             be


implemented           as SIMD computers                   For example embodiments                         of the present


invention       may be        implemented           as   FPGAs FPAAs or related architectures                            that


provide for flexible connectivity                   of a set of processing                  elements       For example


embodiments            of the   present       invention         may be implemented                 as     GPUSIMTs and

as MIMDs          among others               For example embodiments                          of the   present    invention


may be implemented               as any kind of machine                       which    uses     LPHDR arithmetic



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                                                                                                                           SINGULAR 00001688
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processing         elements        to provide computing                             using a small           amount             of resources


eg      transistors or           volume compared                         with traditional            architectures


Furthermore references                   herein to processing                           elements                within     embodiments                  of


the present         invention      should be understood                              more generally as any kind                             of


execution         unit whether          for performing                   LPHDR operations                       or otherwise


            0043              An example SIMD computing                                 system        100           is   illustrated        in   FIG 1

The computing                system     100 includes a collection                         of    many processing                       elements


PEs 104                Sometimes present are a control                                 unit    CU 106 an IO                          unit   IOU
108 various            Peripheral       devices           110 and              a Host     computer                  102 The collection                   of


PEs    is   referred         to herein   as the Processing                           Element Array                   PEA even though
it   need   not    be twodimensional                     or an array or grid or other particular                                      layout

Some machines                 include    additional             components such as an                                additional         memory

system called the Staging                      Memory               in   the        Goodyear         MPP but these additional
elements      are neither essential                  in       the   computer            nor needed to understand

embodiments             of the    present          invention         and            therefore    are omitted here for clarity of


explanation            One embodiment                    of the present                invention          is    a   SIMD computing

system of the kind shown                  in       FIG 1 in which one or more                                   eg         all of the            PEs    in




the   PEA 104          are    LPHDR      elements as that term                            is   used        herein


            0044              The Host 102               is   responsible              for overall         control of the computing


system      100        It
                             performs the serial or mostly serial computation                                                  typical      of a


traditional        uniprocessor           The Host 102 could have                               more complicated                        structure

of course          including     parallelism of various                         sorts     Indeed           a heterogeneous


computing          system combining                 multiple         computing               architectures                in   a single


machine       is   a   good use for embodiments                            of the present             invention


            0045              A goal of the Host 102                      is    to    have     the   PEA 104               perform massive

amounts       of computation             in    a useful         way            It   does this by causing                       the    PEs to

perform      computations typically on data                               stored        locally      in    each          PE     in    parallel     with


one another             If   there are    many PEs much work gets done during                                                   each        unit of


time

            0046              The PEs         in   the        PEA 104 may be able to perform their                                          individual


computations            roughly as fast as the Host 102 performs                                          its    computations                    This




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means       it
                 may be inefficient          to   have the Host 102 attempt                       to control the      PEA 104

on a time scale as fine as the Hosts or PEAs minimal time step                                                  This minimal

time in a traditional             digital    design would be the clock                      period         For this reason

the specialized            control unit      CU 106 may be included                         in the      architecture      The

CU 106 has the primary task of retrieving and decoding                                           instructions     from an


instruction        memory which              conceptually          is   part of the     CU 106 and issuing the

partially        decoded     instructions         to   all   the   PEs in the PEA 104                    This may be

viewed by the          CU software           as happening               roughly simultaneously for all the                     PEs

though      it   need not literally         be synchronous and                  in   fact   it
                                                                                                 may be effective         to   use

an asynchronous              design     in   which multiple instructions                    at different        stages of

completion         simultaneously propagate                     gradually across the PEA for instance                           as a

series of wave         fronts

           0047             In   a design which includes the CU                       106 the Host 102              typically


will   load the instructions           the program for the                    PEA 104 into the CU instruction

memory not shown in FIG                       1 then          instruct the      CU 106 to interpret the program

and cause the PEA 104 to compute according                                     to the instructions              The program

may for example look generally similar to a typical machine language                                                  program

with    instructions        to   cause data movement                     logical operations              arithmetic


operations          etc     in   and between           the    PEs and         other instructions           to   do similar

operations         together with control flow operations                        within the          Cu 106 Thus the CU

106 may run a typical               sort of       program but with the ability                    to issue massively


parallel     instructions        to the     PEA 104

           0048             In   order to get data into and out of the CU 106 and                                 PEA 104

the IO Unit 108            may interface           the       CU 106 and PEA 104 with the Host 102 the

Hosts memory not shown                       in   FIG        1 and      the   systems Peripherals                 110 such as

external         storage    eg       disk    drives          display devices for visualization                   of the


computational          results       and sometimes special                    high bandwidth              input devices        eg
vision   sensors The PEAs ability to process                                  data far faster than the Host 102

makes       it   useful for the      IOU 108 to be able to completely                            bypass the Host 102 for

some of its data transfers                   Also the Host 102 may have                           its   own ways of

communicating              with the Peripherals               110




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          0049            The   particular      embodiment                illustrated    in    FIG 1       is   shown merely

for purposes          of example       and does        not       constitute       a limitation       of the present


invention         For example alternatively                  the functions          performed            by the    CU 106

could    instead       be performed          by the Host 102 with the                 CU 106 omitted                   The CU

106 could        be implemented          as hardware               distant    from the        PEA 104           eg       off      chip
or the    CU 106 could          be near to the           PEA 104          eg on chip                 IO could          be routed


through the CU 106 with the IOU 108 omitted or through the separate                                                    IO

controller      108 as shown            Furthermore the Host 102                        is   optional the          CU 106 may

include for example a             CPU or otherwise                      include    components             sufficient         to


replace the functions           performed            by the Host          102 The Peripherals 110 shown in

FIG 1      are optional         The design shown                   in   FIG 1 could          have    a special         memory

such     as the Goodyear          MPPs staging memory which                                  provides an intermediate

level    of local     storage     Such       memory could                for example          be bonded           to    the


LPHDR          chip   using 3D fabrication            technology           to provide relatively            fast       parallel



access to the memory from the PEs                           in   the    PEA 104

          0050            The PEA 104           itself      besides        communicating             with the      CU         106


and IOU 108 and            possibly     other mechanisms has ways for data to                                    move within

the array         For example the            PEA 104 may be implemented                             such    that data             may

move from PEs only to their nearest                         neighbors that is there are no long                              distance

transfers        FIGS 2 and        3 show embodiments                      of the    present        invention which                use

this    approach       where    the nearest           neighbors           are the four adjacent                 PEs toward the

North East            West and South           called       a    NEWS        design          For example           FIG 2

shows      a subset      of the   PEs in PEA 104 namely PE 202 PE 204 PE 206 PE

208 and PE 210             When        the   CU 106          issues data movement                    instructions            all   the


PEs access data from              or   send data to their                respective     specified          nearest


neighbor         For instance      every       PE might access                a specified           data value          in   its




neighbor        to the   West and copy          it   into    its   own    local    storage          In   some

embodiments such as some analog embodiments these                                              kinds       of transfers            may

result    in   some degradation          of the value              copied

          0051            FIG 3 shows a PE 302 that                        includes data            connections          to the


IOU 108          PE 302    is   connected       at the North to              PE 304 at the East to PE 306                           at




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the South to       PE 308 and             at the      West to PE 310                 However          driving         signals from


inside    the   PEA 104 out to the IOU 108                        usually   requires            a physically           relatively


large driving      circuit     or analogous               mechanism         Having          those at every              PE may

absorb much of the available                     resources         of the hardware               implementation


technology       such as VLSI area                        In   addition having             independent           connections


from every       PE to the IOU            108       means many such                  connections           and        long


connections        which       also     may absorb much of the available                            hardware            resources

For these reasons the connections                              between    the     PEs and          the     IOU 108 may be

limited   to those    PEs at       the     edges          of the   PE array 104                 In this   case        to     get data

out of and perhaps              into     the    PEA 104 the data                is   read and written at the edges


of the    array and      CU     instructions          are performed             to shift    data between                the          edges

and   interior    of the      PEA 104 The design may permit data                                   to be       pushed from                   the


IOU 108 inward           to   any PE       in   the array using direct                connections               but    may require

readout to occur by using the CU 106 to shift data to the edges where                                                        it    can be

read by the       IOU 108

          0052           Connections                between        the   CU 106 and PEA 104 have                               analogous

variations       One design may include the ability to drive instructions                                             into        all   the


PEs roughly simultaneously                      but   another approach                is   to   have      the instructions                    flow


gradually       for instance           shift   in   discrete       time steps across the                   PEA 104 to reach

the   PEs Some SIMD designs which may be implemented                                                 in    embodiments                       of


the present       invention       have         a facility      by which     a   wired or or wired and                                   of the


state of every      PE in the PEA 104                     can be read by the CU 106                       in   approximately

one   instruction     delay time


          00531          There are             many well studied            variations           on these matters                       in   the


literature      any of which           may be incorporated                into    embodiments                  of the present


invention        For example an interconnect                         such    as an 8 way             local       interconnect


may be used The                local    connections             may include a mixture of various                             distance


hops such as distance 4 or 16 as well as distance                                     1 The outside               edges may be

connected        using     any topology such as a torus or twisted torus                                        Instead of or                 in




addition    to a local        interconnect            a   more complex           global         interconnect            such             as the


hypercube        design may be used                       Furthermore the physical                     implementation                        of




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the   PEA 104       eg     a    chip could             be replicated          eg      tiled    on a   circuit   board        to



produce      a larger     PEA       The        replication       may form a simple grid or other

arrangement         just as the          component            PEAs may but need                not    be grids


         0054             FIG 4 shows an example                       design for a           PE 400 which may be

used to implement any one or more of the                               PEs in the PEA            104      The PE 400

stores   local    data     The amount                of    memory for the local             data varies significantly

from design to design               It
                                         may depend             on the implementation                 technologies

available    for fabricating        the        PE 400         Sometimes rarely changing values

Constants take            less   room than frequently changing values Registers and                                           a


design   may provide more Constants                           than Registers            For instance        this
                                                                                                                    may be

the case with digital          embodiments                  that use single         transistor cells for the


Constants    eg          floating        gate Flash          memory cells and               multiple    transistor cells for


the   Registers eg 6            transistor            SRAM cells          Sometimes the situation                  is




reversed as        may be the case in analog embodiments where                                        substantial       area for


capacitance        may be needed                to ensure        stable long        term storage        of Constants


and such embodiments                 may have more Registers                        than Constants              Typical


storage capacities         might be tens or hundreds                      of arithmetic          values    stored       in   the


Registers      and Constants             in    each        PE but these capacities              are adjustable          by the


designer       Some designs               for instance           may have           Register     storage but no

Constant storage           Some designs may have                         thousands            or even   many more

values stored       in   each    PE           All   of these variations          may be reflected          in




embodiments         of the      present         invention


         0055             Each    PE needs to operate                    on   its   local   data      For this reason


within the     PE 400 there are data paths 402ai                              routing       mechanisms          such as the

multiplexor       MUX 404 and components                          to perform         some collection            of logical        and

arithmetic     operations        such as the                logic unit   406 and       the     LPHDR arithmetic              unit


408      The      LPHDR arithmetic                  unit   408 performs        LPHDR arithmetic             operations as

that term    is   used herein            The input output and                  intermediate           values received

by output by and           operated            on by the        PE 400 may for example take                       the form         of


electrical   signals      representing              numerical      values


         0056             The PE 400                also   may have one or more flag bits shown as




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Mask 410            in   FIG 4 The purpose of the Mask 410 is to enable some PEs the

ones    in   which         a specified         Mask bit        is   set to ignore                  some      instructions      issued by

the   CU 106             This allows          some variation             in   the    usual lock step behaviors                        of   all




PEs    in    the    PEA 104              For instance           the     CU 106 may issue an instruction that

causes each              PE to reset or set its Mask 410 depending                                        on whether a specified


Register       in    the    PE     is   positive     or negative              A subsequent                   instruction for instance


an arithmetic            instruction          may include a bit meaning                             that the    instruction       should be


performed           only by those             PEs whose Mask 410                         is   reset        This combination            has


the effect         of conditionally            performing           the arithmetic                 instruction    in    each     PE

depending           on whether the specified                        Register        in   that       PE was positive              As with the

Compare instructions                     of traditional        computers             there are             many possible          design

choices for mechanisms                        to   set   and    clear    Masks

             0057            The operation               of the      PEs      is   controlled             by control signals 412a d

received from the                CU 106 four of which                    are shown                 in    FIG 4 merely for purposes

of example           and     not    limitation           We have         not   shown               details    of this   mechanism                but


the control signals                412a d specify which                  Register or Constant                     memory values                  in




the   PE 400 or one of its neighbors                           to   send to         the data             paths which      operations

should be performed by the Logic                              406     or Arithmetic                408     or other processing


mechanisms where                        the   results     should be stored                    in   the    Registers      how     to set


reset and           use the        Mask 410 and               so on          These matters are well described                              in    the


literature     on        SIMD processors

             0058            Many variations                  of this   PE 400 and PEA design                           are possible

and   fall   within the          scope        of the present            invention              Digital       PEs can have         shifters


lookup tables and                  many other mechanisms                           such as described               in   the literature


Analog PEs can have                      time based operators                      filters         comparators          with global


broadcast           signals      and many other mechanisms                               such           as described      in   the


literature          The PEA 104 can                  include global            mechanisms                  such   as wired       OR or
wired   AND for digital PEAs or wired SUM for analog PEAs                                                       Again     there are


many variations              well described              in   the    literature          on    digital     and analog computing

architectures


             0059            For example                 LPHDR        operations               other than andor             in   addition         to




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addition      and    multiplication           may be supported                 For example a machine which


can only perform             multiplication        and the function             1X may be used              to


approximate          addition      and other        arithmetic      operations           Other collections              of


LPHDR operations may be used to approximate LPHDR arithmetic                                                operations

such as addition multiplication subtraction and division using techniques                                                       that


are wellknown           to those            having ordinary skill         in   the art


         0060                One aspect of embodiments of the present                            invention         that      is




unique       is   the inclusion of LPHDR arithmetic                      mechanisms         in   the    PEs

Embodiments            of such         mechanisms       will   now be described

         0061                One digital embodiment              of the         LPHDR arithmetic           unit        408

operates          on digital binary representations                      of numbers        In    one    digital


embodiment           these numbers              are represented              by their logarithms          Such         a


representation          is   called a Logarithmic             Number System              LNS which            is       well

understood          by those having ordinary skill                  in   the art


         0062                In   an   LNS numbers           are represented             as a sign and an


exponent There               is   an   implicit   base for the logarithms               typically 2      when working

with digital        hardware           In   the present embodiment a base of 2                      is   used for

purposes of example                     As a    result a     value say B          is   represented        by its sign and

a base 2 logarithm say b of its absolute                         value          For numbers        to have


representation          errors of at          most say 1`0 one percent                    the fractional          part of this


logarithm         should be represented               with   enough          precision that the least possible


change       in    the fraction        corresponds      to about         a   1   change     in   the value         B       If




fractions         are represented            using 6 bits increasing             or decreasing          the fraction by 1


corresponds          to multiplying or dividing              B by the 64th root of 2 which                   is




approximately 1011                     This    means that numbers may be represented                              in   the


present embodiment                 with a multiplicative         error of approximately                  VA So in this
example embodiment                     the fraction    part of the representation                has 6 bits

         0063                Furthermore the space               of values        processed        in    the present


embodiment           have high dynamic               range     To represent numbers whose absolute

value   is   from say one billionth                to one billion            the integer part of the logarithm


must be long enough                    to represent    plus or minus the               base 2 logarithm           of one




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billion       That logarithm                    is    about     299             In   the    present embodiment                          the        integer       part


of the       logarithm         representation                   is    5   bits       long       to represent            values from 0 to 31

which        is   sufficient             There also            is    a sign bit            in    the   exponent              Negative              logarithms

are represented                 using           twos complement                       representation

             0064               In       an     LNS the value zero corresponds                                      to the logarithm                     negative


infinity          One can choose                      a representation                 to explicitly              represent            this    special


value         However                to minimize resources                            for instance                 area used                 by arithmetic

circuits          the present             embodiment                 represents                  zero by the most negative                           possible


logarithm which                 is       32 corresponding                        to the          twos complement                       bit   representation


100000            000000 and                  denoting a value of approximately 233E10


             0065               When computing                            situations             can arise         in   which          operations

cannot produce reasonable                                   values         An example                  is   when        a   number            is   too     large to


be represented                 in    the      chosen word format such as when                                           multiplying             or adding


two large numbers                        or upon            divide    by zero          or nearly zero One common

approach           to this problem                     is   to allow a value to be                      marked as Not A Number

NAN and to make sure that each operation produces NAN                                                                        if   a problem               arises


or if either of          its   inputs           is    NAN        The present embodiment                                 uses this approach as

will   be described                 in   the following


             0066               FIG 5 shows the word format 500                                              for these         numbers               in    the


present embodiment                              It   has one         NAN bit 502a one bit 502b for the sign of the

value and           12     bits      502c e representing                         the logarithm                    The       logarithm          bits       include


a 5    bit   integer       part          502d and            a 6 bit fraction               part       502e To          permit the logarithms

to be negative                 there       is        a sign    bit   502c for the                 logarithm         which         is    represented              in




twos complement                      form             The     NAN         bit   is   set    if    some problem                has arisen              in




computing           the value                 The word format 500 shown                                     in    FIG 5 is merely an

example and does                         not constitute              a limitation                of the present             invention               Other

variations          may be used so long                              as they have                 low precision and                    high     dynamic

range

             0067               FIG 6 shows an example                                      digital     implementation                   of the       LPHDR

arithmetic          unit   408 for the                 representation                 illustrated            in   FIG 5 The                  unit    408

receives          two inputs              A 602a and B 602b and                                   produces an output                     602c The




                                                                                                                                                             SINGULAR 00001696
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inputs     602a b and output 602c                          may for example take                        the form of electrical


signals        representing            numerical           values according                to the       representation                   illustrated



in    FIG 5 as is also true of signals                            transmitted      within         the unit               408 by components

of the     unit   408        The       inputs       602a b and output 602c each                               are composed                   of a


Value and a               NAN Not A Number                        bit    The   unit   408        is    controlled               by control

signals        412a   d coming from                     the   CU 106 that determine                          which             available


arithmetic        operation           will    be performed on the inputs 602a                                b           In    this   embodiment

all   the available          arithmetic            operations           are performed             in    parallel              on the inputs

602a b by addersubtractor 604                                 multiplier 606          and        divider           608

Addersubtractor 604                     performs           LPHDR addition and                    subtraction multiplier 606


performs        LPHDR multiplication and divider 608 performs LPHDR division

           00681              The desired                result    from among              the    outputs of addersubtractor

604      multiplier 606               and     divider      608      is   chosen by the                multiplexers                MUXes 610a
and 610b             The right hand                MUX 610b sends the desired value to the output 602c
The     left   hand       MUX 610a                sends    the corresponding                 NAN            bit    from the desired


operation         to the     OR gate 612 which                      outputs a set           NAN bit                if    either input        is    NAN

or if the specified            arithmetic               operation        yields   NAN        The computing                            architecture


literature      discusses             many variations               which      may be incorporated                              into   the


embodiment                illustrated        in   FIG 6

           0069               LNS       arithmetic            has the great advantage                         that multiplication


MUL and division DIV are very easy to compute and take few physical
resources         eg         little    area        in   a silicon       implementation                  The             sign of the result              is




the exclusive or of the                      signs of the operands                The        logarithm                   part of the output                  is




the    sum      in   the    case of MUL or the difference                             in   the case of DIV                        of the


logarithm         parts of the          operands              The sum or difference                         of the        logarithms can

overflow          producing a            NAN result               Certain      other operations                         also are easy             in   LNS

arithmetic           For instance                 square root corresponds                   to dividing                  the logarithm             in




half    which        in   our representation                  means simply shifting                    it   one          bit    position     to    the


right


           0070               Thus           the multiplier 606             and   divider         608         in        FIG 6 are

implemented               as circuits that simply add                      or subtract        their         inputs which                 are twos




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complement               binary       numbers which                  in    turn       happen      to   be logarithms                  If   there    is




overflow they output a                        1   for   NAN

             0071               Implementing                 addition       and        subtraction          in   LNS that is the
addersubtractor 604                      in    FIG 6 follows               a     common         approach            used    in   the literature


on     LNS        Consider addition                     If   we have        two positive numbers                         B and C

represented             by their logarithms                   b and       c the representation                     of the   sum of B and C

is    logB+C             An approach                to computing                this   result    that   is   well        known    to those


skilled      in   the    art   is    based on           noticing      that       logB+C = logB1+CB =

logB+Iog1+CB                         =   b+Fcb where Fx=Iog1+2x Thus the present
embodiment               computes             c   b feeds          that through           F and adds the result to b using
standard          digital      techniques            known         to those           skilled    in   the    art


             0072               Much          of the published              literature          about       LNS     is   concerned           with


how     to   compute           Fx the special function for ADD along with a similar function
for    SUB        Often these two functions                          share circuitry and                    this    is   why a single

combined addersubtractor 604                                  is   used     in    the    embodiment                of    FIG 6        There are


many published ways to compute                                     these functions or approximations                             to        them

including         discussions             of      how   to   do    this    when         the values          are of low precision                   Any

such     method           or other            method may be used                         Generally speaking the more

appropriate             variations        for massively              parallel          LPHDR arithmetic                  are those that


require       the   minimal use of resources such as circuit area taking advantage                                                             of


the fact that the representation                             used     in    the       embodiment            of   FIG 6 is low precision

and     that the        arithmetic            operations           need         not    be deterministic nor return the                       most

accurate          possible          answer within             the    low precision              representation               Thus

embodiments               of the         present        invention          may use circuitry                that    does    not       compute

the best possible               answer even among                           the limited         choices available                in   a low


precision         representation


             0073               In   order to enable conditional                          operation          of selected         PEs the

present embodiment                       is   able to reset and set the MASK flag 410 based on results


of computations                     The mechanism                  for doing this          is    that the        CU 106 includes
instructions            that   cause          the   MASK 410               in   each     PE to unconditionally                   reset or set


its   flag along         with other instructions                    to perform            basic tests on values                  entering          the




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MASK 410 on data                    path        402f and             to set the flag accordingly                    Examples           of these


latter   instructions              include copying                   the sign bit or              NAN bit of the word on data                    path

402f     into   the   MASK bit 410                         Another example                   is   to set the   MASK bit 410                if   the 12


bit   value part of the word on data                                 path 402f         is   equal to binary zero                There are


many additional and                      alternative            ways       for doing          this   that are directly          analogous          to


comparison            instructions              in   traditional           processors             and which     are well understood


by those        skilled      in    the    art


           0074               It    is   worth noting that while the obvious                               method of using                 the


above      LNS    operations               is    to    do       LPHDR       arithmetic the programmer also may

consider        selected values                  to    be 12         bit   twos complement                 binary      numbers             MUL

and DIV may be used                       to    add and              subtract      such values            since that       is   precisely


their behavior          in   LNS          implementations                     The Mask               setting   instructions          can


compare these simple binary values                                         So besides doing LPHDR                        computations

this digital     embodiment                 using           LNS       can perform simple binary arithmetic                            on short


signed integers

           0075               Some embodiments                             of the present             invention     may include analog

representations              and processing methods                                Such embodiments                    may for example

represent        LPHDR values as charges                                   currents voltages frequencies                             pulse

widths pulse densities various forms of spikes or in other forms not

characteristic         of traditional                digital         implementations                  There are many such


representations              discussed                in   the literature              along with mechanisms                   for


processing        values so represented                                Such       methods            often called Analog              methods

can be used to perform                      LPHDR               arithmetic         in       the broad range of architectures                      we

have discussed               of which            SIMD           is   one example

           0076               An example                   of an analog            SIMD architecture              is     the    SCAMP

design     and        related        designs               of   Dudek         In   that design           values     have low dynamic


range being accurate roughly                                to within        1          Values are represented                   by charges

on capacitors             Those           capacitors             typically         are the gates of transistors                      Each PE

has several           memory cells                   analogous             to the       Registers shown             in   FIG 4         Addition


is    performed       by turning on pass transistors from the two operands which                                                           transfer


their charge onto an analog                            bus where             it   is   summed          by the natural           physics of




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charge and wires upon                    which      it    is   gated onto another Register to charge up                                 its




capacitor        which    then      represents                the   sum of the operands                    The     detailed


mechanism          disclosed        by Dudek              actually          produces     the negative             of the      sum but
the basic concept            is   as described                 and    is   a simple way to perform                     addition    and

subtraction        using analog representations                             and simple processing mechanisms

            0077          Variations         of the            SCAMP design have                     been    fabricated         and used

to perform        a range of low precision                          low dynamic        range computations                     related to


image processing                  These designs do                    not    perform    high         dynamic range arithmetic

nor do they include mechanisms                                for performing          multiplication         or division        of values


stored      in   Registers         However              the     Dudek        designs    suggest the general                    feasibility


of constructing          analog     SIMD machines                          The   following       describes             how    to build an


analog      SIMD machine            that performs                   LPHDR arithmetic and                    is    thus an

embodiment          of the    present        invention


            0078          One embodiment                        of the present         invention           represents         values     as


a mixture of analog               and    digital    forms This embodiment                             represents            values as low


precision normalized base 2 floating                                  point   numbers where the mantissa                           is   an


analog value and            the    exponent              is    a binary digital        value          The analog value may

be accurate to about               1      following             the approach           of   Dudek          which       is   well within


the range of reasonable                  analog processing                    techniques              The exponent may be 6

bits   long or whatever             is   needed           to provide the desired                  high      dynamic          range

            0079          To multiply values                        the    embodiment         proceeds            by analogy to

traditional      floating    point       methods               The     digital   exponents            are   summed            using a


binary      arithmetic      adder        a standard             digital      technique           The analog mantissas are

multiplied        Since they represent                    normalized             values between              approximately 12

and    1 their product may be as small as approximately 14                                                  Such       a product value


needs       to be normalized             back to the range                   12 to 1        This      is   done        in   the present


embodiment by comparing                      the analog                   mantissa to an analog representation                          of


12 using a threshold                circuit        If    the mantissa            is   below      12 then          it   is   doubled and


one    is   subtracted      from the exponent where such                               subtraction           is   simple digital

subtraction         Doubling the           mantissa              is   implemented           in   a   way that corresponds                    to


the    chosen analog representation                              For example whatever                      means are being




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used to add two analog values                          can be used              to double          the       mantissa by adding                             it




to a   copy       of itself         For example         if   the    mantissa              is   represented              as a current such

as copy        may be produced                by a current mirror or other suitable                                      mechanism and

addition         may be performed               by a current summing junction

            0080               The means            of multiplying            the original         analog mantissas                         depends

on the representation                  chosen          For example              if    mantissas             are represented                     using


charge        following         SCAMP then any known                           method from the                     literature
                                                                                                                                         may be

used to convert charge to current                              For instance                since the charge on a capacitor


determines             the voltage        on the capacitor               this   may be implemented                                as a

conversion             from voltage to current which                      is    a basic technique                       in    analog

electronics            known     to those      skilled       in   the art       In        any case           if   the    mantissas              are


represented             as currents or once the mantissas                                 are converted to currents they


may be multiplied                using for instance                the    techniques              of Gilbert                 The Gilbert

multiplier produces                 a current        representing             the     product which                     may        if
                                                                                                                                         necessary

then    be converted                back to charge           or whatever                  representation                is    used          These

are merely examples of how the needed operations                                                might be performed                              The

literature       discusses           these matters extensively                       and these              kinds of analog circuits


are known              to   those   skilled    in   the art


            0081               Adding and subtracting                    values requires                    pre normalization of the

values to the same exponent as                            is   done      in    traditional        digital          floating             point


arithmetic             The present embodiment                      does       this        by comparing              the       exponents           and

choosing the smaller one                       Then     the smaller one                    is   subtracted              from the larger


using       digital     means         The     difference          specifies          how many times the mantissa

which       corresponds             to the smaller exponent                    needs to be divided                           in   half     If   that


mantissa          is    represented         by or converted               to a current then an analog R 2R                                         style


ladder       may be used             to divide the current               in    half the         required           number               of times


with the stage of the ladder                    specified          by the difference                   of exponents                  calculated


as above               The    resulting     scaled down current                      is   added        to   or subtracted from                         if




this   is   an   LPHDR subtraction                   operation        the current               corresponding                     to the


mantissa associated                   with the       larger exponent                 to yield the           output mantissa                      The

output exponent associated                          with the output            mantissa           is   the larger                 exponent




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Post normalization                     may be needed              at this point         If   the output    mantissa       is    greater

than   1 then    it   needs             to be divided            in   half   and the output exponent needs to be

incremented            If   it    is   less than            12 then     it   needs     to    be doubled enough times to

exceed 12 and the output exponent must be decremented                                                  correspondingly

which    may be performed                        by a series of threshold               circuits    doubler circuits and


associated      decrementer                circuits            These increments and decrements                          of the


binary digital     exponent and corresponding                                  doublings        and halvings       of the analog


mantissa current are straightforward                                  operations       well    known     to those       skilled     in



the art


         0082                 The present embodiment                           represents       the exponent as a              digital



binary   number             Alternate            embodiments                 may represent       the exponent           as an


analog value           However              it    is   important that the exponent                 be represented              in



storage and computation                          in   such a manner that neither noise nor other errors


cause a change               in    the value           it
                                                            represents         Such changes         in   the exponent could


introduce factors of two or in some embodiments                                              larger changes        in   the values


of the stored      numbers                To maintain accuracy                     of the     exponents an embodiment

may quantize          the exponent to relatively few levels for instance                                        16 values plus a


sign bit   During processing slight variations                                   in   the analog representation                of the


exponent      may then be removed                             by circuitry that restores values to the 16

standard      quantization               levels             To get sufficient dynamic             range    in   such an


embodiment            the floating               point       numbers may be processed as base 4 numbers

rather than the usual                   base 2 numbers                  This    means for instance that normalized

mantissas are          in        the range            14 to 1 The methods                    discussed    above for addition

subtraction and               multiplication                apply as described with slight and straightforward

variations


         0083                    The analog and mixed                     signal      embodiments         discussed       above

are merely examples and do not constitute a                                      limitation      of the present         invention


The published          literature          on neuromorphic analog and mixed                                signal techniques


provides a wealth of methods that enable                                      LPHDR storage and             processing           to be


implemented            Such            storage         and processing            may introduce           noise as well as


fabrication    errors into the behavior                          of   machines performing              LPHDR arithmetic



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The     results   we present below on software                    applications         running using fp+noise

arithmetic show that despite these very undigital qualities a machine                                                    built   in



this   way is surprisingly useful

          0084          Evidence that          LPHDR arithmetic            is    useful   in   several         important


practical    computing          applications    will   now be provided                The evidence             is




presented     for a broad variety of embodiments                     of the present            invention thereby

showing that the usefulness               does not depend much on the detailed

implementation

          0085          For the goal of showing                 usefulness           we choose       a very general


embodiment         of an   LPHDR machine                Our model of the machine                     is   that      it
                                                                                                                          provides

at least the following           capabilities      1    is   massively     parallel       2 provides LPHDR
arithmetic    possibly with           noise    3   provides        a small amount of memory local to


each     arithmetic    unit      4    provides the arithmeticmemory units                       in   a two

dimensional        physical       layout with only local connections                   between       units rather


than some more powerful flexible or sophisticated                               connection       mechanism and

5      provides only limited bandwidth                 between      the   machine and the host machine

Note that this model            is   merely an example which              is    used for the purpose                      of


demonstrating         the utility     of various   embodiments            of the present             invention and

does     not constitute     a     limitation   of the present        invention         This model includes


among      others implementations               that are digital      or analog or mixed have zero or


more noise have architectures                  which are          FPGAlike or SIMDlike                    or MIMDlike

or otherwise       meet the assumptions                of the     model More general                 architectures

such     as shared     memory designs GPUlike designs                            or other sophisticated


designs     subsume        this      models capabilities and so LPHDR                     arithmetic           in        those


architectures       also   is   useful    While    we are thus showing                 that    LPHDR arithmetic                       is




useful for a broad range of designs                    of which     SIMD        is   only an instance for


purpose     of discussion            below we call each           unit which pairs memory with


arithmetic a Processing                Element or      PE
          0086          Several applications             are discussed           below        For each the

discussion        shows    1      that the results      are useful     when          computation          is   performed

in   possibly noisy       LPHDR arithmetic and                2    that the computation               can be




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physically    laid           out   in   two dimensions with only                        local flow of data                 between units

only limited       memory within each                              unit and only limited data flow tofrom the host


machine       in   such a           way that the computation                           makes            efficient    use of the

machines resources area time power                                                 The first requirement is referred                     to as


Accuracy and the second                                     requirement Efficiency                      Applications         that     meet both

requirements running                         in   this model          will   function    well       on many kinds of LPHDR

machines and thus those machines are a broadly                                                 useful        invention


        0087                   Applications                  are tested       using two embodiments                         for the


machines arithmetic                          One uses accurate                     floating   point arithmetic               but multiplies


the result of each                 arithmetic               operation        by a uniformly chosen random number

between 99 and                     101            In    the following        discussion            this    embodiment           is   denoted


fp+noise           It
                         may represent                       the results produced             by an analog embodiment                       of


the machine


        0088                   A second embodiment                            uses logarithmic               arithmetic        with a value


representation               as shown                  in   FIG 5 The arithmetic                   is   repeatable that is not

noisy but because of the short fraction size it                                        produces errors of up to


approximately                12         in    each operation                  In   the following           discussion          this



embodiment              is   denoted              Ins         It
                                                                   may represent         the results produced                   by a


particular    digital         embodiment                     of the   machine

        0089                   To demonstrate                      usefulness         of embodiments                     of the invention      we

shall discuss           three computational                         tasks that are enabled by embodiments                                of the


invention    and which                  in    turn enable            a variety of practical applications                         Two of the

tasks are related to finding nearest neighbors                                         and the other                is   related to


processing         visual          information                 We shall describe the tasks note their practical

application and then demonstrate                                     that    each task        is    solvable         using the general

model described                above and thus solvable using embodiments                                                 of the present


invention


                                                  Application         1 Finding Nearest Neighbors

        0090                   Given a large set of vectors                            called           Examples and a given

vector called Test the nearest neighbor                                        problem        NN             is   to find the        Example

which   is   closest to Test                      where       the distance           metric    is       the square of the Euclidean




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distance    sum of squares of distances                                          between           respective          components

           0091              NN         is    a widely           useful computation                        One use is for data

compression where                       it   is   called         vector           quantization               In this       application         we have

a set of relatively          long            vectors        in    a        code book these                   are the Examples                   and

associated        short      code words for instance                                   the       index of the vector               in   the   code

book       We move through a sequence of vectors to be compressed and for each
such    vector        Test find the                  nearest vector                    in    the   code      book and output                  the


corresponding           code word                    This reduces the sequence                                   of vectors        to the     shorter


sequence         of   code words                    Because                the    code words do not completely                             specify    the


original   sequence           of vectors                this       is      a lossy form            of data        compression                 Among

other applications                it
                                       may be used in speech                                 compression            and      in   the    MPEG

standards


           0092              Another application                            of    NN    would be            in   determining            whether


snippets    of video occur                    in    a large video                 database               Here we might              abstract


frames of video from the snippet                                  into          feature       vectors       using known             methods such

as color histograms scale invariant feature                                               extraction etc               The Examples would

be analogous           feature               vectors extracted from the video database                                             We would like
to   know whether any vector from the snippet was close to any vector from the

database which               NN         can help us decide


           00931             In
                                    many applications                            of nearest         neighbor           we would prefer to

find   the true       nearest neighbor                      but       it   is    acceptable         if    we sometimes find another

neighbor     that      is   only        slightly      farther              away or          if   we almost always find the true

nearest     neighbor              Thus            an approximate                    solution        to the nearest                neighbor


problem     is   useful especially                     if   it   can be computed                         especially        quickly or at low


power      or with      some other advantage compared                                              to an exact solution


           0094              We shall now show that approximate                                              nearest neighbor                  is




computable            using embodiments                           of the present                  invention       in   a   way that meets the

criteria   of Accuracy                 and        Efficiency


           0095              Algorithm                The         following            describes           an algorithm            which       may be

performed        by machines                      implemented                   according          to    embodiments              of the      present

invention        such as by executing                            software           including            instructions        for performing           the




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algorithm        The inputs          to the algorithm are a set of Examples                   and a Test vector

The algorithm seeks to find the nearest or almost nearest Example                                            to the        Test

         0096            In   the simplest version of the algorithm                        the number of


Examples may be no larger than the number of PEs and each vector must be

short    enough    to fit     within a single         PEs memory The Examples                           are placed into


the memories associated                    with the   PEs so that one Example                 is   placed         in   each

PE      Given a Test          the Test       is   passed through      all   the   PEs in turn             Accompanying

the Test as it passes through the                     PEs is the distance         from the Test to the nearest


Example found so far along with                       information    that indicates         what PE and thus

what Example          yielded         that nearest      Example found so far                Each         PE computes

the distance      between the Test and the Example stored                            in    that    PEs memory and

then passes along the Test together with either the distance                                  and       indicator       that


was passed        into this     PE if       the distance     computed by this PE exceeded the

distance       passed    into the      PE or the distance this PE computed along with
information      indicating         this   PEs Example        is   the nearest      so far if the distance

computed by this PE is less than the distance                         passed       into the        PE Thus the
algorithm is doing a simple minimization operation                           as the Test           is   passed through

the set of PEs          When the Test and associated                   information          leave the last PE the


output    is   a representation            of which    PE and Example was closest                         to the       Test

along with the distance               between       that   Example and the Test

         0097            In   a more efficient          variant of this algorithm            the Test        is    first



passed along        for example              the top row then every column passes the Test and


associated       information         downward          effectively   doing a search           in    parallel       with other


columns and once               the    information      reaches the bottom            it
                                                                                          passes across the

bottom row computing                 a minimum distance            Example        of all   the columns


processed        so far as it passes              across the row      This    means that the time required

to process      the Test       is   proportional       to the greater of the              number        of PEs in a         row

or column


         0098           An enhancement                 of this algorithm      proceeds            as above but


computes and passes along                     information     indicating     both      the nearest and the


second nearest Example found so far When                             this    information          exits the array of




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PEs the digital               processor that              is   hosting the         PE array computes                in high

precision the distance                      between            the Test      and    the two       Examples          indicated      by the

PE array and              the    nearer of the two                is      output as the         likely   nearest neighbor            to the


Test

             0099              Accuracy            We expressed the arithmetic                           performed         by the

enhanced           algorithm          described           above           as code    in   the   C programming               language

That code          computes both nearest neighbors which                                        are discussed         here along

with weighted            scores which are discussed                               below

             0100              The C code performs the same                                set of arithmetic         operations          in




the    same order using the same methods                                     of performing          arithmetic       as an actual


implementation                of the       present    invention             such     as one implemented                in    hardware

It   thus yields the same results as the enhanced                                         algorithm       would yield when


running on an implementation                          of the         present        invention            How the algorithm               is




organized          to run efficiently             on such         an implementation                is    discussed         below    in   the


section       on Efficiency


             0101               In   particular      when computing                   the distance              between     the Test


and each           Example            the   code     uses        Kahans method discussed                           below     to perform


the possibly            long    summation            required             to form   the    sum of the squares               of the


distances          between vector components                               of the Test      and Example

             0102              The C code contains                        several    implementations               for arithmetic             as

discussed          above             When     compiled with                define fp the arithmetic                   is   done using

IEEE standard             floating          point    If    a    command            line   argument         is   passed      in   to enable


noisy arithmetic then random noise                                   is   added to        the   result of every calculation


This    is   the   fp+noise form                  of arithmetic              When         compiled without           Vdefine fp the


arithmetic         is   done     using low precision                      logarithmic      arithmetic           with a 6   bit   base 2

fraction       This      is    the    Ins form of arithmetic

             0103              When         the   code was run               it
                                                                                  produced       traces         showing the results

of the       computations             it
                                           performed            These traces shown below show that                                 with


certain       command            line      arguments           the    enhanced            algorithm       yielded    certain      results


for   LPHDR nearest neighbor                         calculations                 These     results      provide details showing

the usefulness            of this          approach            We shall discuss the results briefly here



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           0104           The    first      results are for fp+noise               Ten     distinct    runs were


performed         Each     run   generated            one       million random     Example          vectors    of length


five   where each         component            of   each vector was drawn from                     N01the
Gaussian        normal distribution                 with   mean zero and          standard         deviation      1     Each

run then generated          one hundred Test                     vectors   of length five        where each

component         of each    vector         also    was drawn from            N01        For each          Test    the


nearest     neighbor was computed                     both       according    to the   enhanced          algorithm       above

and according        to the      standard       nearest          neighbor     method using           high   precision


floating    point arithmetic             A count was             kept of the number of times the enhanced


algorithm       yielded   the    same result as the standard                    floating    point     method           The

results    were as follows



           Yo   aout 5 10 1000000                   100    1


           Representation          is    Floating      Point with noise

           Run 1 On 100 tests 1001000             081 mean score error matches and
           Run 2 On 100 tests 1001000 matches and 084 mean score error
           Run 3 On 100 tests 1001000 matches and 098 mean score error
           Run 4 On 100 tests 1001000 matches and 081 mean score error
           Run 5 On 100 tests 1001000 matches and 094 mean score error
           Run 6 On 100 tests 1001000 matches and 082 mean score error
           Run 7 On 100 tests 1001000 matches and 078 mean score error
           Run 8 On 100 tests 1001000 matches and 086 mean score error
           Run 9 On 100 tests 1001000 matches and 085 mean score error
           Run 10 On 100 tests 99990 matches and 086 mean score error

           Average percentage                of time       LPHDR with final DP correction finds
           nearest example              =   9990
           Average score          error between                LPHDR and DP = 085

           0105           The    mean score error values are considered                               below       in   the


discussion       of weighted        scores           The matches             information      is   relevant      here

           0106           Of the     ten     runs     only       one had any test        of the 100 tests


performed which            yielded          a nearest          neighbor    different   from what the usual high


precision       method yielded               Thus     the       average    percentage       of   matches between

the    enhanced     algorithm            running with fp+noise                arithmetic     and     the    usual method


was    999
           0107           A similar computation                   was then performed             using     Ins     arithmetic


In this    case    the results       were



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        °A   aout 5 10 1000000             100 0

        Representation        is   LNS    without           noise
        Run 1 On 100 tests 1001000             015 mean score error
                                                                  matches and
        Run 2 On 100 tests 1001000 matches and 007 mean score error
        Run 3 On 100 tests 1001000 matches and 008 mean score error
        Run 4 On 100 tests 1001000 matches and 009 mean score error
        Run 5 On 100 tests 1001000 matches and 011 mean score error
        Run 6 On 100 tests 1001000 matches and 016 mean score error
        Run 7 On 100 tests 1001000 matches and 007 mean score error
        Run 8 On 100 tests 1001000 matches and 013 mean score error
        Run 9 On 100 tests 99990 matches and 017 mean score error
        Run 10 On 100 tests 98980 matches and 016 mean score error
        Average percentage             of time        LPHDR with final DP correction finds
        nearest example            =   9970
        Average score         error between            LPHDR and DP = 012

        0108         The average percentage                       of   matches was       997       slightly    worse

than for fp+noise


        0109         The accuracy shown by the enhanced                              nearest neighbor


algorithm     using two forms of LPHDR arithmetic                         is   surprising      To perform many

calculations    sequentially       with   1°0       error and       yet produce      a final   result with less


than   1°0   error may   seem counter intuitive                     Nonetheless         the   LPHDR arithmetic

proves effective      and   the accuracy             shown        is   high    enough   to be useful     in




applications    for which     approximate             nearest neighbor            calculations    are useful




                                                              5
        0110         As an extreme case                     a variant of fp+noise         was tested      in   which


the noise varied     uniformly from         +10 to                       Thus each       arithmetic   operation

produced      a result that   was between              10 too large and 5 too small The
enhanced nearest neighbor algorithm as described                                 above    was performed where

each   run   generated      100000 Example vectors                        The    surprising    results   below

show that even      with this extreme               level   of imprecise         noisy and      non zero mean

LPHDR arithmetic useful results can be achieved


Run 1 On 100 tests          97970 matches
Run 2 On 100 tests 1001000                           matches
Run 3 On 100 tests 1001000                           matches
Run    4 On 100 tests 98980                     matches
Run 5 On 100 tests 98980                        matches
Run 6 On 100 tests 99990                        matches




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Run 7 On 100 tests 99990                                  matches
Run 8 On 100 tests 99990                                  matches
Run 9 On 100 tests 99990                                  matches
Run 10 On 100 tests                     99990 matches
Average percentage                    of time       LPHDR with final DP correction finds nearest
example         =   9880

             0111             Efficiency            In   contrast to the surprising                   Accuracy                       results           it   is




clear to those           having       ordinary skill             in    the    art   that the calculations                      of the        enhanced

nearest         neighbor algorithm                 can be performed                   efficiently    in        the computing                          model

presented where the arithmeticmemory units are connected                                                              in   a two


dimensional           physical        layout using only local                       communication                    between                PEs

However          this    does        not address          the         matter of keeping the machine                                   busy doing

useful       work     using only low bandwidth                             to the host    machine

             0112             When         computing           the nearest            neighbor       to a single                     Test         the       Test

flows        across    all   the     PEs     in   the array                As discussed      above             if    the array is an                        MxM

grid    it   takes    at     least    0M steps            for the           Test to pass through                     the       machine and

return       results to the host                  During      this         time the machine          performs                   0MxM
nearest         neighbor distance                 computations                   but since   the    machine                    is    capable of


performing          0MxM calculations at each step a factor of 0M                                                         is    lost


             0113             This speedup compared                               to a serial   machine                   of a factor of                    0M
is   significant       and useful             However             the       efficiency    can be even                 higher                If




sufficiently        many Test vectors                    say     0M              or more are to be processed                                 then they


can be streamed                into    the    machine and made to                        flow through                in    a pipelined


fashion         The time to process           0M Tests remains 0M      same as                        the                                  for a single


Test      but    now     the        machine performs 0M x 0MxM distance computations and

thus within a constant factor the                         full    computing            capacity      of the           machine                    is   used

             0114             Thus         the    machine             is   especially     efficient       if    it   is    processing                   at


least as        many Test vectors                  as the square root of the number of PEs                                                 There are


applications          that    fit   well   into this      form such as pattern                     recognition                      or compression


of    many independent                 Tests       eg blocks                  of an   image        parts of a file                        price


histories       of independent               stocks as well as the problem                           of finding                     the    nearest


neighbor         to every           Example        in   the   set of         Examples        This     is       in    contrast               to the




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general view             among those having                ordinary skill        in    the art as discussed                      above

that   machines           with very      many arithmetic             processing              elements        on a single chip or


similar are not            very useful

                                      Application           2 Distance Weighted Scoring

            0115            A task related           to Nearest          Neighbor            is   Distance Weighted


Scoring        In   this   task each       Example has an associated                               Score      This        is   a    number

that   in   some way characterizes                   the     Example            For instance            if   the    Examples are

abstractions         of the history        of prices of a given stock                        the Scores         might be

historical     probabilities        of whether            the price      is   about to increase or decrease

Given a Test vector the task                    is   to form a weighted                 sum of the Scores                      of all   the


Examples where                  the weights     are a diminishing                function           of the distance                from the


Test to the respective              Examples               For example               this   weighted         score might be

taken       as a prediction        of the future           price of the stock               whose      history       is   represented


by the Test             This use of embodiments                   of the invention                 might help support for

instance          high    speed    trading    of stocks           as is performed                  by certain quantitative

hedge funds despite                the general             view by those having                    ordinary skill         in    the     art



that low precision              computation          is   not   of use    in    financial          applications


            0116            The C code described                   above        computes weighted scores along

with nearest         neighbors           The scores assigned                    to    Examples         in    this   computation

are random numbers drawn                     uniformly from               the    range            01 The weight                    for each


Example        in   this   computation        is     defined to be the unnormalized weight for the


Example        divided      by the sum of the unnormalized weights for all                                         Examples

where       the   unnormalized weight                     for each       Example        is    defined to be the reciprocal


of the      sum of one plus the squared                      distance         from the Example to the Test vector

As discussed             above     the   code      performs          a   number         of   runs each             producing            many

Examples and Tests and compares                                 results of traditional               floating      point


computations             with   results calculated              using fp+noise              and     Ins arithmetic


            0117            Looking       again at the trace results of running the simulation

above        we see that for fp+noise                 the       LPHDR weighted                    scores on average                 were

within      85      of the correct        value and             never were as much as 1°0 different                                     For Ins


arithmetic        the    errors were even             smaller averaging just                       12 error


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           0118        These              results are surprising               given that computing                          an overall


weighted score involves                    summing            the individual          weighted scores associated                             with


each     Example      Since each                 run    was processing                1000000               Examples                this   means

that the     sums were over one                   million small positive                   values           The naive               method    of


summing one         million small values                      with errors of about                1         in   each        addition      should


yield results that approximate                         noise     However          the       code           performs          its   sums using

a long     known    method invented by Kahan                            Kahan              William          January           1965
Further remarks on reducing truncation                                errors Communications                              of the        ACM 8

1 40         The method makes                     it   feasible      to perform            long       sums such               as are done

for Distance       Weighted Scores                     or as might be used                  in    computational                    finance

when computing           prices of derivative                   securities       using Monte Carlo methods or for


performing      deconvolution               in   image processing algorithms as will be discussed

next


           0119        The           Efficiency         of this algorithm             is   similar to that of                 NN as
discussed      earlier        If
                                   many Test vectors                  are processed                   at   once the machine

performs      especially           efficiently


                                   Application           3 Removing             motion blur in images


           0120          In    order to gather sufficient                     light    to form             an image camera

shutters     are often    left           open for long enough             that        camera motion can cause

blurring      This can happen as a result of camera shake                                             in   inexpensive              consumer

cameras as well as with very expensive                                but fast        moving cameras mounted on

satellites    or aircraft           If   the motion path             of the    camera            is    known          or can         be


computed        then the blur can be substantially                            removed using                      various           deblurring


algorithms         One such              algorithm       is   the Richardson               Lucy method                  RL            and we

show here that embodiments                         of the      present        invention           can run that algorithm                     and

produce      useful results                Following the discussion                   format above                     we discuss

criteria   of Accuracy             and     Efficiency


           0121        Algorithm                 The Richardson Lucy                       algorithm             is   well    known        and

widely available         Assume that an image has been                                     blurred using a                   known         kernel

In   particular    assume            that the kernel            is   a straight       line      and        that the      image has

been     oriented    so that the blur has occurred                        purely           in   a horizontal            direction




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Consider the particular                       kernel      for which the Jth pixel in                   each row of the blurred

image      is        the uniformly weighted                  mean of pixels J through                       J+31     in   the original


unblurred             image

           0122                    Accuracy             We implemented               in   the C programming language                              a


straightforward               version of the              RL method        that      uses    LPHDR arithmetic                         The

program reads a test image                               blurs it   using the kernel discussed                       above            then

deblurs         it
                     using either fp+noise                  or Ins arithmetic              The RL algorithm computes

sums such as when convolving                                 the kernel with the current approximation                                   of the


deblurred             image         Our implementation                computes            these        sums using the Kahan

method discussed                         earlier    FIG 7 shows the test image in original form                                         It   is   a

satellite       picture of a building                   used during      Barack           Obamas inauguration FIG 8

shows      the         image extremely blurred by the kernel                                It   is   difficult     to    see any

particular           objects        in this    image         FIG 9 shows the result of deblurring                                using

standard floating                  point arithmetic             FIG 10 shows the result of deblurring                                   using


fp+noise             arithmetic and            FIG11 shows the result                      of deblurring            using Ins

arithmetic             In   all    these cases the image                is   sufficiently             restored that         it   is   possible


to recognize             buildings streets parking lots and                               cars

           0123                    In    addition       to displaying    the images herein for judgement using


the   human eye we computed                               a numerical        measure             of deblurring            performance

We computed the mean difference over                                     all       pixels in the        image between each

original     pixel value                 a gray scale value from 0 to 255 and the corresponding
value   in      the image reconstructed                       by the    RL method Those                        numerical              measures

are shown              below        in   Table      1

                              Imaae type                                                   Mean         s   ixel   error

                              Blurred                                                      320
                              RL using standard                 floating     point         130
                              RL using fp+noise                                            138
                              RL using Ins                                                 148
                                                                     Table     1


           0124                    These      results together          with the subjective                    but important


judgements made by the human eye show that                                                LPHDR arithmetic                  provides a

substantial            and        useful    degree        of deblurring            compared           to standard          floating      point


arithmetic             Further            in this   example we chose an extreme degree                                     of blurring to




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                                                                                                                                              SINGULAR 00001713
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better    convey the concept and                 visual impact of the deblurring               using      LPHDR

arithmetic     On more gentle and                 typical   blur kernels        the resulting         deblurred


images are much closer             to the originals than in this case                   as can be seen by


shrinking    the kernel length and running the                     RL algorithm        with    LPHDR arithmetic

on those more typical cases

          0125          Efficiency     It    is   clear to those with ordinary skill                 in   the art that

Richardson Lucy using a local kernel performs only                            local     computational


operations      An image to be deblurred can                       be loaded into the          PE array storing

one or more pixels per PE the deconvolution                          operation         of RL    can then be

iterated    dozens or hundreds         of times and               the deblurred        image can be read back

to the host processor            As long as sufficient             iterations    are performed this makes

efficient   use of the machine

          0126          An extreme form of image deblurring                       is   the    Iterative



Reconstruction       method used in computational                     tomography              Reconstructing            3D

volumes from 2D projections                 is   an extremely computational                  task     The method

discussed     above generalizes naturally                   to Iterative    Reconstruction            and makes

efficient   use of the machine




          0127          Among      the advantages             of   embodiments          of the invention             are one


or more of the following


          0128          PEs implemented              according       to certain        embodiments           of the


present     invention     may be relatively          small for PEs that can              do arithmetic               This


means that there are many PEs per unit of resource                              eg       transistor        area

volume       which   in   turn   means that there            is   a large amount         of arithmetic


computational        power per unit of resource                    This enables        larger problems to              be

solved with a given amount            of resource            than does traditional             computer designs

For instance a       digital     embodiment          of the present        invention         built   as a large silicon


chip fabricated      with current     state of the art technology                 might perform tens of

thousand     of arithmetic       operations         per cycle as opposed to hundreds                        in   a

conventional     GPU or a handful in a conventional                        multicore     CPU These ratios
reflect   an architectural       advantage          of   embodiments        of the present            invention that




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should persist as fabrication                         technology       continues        to   improve even as we reach

nanotechnology                   or other implementations                   for digital   and analog computing

             0129                Doing     arithmetic          with few resources            generally           means and              in   the


embodiments                 shown        specifically      means that the arithmetic                      is   done using low

power             As a result        a    machine implemented                  in   accordance            with   embodiments                 of


the present              invention        can have       extremely high             performance           with        reasonable


power for instance                   in   the    tens of watts or low power for instance a fraction of a


watt with reasonably                      high   performance             This       means that such embodiments

may be suitable for the full                      range of computing from supercomputers through

desktops down                 to mobile          computing            Similarly and          since cost          is   generally


associated               with the    amount           of available     resources embodiments                          of the      present

invention          may provide            a relatively         high   amount        of computing           power per unit of

cost    compared             to conventional             computing          devices


             0130                The SIMD architecture                 is   rather old       and     is   frequently         discarded


as an approach                to    computer          design by those having                 ordinary skill           in   the    art


However             if   the processing           elements        of a   SIMD machine                can be       made

particularly             small while       retaining       important        functionality          such        as general

arithmetic          ability      the architecture           can be useful             The embodiments                      presented

herein        have        precisely       those qualities


             0131                The discovery            that massive         amounts         of    LPHDR            arithmetic        is




useful as a fairly               general computing               framework as opposed                      to   the    common           belief


that    it   is   not     useful can be an advantage                     in   any massively               or    non massively

parallel          machine design            or non parallel design                   not just   in   SIMD embodiments                             It




could        be used        in   FPGAs FPAAs GPUSIMT                            machines MIMD machines and                                    in




any kind           of    machine      that uses         compact        arithmetic       processing             elements to


perform           large     amounts        of computation             using a small          amount        of resources             like


transistors or             volume

             0132                Another advantage               of embodiments              of the present                invention         is




that they are not                merely useful for performing                   computations              efficiently        in   general

but    that they can             be used         to   tackle    a variety     of real world          problems which                are


typically         assumed          to require high precision                  computing         elements even though




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                                                                                                                                        SINGULAR 00001715
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such    embodiments           include only    or predominantly               low precision        computing

elements       Although several examples                of such       real   world problems have been

presented     herein and although             we have     also had       success         implementing          non

bonded     force field    computations         for molecular          dynamics        simulation      and other

tasks these are merely examples                 and do not        constitute          an exhaustive       set of the


real   world problems         that      embodiments     of the present             invention     may be used to

solve


          0133           The embodiments          disclosed       above are merely examples and do

not    constitute   limitations of the present          invention            Rather embodiments             of the


present     invention    may be implemented             in    a variety of other          ways     such as the


following

          0134           For example embodiments                 of the present              invention   may

represent     values     in
                              any of a variety    of   ways      such as by using digital or analog


representations such            as fixed point logarithmic or floating point representations


voltages currents charges                  pulse width pulse density frequency                      probability


spikes timing or combinations                 thereof     These        underlying       representations         may

be used     individually      or   in   combination    to represent          the    LPHDR values           LPHDR

arithmetic    circuits   may be implemented              in   any of a variety          of ways     such    as by


using various       digital   methods which may be               parallel      or serial pipelined         or   not or

analog methods or combinations                 thereof        Arithmetic       elements         may be connected

using various connection                architectures    such as nearest              4 nearest 8 hops of
varying    degree and         architectures     which     may or may not be rectangular                    or grid


like    Any method may be used for communication                             among      arithmetic       elements

such    as parallel or serial digital or analog                or mixed       mode communication

Arithmetic    elements        may operate       synchronously           or asynchronously                and may

operate globally simultaneously or not                   Arithmetic          elements        may be

implemented         for example on a single             physical       device such as a silicon chip                  or


spread across multiple devices and                an embodiment               built   from multiple devices


may have      its   arithmetic     elements     connected        in   a variety       of ways      including    for


example being connected                  as a grid torus hypercube                 tree or other         method

Arithmetic    elements        may be connected          to    a host    machine         if
                                                                                              any in a variety     of




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                                                                                                                  SINGULAR 00001716
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ways     depending        on the cost and           bandwidth          and other requirements                of a


particular    embodiment            For example there              may be many host machines

connected      to the collection        of arithmetic        elements

         0135           Although       certain      embodiments              of the present        invention are


described      as being       implemented          as a    SIMD architecture              this   is   merely an

example and does           not constitute          a limitation        of the present       invention         For


example embodiments                 of the present         invention         may be implemented               as


reconfigurable        architectures          such       as but not limited to programmable                    logic


devices      field   programmable           analog arrays or field              programmable               gate array

architectures such            as a design      in   which       existing      multiplier blocks of an              FPGA are

replaced with or supplemented                  by LPHDR           arithmetic        elements          of any of the kinds


disclosed     herein or for example                in   which    LPHDR elements              are included           in   a   new

or existing    reconfigurable         device design              As another example embodiments                              of


the present      invention      may be implemented                 as a      CPU or SIMTstyle architecture

which    incorporates         LPHDR arithmetic             elements of any of the kinds disclosed

herein    For example              LPHDR elements            could          supplement      or replace       traditional



arithmetic     elements       in   current    or   new     graphics         processing      unit   designs          As yet

another example embodiments                        of the present           invention    may be implemented                   as

a   MIMDstyle        architecture      which       incorporates             LPHDR   arithmetic         elements          of any


of the   kinds disclosed           herein     For example              LPHDR arithmetic               elements      could


supplement       or replace traditional             arithmetic         elements     in   current      or   new MIMD

computing       system designs           As yet another example embodiments                                 of the


present   invention       may be implemented                as any kind of machine including a


massively      parallel   machine which                 uses compact arithmetic              processing         elements

to provide large       amounts        of arithmetic        computing           capability    using a small amount

of resources         for example transistors or area or volume                            compared          with


traditional    architectures


         01361          Although       certain      embodiments              of the present        invention are


described      herein as executing            software          this   is   merely an example and              does          not


constitute     a limitation     of the present           invention          Alternatively     for example


embodiments          of the   present       invention      may be implemented                using microcode                 or a




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hardware       sequencer        or state    machine       or other controller           to control        LPHDR

arithmetic     elements        of    any of the   kinds   disclosed       herein        Alternatively           for


example embodiments                   of the present      invention      may be implemented                 using

hardwired burned or otherwise                     preprogrammed            controllers       to    control      LPHDR

arithmetic     elements        of    any of the   kinds   disclosed       herein


            0137         Although       certain      embodiments         of the present           invention are


described      herein as being          implemented        using custom           silicon    as the hardware

this   is   merely an example           and does      not constitute       a limitation          of the   present

invention       Alternatively         for example       embodiments          of the      present        invention      may

be implemented           using       FPGA or other reconfigurable                chips as the underlying

hardware        in   which     the   FPGAs or other reconfigurable                 chips are configured               to


perform the          LPHDR operations          disclosed        herein     As another example

embodiments           of the    present    invention      may be implemented                using any


programmable           conventional        digital   or analog computing            architecture           including

those which          use high precision computing               elements         including        those which         use

other kinds      of   nonLPHDR           hardware      to perform        LPHDR       arithmetic           and    including


those which          are massively parallel which               has been         programmed             with software       to


perform the          LPHDR operations          disclosed        herein     For example embodiments                         of


the present      invention       may be implemented              using a software           emulator of the

functions      disclosed       herein


            0138         As yet another example embodiments                         of the        present invention


may be implemented               using    3D fabrication        technologies whether based on                         silicon



chips or otherwise             Some example embodiments                    are those        in   which     a    memory

chip   has been        bonded onto a processor              or other device         chip    or     in   which    several


memory andor            processor       or other device         chips have        been bonded             to each     other

in   a stack     3D embodiments            of the present        invention        are very useful as they               may

be denser than          2D embodiments and may enable 3D communication                                      of


information      between        the processing         units which        enables       more algorithms to              run


efficiently    on those embodiments               compared        to   2D embodiments

            0139         Although       certain      embodiments         of the present           invention are


described      herein as being          implemented        using       silicon   chip   fabrication        technology




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this   is   merely an example and does not constitute                     a   limitation   of the present


invention          Alternatively for example             embodiments          of the present    invention        may

be implemented              using technologies       that   may enable other sorts of traditional

digital     and analog computing             processors      or other devices         Examples      of such


technologies            include    various nanomechanical              and nanoelectronic      technologies


chemistry based technologies                   such as for DNA computing nanowire                   and

nanotube based technologies                    optical   technologies mechanical             technologies


biological        technologies and other technologies                   whether based on transistors or


not that are capable of implementing                     LPHDR architectures          of the kinds disclosed


herein


             0140           Certain   embodiments         of the present       invention     have   been

described          as massively parallel embodiments                     Although    certain   embodiments

of the present           invention    may include thousands              millions or more arithmetic


units embodiments                 of the present   invention      may include any number of

arithmetic         units   as few as one         For example even             an embodiment         which


includes         only a single      LPHDR unit may be used within a serial processing                          unit or


other device to provide a significant                amount       of   LPHDR processing         power      in    a


small inexpensive                processor   or other device


             0141           For certain embodiments              of the present     invention even        if




implemented             using only digital techniques the arithmetic                operations      may not

yield deterministic              repeatable or the most accurate possible results within the

chosen low precision representation                      For instance on certain specific            input


values an          arithmetic      operation    may produce a result which is not the nearest
value       in   the chosen representation          to the true arithmetic         result


             0142           The degree       of precision    of a   low precision          high dynamic         range

arithmetic         element       may vary from implementation             to implementation          For


example           in   certain   embodiments a       LPHDR arithmetic            element produces              results


which include fractions that is values greater than zero and less than one                                       For


example           in   certain   embodiments a       LPHDR arithmetic            element produces              results


which are sometimes or all of the time no closer than                            005 to the correct result
that is the absolute              value of the difference         between the produced          result    and the




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correct      result      is   no more than one twentieth of one percent of the absolute                                        value


of the      correct      result           As another example                 a   LPHDR arithmetic            element       may

produce       results which                are sometimes or all of the time no closer than                              01Yo     to


the correct         result        As another example                    a   LPHDR arithmetic             element   may

produce       results which                are sometimes or al of the time no closer than                             02         to


the correct         result        As yet another example                     a   LPHDR arithmetic             element      may

produce       results which                are sometimes or all of the time no closer than                              05       to


the correct         result       As yet further examples                     a   LPHDR        arithmetic     element       may

produce       results which                are sometimes or all of the time no closer than                              1`0    or


2 5    or           or    10          or   20 to the correct result
            0143                Besides having                various   possible           degrees     of precision


implementations                 may vary in the dynamic                     range of the space of values they

process            For example              in   certain      embodiments             a    LPHDR arithmetic        element


processes          values        in   a    space which          may range approximately from one millionth

to    one   million           As another example                 in   certain     embodiments            a   LPHDR      arithmetic


element processes                     values      in   a   space which          may range approximately from one

billionth     to   one        billion      As yet another example                     in   certain   embodiments           a


LPHDR arithmetic                  element         processes values               in   a    space which       may range

approximately from one sixty five thousandth                                     to sixty five       thousand      As yet

further      examples            in   certain      embodiments              a    LPHDR        arithmetic     element


processes          values        in   a    space which          may range from any specific                   value between


zero and one sixty five thousandth                              up to any specific value greater                than    sixty five


thousand            As yet further examples other embodiments                                     may process        values      in




spaces       with    dynamic ranges                    that   may combine and may fall between                       the   prior


examples           for example             ranging from approximately one billionth to ten                            million         In



all   of these      example embodiments                        of the present              invention as well as in other

embodiments               the     values that we are discussing                        may be signed          so that the

above       descriptions           characterize             the absolute         values       of the   numbers being

discussed

            0144                The frequency               with which       LPHDR          arithmetic    elements      may yield

only approximations                    to correct          results   may vary from implementation                  to




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implementation             For example consider an embodiment                              in   which          LPHDR

arithmetic    elements           can perform one or more operations                         perhaps including                      for


example       trigonometric functions                   and for each operation the                   LPHDR elements

each accept a set of inputs drawn from a range of valid values and                                                  for each


specific    set of input values               the   LPHDR elements              each     produce one or more


output values        for example simultaneously computing                                both sin and cos of an


input and the output values produced                              for a specific       set of inputs           may be

deterministic or       non deterministic                In   such an example embodiment consider


further a fraction         F of the      valid inputs        and a      relative error amount                  E by which the

result calculated          by an       LPHDR element may differ from the mathematically

correct     result    In   certain       embodiments              of the present        invention for each                   LPHDR

arithmetic    element           for at least        one operation           that the    LPHDR unit             is   capable of

performing for at least fraction F of the possible valid inputs to that operation for

at least    one output          signal    produced         by that operation the statistical                        mean over

repeated execution of the numerical                          values represented             by that output signal of

the    LPHDR unit when executing that operation                               on each      of those            respective

inputs differs by at least               E from the result of an exact mathematical                                 calculation       of


the operation        on those same              input   values where F is               1   and E is            005           In



several other        example embodiments F is not                           1    but instead              one of       2         or


5
                                                                                                     is




       or   10 or 20 or 50 For each                               of these     example embodiments each

with   some specific            value for F there are other example embodiments                                       in    which     E

is   not   005 but instead               is   01      or   02          or   05     or   1 2 5   or             or           or   10
or    20 These         varied         embodiments            are merely examples and do not constitute

limitations of the present               invention


            0145           For certain devices               such      as computers         or processors                  or other


devices      embodied according the present invention the number                                           of   LPHDR

arithmetic    elements           in   the device      eg computer or processor or other device
exceeds the number                    possibly zero of arithmetic               elements        in   the device which


are designed         to perform          high dynamic         range arithmetic            of traditional            precision


that is floating       point arithmetic             with a word         length    of   32 or more bits                 If   NL is

the total    number        of   LPHDR elements               in   such a device          and    NH        is   the total




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number       of elements             in    the    device which          are designed             to perform           high    dynamic

range arithmetic               of traditional           precision then          NL exceeds               TNH where TO                      is




some function                 Any of a variety             of functions        may be used as the function                               TO
For example              in   certain          embodiments            TNH may be twenty plus three times NH
and    the   number            of   LPHDR arithmetic                 elements         in   the device              may exceed twenty

more than         three times the                number        of arithmetic          elements           in   the    device        if
                                                                                                                                        any

designed       to perform            high        dynamic range              arithmetic       of traditional           precision            As

another example                 in   certain       embodiments                the    number        of    LPHDR arithmetic

elements       in     the device           may exceed fifty more than                       five   times the number of

arithmetic        elements           in    the device         if
                                                                    any designed            to perform             high    dynamic range

arithmetic        of traditional               precision      As yet another example                          in   certain


embodiments               the       number        of    LPHDR        arithmetic           elements       in    the device          may

exceed one hundred more than                               five     times the number of arithmetic                         elements             in




the    device       if
                         any designed              to perform          high    dynamic range                  arithmetic      of


traditional       precision           As yet another example                         in   certain    embodiments                   the


number       of   LPHDR             arithmetic          elements       in   the device        may exceed one thousand

more than         five    times the number of arithmetic                             elements       in    the       device    if
                                                                                                                                   any

designed       to perform            high        dynamic range              arithmetic       of traditional           precision            As

yet another         example               in   certain    embodiments                the   number         of       LPHDR arithmetic

elements       in     the device           may exceed five thousand more than five times the

number       of arithmetic            elements           in   the device        if
                                                                                     any designed                  to perform           high


dynamic range                 arithmetic         of traditional        precision           Certain       embodiments                of the


present      invention          may be implemented                     within a single             physical          device        such        as

but    not   limited      to a silicon           chip    or a chip      stack        or a chip      package           or a circuit


board and          the    number NL of LPHDR elements                                 in   the physical             device and the

number NH             of elements               designed      to perform        high       dynamic range                  arithmetic           of


traditional       precision          in   the physical             device    may be the total counts of the

respective        elements           within that physical               device            Certain       embodiments                of the


present      invention          may be implemented                     in   a computing            system           including           more

than one physical device                         such     as but not limited to a collection                         of silicon         chips or


chip    stacks or chip packages                         or circuit     boards coupled              to   and communicating




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with each    other using any              means such          as a      bus switch any kind of network

connection     or other       means of communication                      and   in   this   case the number                NL

of   LPHDR elements           in   the     computing        system and the number                 NH     of elements


designed     to perform       high       dynamic range          arithmetic      of traditional         precision      in   the


computing     system        may be the total counts of the respective                        elements          within      all




those physical devices jointly


          0146            Certain    embodiments              of the    present      invention     may constitute                or


may be part of           processors which                are devices capable          of executing         software to


perform     computations            Such      processors        may include mechanisms                    for storing


software for using the software                     to determine        what operations           to   perform       for


performing    those operations for storing numerical                         data      for modifying           data


according    to the software              specified       operations and for communicating                      with


devices connected           to the processor                Processors      may be reconfigurable                devices

such     as without       limitation field          programmable          arrays      Processors          may be co

processors     to   assist    host machines or may be capable of operating


independently        of an external          host         Processors      may be formed            as a collection           of


component      host processors               and co processors            of various        types such as CPUs

CPUs FPGAs or other processors                            or other devices        which      in   the art may be


referred    to as a heterogeneous                  processor        design or heterogeneous                computing

system some or all           of which        components             might incorporate the              same or distinct

varieties   of embodiments                of the    present    invention


          0147            Embodiments              of the present        invention     may however              be


implemented         in   devices     in    addition       to or other than processors                  For example a


computer     including       a processor            and other components              such        as   memory coupled

to the   processor by a data               path         wherein the     processor      includes         components           for


performing    LPHDR operations                     in
                                                        any of the ways disclosed            herein       is   an example

of an    embodiment         of the present              invention     More generally any device                  or


combination      of devices         whether or not            falling   within the     meaning          of a


processor which             performs         the functions          disclosed   herein      may constitute            an


example     of an    embodiment             of the present          invention


          0148            More generally any of the techniques described                                above     may be




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implemented        for example           in   hardware software              tangibly        stored   on a computer

readable      medium      firmware        or    any combination             thereof         The techniques

described      above    may be implemented                 in   one or more computer                  programs

executing on a programmable computer                            including       a processor         a storage         medium

readable      by the processor           including for example                  volatile     and nonvolatile

memory andor           storage elements             at least      one   input device            and   at   least     one

output device         Program code may be                  applied     to input entered          using the           input


device to perform the functions described                        and   to generate           output     The output

may be provided         to   one    or   more output devices

        0149            Each     computer program                within the      scope       of the claims below


may be implemented             in   any programming              language such as assembly language

machine language             a highlevel         procedural       programming               language       or an object


oriented      programming        language          The programming                language       may for example
be a compiled or interpreted                  programming         language

        0150            Each     such computer             program      may be implemented                  in   a


computer program product                 tangibly    embodied          in   a   machinereadable storage

device for execution          by a computer          processor          Method steps            of the invention


may be performed             by a computer         processor        executing           a   program    tangibly


embodied on       a    computer readable medium                    to perform           functions     of the invention


by operating     on input and generating                 output Suitable            processors         include by way

of example       both   general and            special   purpose microprocessors Generally the


processor      receives      instructions       and data from a readonly memory andor                                    a


random access memory                 Storage devices suitable                    for tangibly     embodying

computer program             instructions       include for example               all   forms of nonvolatile


memory such           as semiconductor            memory devices                including      EPROM EEPROM
and   flash   memory devices             magnetic        disks such         as internal hard disks and

removable       disks   magneto optical disks and                    CDROMs                 Any of the foregoing

may be supplemented              by or incorporated              in specially designed                ASICs

application specific          integrated        circuits    or   FPGAs Field Programmable Gate

Arrays A computer can                generally      also receive            programs and data from                   a


storage    medium such as an              internal disk         not shown          or a removable           disk These




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elements    will   also be found   in   a conventional    desktop   or workstation   computer    as

well as other computers       suitable    for executing    computer programs implementing

the   methods described      herein which      may be used in conjunction       with   any digital

print   engine or marking engine display monitor or other raster output device

capable of producing        color or gray scale pixels on     paper    film display screen      or


other output       medium




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                                                      Claims



1 A device

       comprising            at least   one first low precision         high    dynamic range    LPHDR
execution   unit adapted          to execute     a first operation        on a first   input signal


representing     a   first    numerical      value to produce       a   first   output signal representing      a


second numerical value

       wherein       the dynamic          range of the possible valid inputs to the first


operation   is   at least as wide as from             165000 through 65000 and                for at least


X=5 of the possible valid inputs to the                  first   operation the statistical       mean over

repeated execution            of the first   operation   on each        specific    input from the at least


X   of the possible           valid   inputs to the first     operation of the numerical         values


represented      by the first output signal of the               LPHDR unit executing         the first


operation   on that      input differs by at least          Y=05 from the result of an exact
mathematical      calculation         of the first   operation     on the numerical values         of that


same input


2 The device of claim 1 wherein the at least one first LPHDR execution                                unit


comprises at least part of an              FPGA




                                                         51




                                                                                                             SINGULAR 00001726
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Attorney Docket      No A0006 1001C1


3 The device of claim 1 wherein the at least one first LPHDR execution                           unit


comprises at least ten       LPHDR execution            units




4 The device of claim 3 wherein the at least one first LPHDR execution unit
comprises at least part of an        FPGA


5 The device of claim 1 wherein the number of LPHDR execution                           units in the


device exceeds       by at least ten the non negative            integer   number of execution

units in the device     adapted     to execute     at least the operation      of multiplication        on

floating   point   numbers   that are at least     32    bits   wide




6 The device of claim 5 wherein the at least one first LPHDR execution                           unit


comprises at least part of an        FPGA


7 The device of claim 1 wherein the at least one first LPHDR execution                           unit


comprises at least one hundred            LPHDR execution units



8 The device of claim 1 wherein the number of LPHDR execution                           units in the


device     exceeds by at least one hundred the non negative                  integer   number of

execution     units in the device    adapted     to execute       at least the operation    of


multiplication     on floating   point   numbers    that are at least      32 bits wide




9 The device of claim 1 wherein the at least one first LPHDR execution unit

comprises at least five hundred           LPHDR execution units



10 The device of claim 1 wherein            the number of LPHDR execution                 units in the


device     exceeds by at least five hundred the non negative                integer    number     of


execution     units in the device    adapted     to execute       at least the operation    of


multiplication     on floating   point   numbers    that are at least      32 bits wide




                                                    52




                                                                                                        SINGULAR 00001727
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11 A device comprising               a computer        processor       and a computer readable               memory

storing    computer      program        instructions       wherein the computer            program

instructions       are executable        by the processor           to emulate       a second device


comprising

          at least   one   first   low precision        high dynamic        range      LPHDR execution unit
adapted to execute a           first   operation       on a first    input signal      representing    a first

numerical     value to produce a             first   output signal representing           a second numerical


value

          wherein     the dynamic           range of the possible valid inputs to the first

operation     is   at least as wide as from 165000 through                          65000 and for at least

X=5 of the possible valid inputs to the                    first    operation the statistical       mean over

repeated execution          of the first      operation     on each      specific      input from the at least


X       of the possible     valid    inputs to the first        operation of the numerical            values


represented        by the first output signal of the               LPHDR unit executing          the first


operation     on that    input differs by at least          Y=05 from the result of an exact
mathematical         calculation       of the first   operation      on the numerical values           of that


same input



12 The device of claim 11 wherein                      the at least one first         LPHDR execution          unit


comprises at least ten             LPHDR execution           units




13 The device of claim 11 wherein                      the number of LPHDR execution                  units in the


second device exceeds by at least                     ten the   non negative         integer   number of

execution     units in the     second device adapted                 to execute       at least the operation          of


multiplication      on floating      point    numbers      that are at least         32 bits wide




14 A device

          comprising       at least     one first     LPHDR execution           unit adapted     to execute       a


first   operation    on a first     input    signal representing        a   first   numerical   value to


produce      a first output signal representing                 a second numerical         value

          wherein     the dynamic           range of the possible valid inputs to the first




                                                           53




                                                                                                                 SINGULAR 00001728
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operation      is   at least as wide as from 165000              through    65000 and for at least

X=5 of the possible valid inputs to the                first   operation the statistical        mean over

repeated execution          of the first   operation   on each      specific      input from the at least


X     of the possible      valid    inputs to the first     operation of the numerical          values


represented         by the first output signal of the          LPHDR unit executing the first

operation      on that    input differs by at least       Y=05 from the result of an exact
mathematical          calculation   of the first   operation     on the numerical values         of that


same input

            wherein    the number of LPHDR execution units                  in   the device   exceeds the

non negative         integer   number of execution          units in the device       adapted   to   execute

at least the operation         of multiplication     on floating    point   numbers     that are at least


32   bits   wide




                                                       54




                                                                                                         SINGULAR 00001729
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15 The device of claim 14 wherein             the at least one first       LPHDR execution         unit


comprises at least part of an        FPGA


16 The device of claim 14 wherein             the at least one first       LPHDR execution         unit


comprises at least ten       LPHDR execution             units




17 The device of claim 16 wherein             the at least one first       LPHDR execution         unit


comprises at least part of an        FPGA


18 The device of claim 14 wherein             the number of LPHDR execution                units in the


device     exceeds by at least     ten   the non negative        integer   number of execution

units in the device     adapted     to execute     at least the operation      of multiplication    on

floating   point   numbers   that are at least     32    bits   wide




19 The device of claim 18 wherein             the at least one first       LPHDR execution         unit


comprises at least part of an        FPGA


20 The device of claim 14 wherein the at least one first LPHDR execution                           unit


comprises at least one hundred            LPHDR execution units



21 The device of claim 14 wherein the number of LPHDR execution                            units in the


device     exceeds by at least one hundred the non negative                  integer   number of

execution     units in the device    adapted     to execute       at least the operation    of


multiplication     on floating   point   numbers    that are at least      32 bits wide




22 The device of claim 14 wherein the at least one first LPHDR execution                           unit


comprises at least five hundred           LPHDR execution units




                                                    55




                                                                                                   SINGULAR 00001730
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23 The device of claim 14 wherein                     the number of LPHDR execution                units in the


device     exceeds by at least five hundred the non negative                      integer    number        of


execution      units in the device           adapted      to execute   at least the operation       of


multiplication       on floating      point   numbers      that are at least    32 bits wide




24 A device comprising                a computer       processor     and a computer readable              memory

storing    computer       program       instructions       wherein the computer         program

instructions       are executable        by the processor         to emulate    a second device


comprising

           at least   one    first   LPHDR execution            unit adapted   to execute     a first


operation     on a first       input signal    representing       a first numerical     value to produce          a

first   output signal representing             a second numerical        value

           wherein     the dynamic          range of the possible valid inputs to the first

operation     is   at least as wide as from 165000                  through    65000 and for at least            5
of the possible        valid    inputs to the first       operation the   statistical    mean over

repeated      execution of the first operation              on each    specific   input from the at least


5       of the possible      valid   inputs to the first     operation of the numerical            values


represented         by the first output signal of the            LPHDR unit executing         the first


operation     on that     input differs by at least          05 from the        result of an exact


mathematical          calculation     of the first   operation      on the numerical values         of that


same input

           wherein     the   number     of    LPHDR execution units in the second device

exceeds the non negative                integer     number of execution        units in the   second device

adapted      to    execute at least the operation            of multiplication    on    floating   point


numbers      that are at least         32   bits   wide




                                                           56




                                                                                                                SINGULAR 00001731
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25 The device of claim 24 wherein the at least one first LPHDR execution                         unit


comprises at least ten            LPHDR execution      units




26 The device of claim 24 wherein the number of LPHDR execution                            units in the


second device exceeds by at least              ten the    non negative    integer   number of

execution      units in the   second device adapted          to execute    at least the operation       of


multiplication    on floating      point   numbers   that are at least 32 bits      wide




27 The device of claim 8 wherein X =                 10

28 The device of claim 8 wherein Y=1`0



29 The device of claim 8 wherein Y=15



30 The device of claim 8 wherein              Y=2

31 The device of claim 8 wherein X                   10 and wherein Y =        1
32 The device of claim 8 wherein X                   10 and wherein Y = 15

33 The device of claim 8 wherein X = 10 and wherein Y =                        2
34 The device of claim 8 wherein the dynamic                   range of the possible valid inputs

to the first   operation     is   at least as wide as from     11000000       through      1000000



35 The device of claim 1 wherein the at least one                 first   LPHDR execution       unit


comprises a      plurality    of locally   connected      LPHDR execution     units




36 The device of claim 1 wherein the device                  has a SIMD architecture




                                                     57




                                                                                                  SINGULAR 00001732
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37 The device of claim 1 wherein the device                 includes      memory locally       accessible


to the at least    one first   LPHDR execution unit



38 The device of claim 1 wherein the device                 is   implemented      on a silicon chip




39 The device of claim 1 wherein the device                 is   implemented      on a silicon chip

using digital technology




40 The device of claim 1 wherein the device further comprises                        a   digital



processor    adapted to control the operation            of the at least     one first   LPHDR

execution    unit




41 The device of claim 1 wherein the at least one LPHDR execution                              unit


comprises at least five hundred locally connected                     LPHDR execution       units

wherein    the device     includes   memory locally       accessible       to at least   one   of the


LPHDR execution          units and wherein the device            is   implemented    on a silicon chip

using   digital   technology




42 The device of claim 1 wherein the device                 is   part of a mobile    device




43 The device of claim 1 wherein the at least one first LPHDR execution                               unit


represents    numbers using a logarithmic representation




44 The device of claim 1 wherein the at least one first LPHDR execution                               unit


represents    numbers using a floating        point representation




45 The device of claim 1

        wherein     the device further comprises input                means for receiving      data


representing      an   input   image and

        wherein     the input    image   includes   the first    input signal




                                                    58




                                                                                                        SINGULAR 00001733
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46 The device of claim 45 wherein             the device     is   part of a mobile     device




47 The device of claim 45 wherein             the device     is   adapted    to deblur the input


image




48 The device of claim 1 wherein the device                 is   adapted    to perform   nearest


neighbor   search



49 The device     of claim   21 wherein X =         10

50 The device of claim 21 wherein             Y=1

51 The device of claim 21 wherein             Y=15

52 The device of claim 21 wherein             Y=2

53 The device of claim 21 wherein X                 10 and wherein Y =           1
54 The device of claim 21 wherein X                 10 and wherein Y = 15

55 The device of claim 21 wherein X                 10 and wherein Y =           2
56 The device of claim 21 wherein             the   dynamic range of the possible          valid


inputs to the first   operation   is   at least as wide     as from   11000000         through

1000000



57 The device of claim 14 wherein the at least one first LPHDR execution                           unit


comprises a    plurality   of locally connected          LPHDR execution       units




58 The device of claim 14 wherein the device has a SIMD architecture




                                                    59




                                                                                                   SINGULAR 00001734
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59 The device        of claim   14    wherein the device       includes        memory locally

accessible    to the at least    one first   LPHDR execution               unit




60 The device        of claim   14    wherein the device       is    implemented          on a    silicon   chip




61 The device        of claim   14    wherein the device       is    implemented          on a    silicon   chip


using   digital   technology




62 The device        of claim   14 wherein        the device   further comprises               a digital


processor    adapted to control the operation             of the at least          one first    LPHDR

execution    unit




63 The device        of claim   14    wherein the at least one             LPHDR execution unit

comprises     at   least five hundred      locally connected             LPHDR execution           units

wherein the device       includes      memory locally accessible              to   at least    one   of the


LPHDR     execution     units and wherein the device                is   implemented       on a      silicon    chip


using   digital   technology




64 The device        of claim   14    wherein the device       is    part of a mobile          device




65 The device        of claim   14    wherein the at least one first              LPHDR execution              unit


represents    numbers using          a logarithmic    representation




66 The device        of claim   14    wherein the at least one first              LPHDR execution              unit


represents    numbers using          a floating   point   representation




67 The device        of claim   14

        wherein the device further comprises                input        means for receiving data

representing       an input image and

        wherein the input image includes the first              input signal




                                                     60




                                                                                                                SINGULAR 00001735
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68 The device     of claim   67 wherein   the   device   is   part of a mobile   device




69 The device     of claim   67 wherein   the   device   is   adapted   to deblur   the input


image




70 The device     of claim   14   wherein the device     is   adapted   to perform   nearest


neighbor   search




                                            61



                                                                                                SINGULAR 00001736
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Attorney Docket        No A0006 1001C1



                                                    Abstract




A processor      or other device such as a programmable andor massively                         parallel


processor or other device             includes      processing    elements designed       to perform


arithmetic   operations          possibly but not necessarily         including for example one or

more of addition        multiplication subtraction           and division on numerical values of

low precision     but high dynamic           range    LPHDR arithmetic            Such    a processor          or

other device      may for example be implemented                   on a single chip      Whether or not

implemented       on a single chip the number               of   LPHDR arithmetic       elements    in   the


processor or other device            in   certain   embodiments      of the present     invention


significantly    exceeds     eg by         at least   20 more than three times the number of

arithmetic   elements       if
                                 any in the processor        or other device which are designed

to perform      high   dynamic      range arithmetic       of traditional   precision   such   as 32     bit



or 64 bit floating      point arithmetic




                                                      62



                                                                                                         SINGULAR 00001737
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 131 of 192




                                                                                100




                                                        104




               106




     Control                                 Processing       Element
    Unit   CU                                     Array   PEA




                     108


                                                         1
                              InputOutput Unit   IOU


                                  102                                   110




                           Host                        Peripherals




                                   FIG   1




                                                                              SINGULAR 00001738
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                                                         104




                                FIG 2




                                                                SINGULAR 00001739
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                                  304




                          PE
                        NORTH

               310                 302              306




          PE                                  PE
                          PE
        WEST                                 EAST




                          PE
                        SOUTH




                           308


                                         V
                                 To IO Unit 108




                                  FIG 3




                                                                SINGULAR 00001740
                                                                                                                                     400




                                                                                                        W




                                                         TO
                                                               NEIGHBORS


                                                                                              FROM
                                                                                           NEIGHBORS
                                                   402b                                                              402c
                                                                                                            402a
CONTROL            412a
SIGNALS



                                                                                                 +if
                                                         402d




                                                   it
                                                                                                  MUX
          412b
                                                                                                               404




          412c




                                                              V
                                                                                                              402e
          412d            REGISTERS                                                                                         CONSTANTS
                                                                     LOGIC          LPHDR ARITH
                                                                                                        I



                                                                     UNIT           L      UNIT




              11

          1
                                             406
                                                                                                        408




                                                        402g                              402f

                                      402i
                                                                             MASK
                                                                                                                             t


                                                                                                                                    402h
                                                                                    410




                                      IT


                                 UN
                                                                                                                              I0




                            IO
                                                                                                                                   UNIT
                                                                                                                                           Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 134 of 192




                                                                      4

                                                               FIG
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                                                     502e
500




                                FRACTION
                                           PORTION
                          FP




                                                     502d
                 VALUE




                                                                  5
                                           PORTION
                                INTEGER




                          IP
                                                                  FIG
                                                     502c
                                           SIGN




                          ES     EXP
                                                     502b
                                VALUE
                                           SIGN




                          VS
                                                     502a




                                 A
                                       NUMBER




                          NAN

                                NOT
       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 136 of 192



       408




602b




                                       608
                VALUE
        INPUT




         B




                                                                    610b
                NAN           DIV




                                                     V
                                                             MUX




                                                                                                       602c
                                      606




                                                                    610a




                                                                                                VALUE
                                                                                                                       6




                                                                                                              OUTPUT
                              +
                              MUL                                                                                      FIG

                                                             MUX
                                                                                                 NAN




                                       604
602a




                             ADDSUB
                VALUE
        INPUT




                                                                           612




         A
                NAN
                                            412a




                                                                            CONTROL
                                                                                      SIGNALS
                                                          412c
                                                   412b



                                                                   412d
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                                                 NIL




                                FIG 7




                                                                SINGULAR 00001744
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                                         =am
                                         man




W                                                 MEM




                                FIG 8




                                                                SINGULAR 00001745
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                      att




                                FIG 9




                                                                SINGULAR 00001746
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                             mvm




                               FIG 10




                                                                SINGULAR 00001747
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s      6                                             A




                                   FIG 11




                                                                    SINGULAR 00001748
Doc Code Oath
             Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 142 of 192
Document               Description                          Oath or declaration                             filed                                                                                                                                                  PTOSS01               CA 09
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                             DECLARATION                                           FOR UTILITY OR                                                       Attorney Docket
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                       Declaration

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                       Filing
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                                                                                                     required

                                                                                                                                                        Examiner                 Name                                                            NA


     hereby declare that                              1 Each inventors residence                                            mailing             address           and          citizenship          are as              stated        below          next    to their          name
and      2   I   believe the                      inventors                  named below                    to    be the         original         and        first    inventors               of the        subject             matter which                 is    claimed and

for which         a patent               is      sought on                  the    invention           titled




processing                   with        Compact Arithmetic Processing                                                          Element



                                                                                                                           Title        of the         Invention

the      application of                which



                  is    attached                  hereto



     OR


      I           was filed on                        MMIDDNYYY                                                                                  as United                States Application                      Number or PCT                       International




                 Application                     Number                                                                   and         was amended                    on        MMDDYYYY                                                                             if    applin


     hereby      state that                  I   have reviewed and                             understand                the     contents              of the        above          identified          application                   including the               claims as

 amended by any amendment                                              specifically             referred to above




 I
     acknowledge                   the           duty       to    disclose              information               which          is   material to              patentability                as defined                  in   37       CFR 156 including                             for

 continuation            in part                 applications                 material information                          which         became available between                                   the         filing      date      of the        prior application

 and      the    national or                     PCT international filing date                                    of the        continuation             in part application



 Authorization                        To Permit Access To Application                                                                 by Participating                            Offices



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 Japan Patent                  Office            JPO              the       Korean Intellectual                        Property           Office        KIP0 the World                           Intellectual                Property          Office        WIP0 and
 any other             intellectual                property offices                           which         a foreign                                                                        to the        above             identified

                                                                                                                                                                                      h
                                                                                         in                                      application             claiming                priority                                                       patent        application                 is


 filed    access         to        the aboveidentified                             patent       application                     See 37 CFR                   114c and                            This      box should not be checked                                     if   the

 applicant         does            not    wish              the   EPO JPO K1PO WIPO                                         or    other         intellectual              property office             in    which             a foreign         application claiming

 priority    to the           above              identified             patent          application               is filed       to have          access             to the       above       identified                patent         application




 In   accordance                   with          37   CFR 114h3 access will be provided to a copy of the above identified patent application with respect
         1 the above identified                                 application as filed 2 any foreign application to which
 to                                                                                                                     tne above identified


                                                                                          d
                                                         patent                                                                              patent application

 claims priority under 35                                   USC 119a                            if    a copy            of the        foreign application that                         satisfies           the certified                copy     requirement                   of

 37 CFR          155 has been                           filed     in    the       above        identified               patent        application                 and      3 any US application as filed from which benefit                                                               is



 sought      in        the    above              identified             patent          application



 In   accordance                   with          37   CFR 114c                       access           may be provided to information concerning                                                      the         date        of filing        the Authorization                     to

 Permit Access                     to Application                      by Participating Offices


                                                                                                                                       page        1    of   31

 This collection         of information                ts   required         by 35      USC 115 and 37 CFR 163 The                                information             is   required     tu obtain     or     rrre benefit by the public which                             is   to   Me fend
 by the USPTC                                                                                    governed by 35 USC 122 and 37 CFR 111 and 114                                                                                                estimated                       21 minutes
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 complete        including           gathering              preparing             and    submitting         the    completed           application       form        to    the    USPTO          Time     will    vary       depending         upon     the       individual       case        Any

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                                   DECLARATION                                 Utility         or Design Patent Application




Claim of Foreign              Priority Benefits


I
    hereby   claim      foreign     priority    benefits         under     35    USC 119a           or if d or 366b of any foreign appikatiors     for patent

inventors     or plant       breeders     rights     certificates               or    365a of any PCT international application which designated at least one
country    Other      than   the   United   States        of   America          listed     below        and have       also identified        below       by checking                 the     box any foreign
application for patent             inventors     or plant        breeders            rights    certificates          or   any   PCT international application having                                a filing    date

before   that of the application          on which         priority       is   claimed




    Prior Foreign Application                                         i

                                                                                 Foreign Filing Date                                   Priority                          Certified    Copy Attached
                                                  Country
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             Additional foreign application                 numbers are listed on a supplemental                                priority    data sheet PTOSB02B                               attached       hereto




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                                                                                                                                                            Approved         for   use through           061302010        OMS 06510032
                                                                                                                                       US    Patent and Tiademark            Ceice US DEPARTMENT OF COMMERCE
                 Under   the   Paperwork        Reduction Act or 19Stl            no persons      are   required to respond          to a collection   of information    unless      it   contains        a   valid   OMB nontrot nurnoer




                                                DECLARATION                                  Utility         or Design Patent Application




                                                        The address
Direct      all                                                                                                                                                                                Correspondence
                                             5A         associated           with                24208                                                    OR
correspondence to                                                                                                                                                                              address below
                                                        Customer Number

Name



Address




                                                                                                           State
City                                                                                                                                                                  Zip




Country                                                                            Telephone                                                       Email




                                                                                                          WARNING
Petitionerapplicant                  is    cautioned            to   avoid   submitting           personal information                  in   documents        filed     in   a patent               application         that   may
contribute          to identity theft                 Personal information such                     as    social security numbers                      bank account            numbers                  or credit       card   numbers

other than            a check        or credit         card      authorization            form PTO        2038 submitted for payment purposes                                       is    never          required by the

USPTO to support a petition or an application If this type of personal information is included in documents submitted to the
USPTO petitionersapplicants should consider redacting such personal information from the documents before submitting them
to the USPTO     Petitionerapplicant is advised that the record of a patent application is available to the public after publication of

the application unless a non publication   request in compliance with 37 CFR 1213a is made in the application or tssuance of
a patent            Furthermore                 the record from an abandoned                            applicationmay also be available to the public the application is                      if




referenced            in   a published            application             or an    issued patent           see 37 CFR 114 Checks and credit card authorization forms
PTO 2038 submitted for payment purposes are not retained in the application file                                                                       and therefore are not                         publicly     available

Petitionerapplicant                   is   advised        that documents              which        form the      record          of a patent       application          such as the                    PTOSE01             are    placed

into       the    Privacy Act system                  of records          DEPARTMENT                 OF COMMERCE COMMERCE PAT                                         7
                                                                                                                                          System name Patent Application

Files         Documents              not    retained       in    an application           file
                                                                                                  such as the PTO 2038 are placed into the Privacy Act system of
COMMERCEPATTM10                                       System          name        Deposit Accounts              and       Electronic         Funds      Transfer      Profiles




I

     hereby declare             that      all   statements            made herein of my own Knowledge are true and that all statements made on information and
belief      are believed to be true and                                       these statements were made with the knowledge
                                                                     further that                                               that willful false statements and

the    like       so made are punishable by                           fine or imprisonment                 or   both       under 18          USC 1001 and                that such                  willful   false    statements

may jeopardize                 the   validity of         the application            or    any     patent     issued thereon


           NAME OF SOLE OR FIRST INVENTOR                                                                                  A petition has been filed                  for this unsigned                       inventor

Given        Name first           and middle if                 anyl                                      Family Name or Surname


Joseph                                                                                                      Bates


    Inventors       STature                                                                                                              Date

                                                                                                                                                                                         to

    Residence            City                                   State                                                      Country                                                   Citizenship
                                                                                                                      I

    Lexington                                              I
                                                                     MA                                               I
                                                                                                                           US                                                             US

    Mailing Address


    50 Waltham             Street          206

    City                                                         State                                                     Zip                                                           Country


Lexington                                                        MA                                                         02421                                                          Us


                   Additional    inventors       or   a legal   representative      are   being    named °tithe                         supplemental    sheetsPTOSSIC2A                   or   Cali attached          hereto



                                                                                                             Page          or    3




                                                                                                                                                                                                                         SINGULAR 00001751
  Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 145 of 192




                                                                   Privacy Act Statement

The   Privacy          Act of 1974            Pi 93579 requires                              that    you be given                 certain         information in connection                         with

your submission of the attached                           form related                 to   a patent          application          or patent Accordingly                            pursuant             to

the requirements            of    the   Act please be advised                               that    1        the general           authority for the                    collection      of this

information       is   35   USC 2b2 2 furnishing of the information                                                          solicited           is   voluntary           and     3     the

principal   purpose for which                  the information                    is   used by the             US Patent and Trademark Office                                        is to     process
andor examine your submission related                                        to   a patent          application                     you do not furnish the
                                                                                                                            or patent            If



requested        information            the   US Patent and Trademark Office                                           may not be able to process andor examine
your submission             which        may result             in   termination of proceedings                              or abandonment                        of   the application             or

expiration of the patent


The information provided                   by you in this form will be subject                                    to   the following routine                        uses


      1   The          information        on       this   form        will        be treated              confidentially           to      the        extent       allowed       under         the

            Freedom          of    Information Act                   5 USC 552 and the Privacy                                             Act    5 US0 552a Records
          from this system of records  may be disclosed to the Department of Justice to determine
          whether disclosure of these records is required by the Freedom of Information Act
      2   A record from this system of records may be disclosed as a routine use in the course of
            presenting evidence                     to    a court            magistrate              or administrative                     tribunal            including         disclosures

          to     opposing          counsel         in    the course               of settlement negotiations

      3     A    record      in    this    system             of     records           may be             disclosed           as       a    routine         use         to     a Member of
          Congress submitting a request involving an individual to whom the record pertains when
          the individual has requested assistance from the Member with respect to the subject matter

            of   the    record
      4     A record        in this       system of records                       may be disclosed                      as a      routine             use     to   a contractor           of the

            Agency          having        need          for     the        information              in     order       to    perform             a     contract              Recipients             of

            information           shall    be required                to   comply with the requirements                                    of    the Privacy             Act     of 1974          as

            amended pursuant to 5 USC 552am
      5     A record related to an International Application                                                 filed     under       the Patent               Cooperation Treaty                      in

            this   system of records                    may be disclosed                          as a routine          use        to      the    International                Bureau     of the

            World       Intellectual          Property Organization                               pursuant to the Patent                     Cooperation                 Treaty
      6     A record         in    this   system           of      records             may be        disclosed               as    a    routine          use to          another federal

            agency for purposes of National                                     Security          review       35 USC 181                         and       for    review        pursuant           to


            the Atomic Energy Act 42                            USC 218c
      7     A record        from this         system of records                        may be disclosed                      as a routine               use to the
            Administrator               General          Services               or   hisher designee                    during         an inspection                   of records

            conducted             by   GSA as part of that                        agencys           responsibility to              recommend improvements                                 in



            records         management               practices             and programs under authority of 44                                           USC 2904 and 2906
            Such disclosure               shall      be made               in   accordance                with the          GSA regulations governing                             inspection

            of records               purpose and any other relevant
                                 for this                                 GSA or Commerce                         ie
            directive        Such disclosure shall not be used to make determinations about individuals
      S     A record from this system of records may be disclosed                                                            as a routine               use to the public               after


            either      publication           of the application                     pursuant           to   35   USC 122b                       or    issuance           of   a patent

            pursuant         to   35    USC 151 Further a record may be disclosed subject                                                                     to   the       limitations       of

            37 CFR 114                 as a routine             use        to     the public         if    the record         was filed               in an    application          which
            became          abandoned              or in which             the proceedings                    were terminated and which application                                          is

            referenced            by   either      a published                  application               an application            open         to    public          inspection       or an

            issued       patent

      9     A record        from       this   system of records                        may be disclosed                      as a routine               use to a Federal
            State       or local        law enforcement                    agency            if   the     USPTO             becomes             aware         of   a    violation    or

            potential       violation         of   law or regulation




                                                                                                                                                                                                    SINGULAR 00001752
Doc Code PPHPCT652
                       Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 146 of 192
                                                                                  PTOSB20PCTKR                                                                                                                                            0610
Document     Description         Petition to      make special             under    PCT Patent         Pros      Hwy                                            Approved      for use through            01312015           OMB 06510058
                                                                                                                             US Patent and Trademark                          Office     US DEPARTMENT                      OF COMMERCE
                           Under the Paperwork              Reduction Act of         1995    no persons are         required to       respond    to   a    collection   of information   unless   it
                                                                                                                                                                                                       displays   a valid   OMB control number


                                REQUEST FOR PARTICIPATION                                                   IN   THE PATENT COOPERATION                                               TREATY                 PATENT
                                         PROSECUTION HIGHWAY                                             PCTPPH                         PILOT              PROGRAM BETWEEN THE
                                         KOREAN INTELLECTUAL                                           PROPERTY OFFICE KIPO AND THE US PTO

  Application         Na         1   3399884                                                        First    Named      Inventor            BATES                       Joseph

  Filing    Date                 02172012                                                         Attorney         Docket        No         A0006 1001C1

           of the
                                                                                                                                                                                  Element
  Title


  Invention             Processing                            with            Compact                        Arithmetic Processing

  THIS     REQUEST          FOR PARTICIPATION                     IN   THE  PCTPPH PILOT PROGRAM ALONG WITH THE REQUIRED                                                          DOCUMENTS             MUST BE SUBMITTED                 VIA

  EFSWEB               INFORMATION              REGARDING                 EFSWEB  AVAILABLE AT HTTPIIWWWuSPToGOvIEScIEFs
                                                                                            is                                                                                           HELPHTML


  APPLICANT                HEREBY              REQUESTS                    PARTICIPATION                      IN   THE PCTPPH PILOT PROGRAM                                              AND PETITIONS                      TO MAKE THE
  ABOVE IDENTIFIED APPLICATION                                               SPECIAL UNDER THE PCTPPH PILOT PROGRAM

  The above identified                   application              is
                                                                          1a   national          stage        entry    of    the corresponding      PCT application or     a national stage entry       2                                            of

  another         PCT application                which claims priority                      to the      corresponding                 PCT application or                     3
                                                                                                                                                           a national application that claims
  domestic            foreign        priority    to    the corresponding                     PCT application                 or       4   a national              application         which    forms the basis                for   the   priority

  claim      in   the corresponding                   PCT application                  or       5a      continuing           application              of    a    US     application       that         satisfies one of         1    to   4
  above          or   6 a US            application           that         claims domestic               benefit       to    a   US provisional                    application        which       forms the basis              for the priority

  claim      in   the corresponding                   PCT application

  The corresponding                      PCT application numbers isare PCTUS2010038769




  The international                   filing     date of the corresponding                                  PCT applications                      isare 06162010




             I    List of Required                Documents

                  a     A copy           of the        latest          international             work product                WOISA WOIPEA                                or IPER         in   the above identified

                           corresponding                    PCT applications

                        0                  is   attached


                                           is   not attached                 because the document                       is   already        in    the        US application
                  b     A copy           of all    claims which were indicated as having novelty inventive step and industrial applicability
                           in   the above identified                         corresponding                   PCT applications

                        ID                 is   attached


                                           is   not attached                 because the document                       is   already        in    the        US application
                  c        English translations                           of the    documents                in    a and b above are attached if the documents are not in the
                           English        language A statement                                  that the English                 translation                is   accurate        is   attached           for the document                 in

                           b above

                  d     1 An           information                disclosure               statement             listing     the documents                        cited    in    the international                work products

                           ISR WOISA WOIPEA IPER of the corresponding                                                                     PCT application

                                           is   attached


                        12                 has already been                        filed   in    the   above identified                 US application on
                           2 Copies             of all      documents                 except for                 US patents or US patent application publications
                                           are attached


                           O               have already been                        filed       in the      above identified              US application                    on



                                                                                                                   Page      1   of   2

  This     collection      of information         is   required            by 35USC 119 37 CFR 155 and 37 CFR 1102d The information is required to obtain or retain
  a   benefit     by    the     public    which        is    to    file    and by the USPTO to process an application Confidentiality is
                                                                                                                                         governed by 35 USC 122 and
  37 CFR 111            and      114 This collection is estimated to take 2 hours to complete including gathering preparing and submitting the completed
                                  the USPTO Time will
  application         form to                              vary depending  upon the individual case Any comments    on the amount of time you require to

  complete        this form       andor         suggestions               for reducing       this      burden      should        be    sent to        the       Chief Information        Officer        US        Patent     and Trademark

  Office      US       Department          of    Commerce                  PO Box 1450 Alexandria VA 223131450                                              DO NOT SEND FEES OR COMPLETED                                       FORMS TO
  THIS      ADDRESS




                                                                                                                                                                                                                       SINGULAR 00001753
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                                                                        PTOSB20PCTKR                                                                                                                0610
                                                                                                                           Approved      for use through           01312015              OMB 06510058
                                                                                             US Patent and Trademark                     Office     US DEPARTMENT                        OF COMMERCE
                Under   the   Paperwork   Reduction Act   of   1995   no persons are   required   to respond   to   a collection   of information   unless   it   displays   a   valid   OMB control number


                                REQUEST FOR PARTICIPATION                                   IN    THE     PCTPPH PILOT PROGRAM
                                                          BETWEEN THE KIPO AND THE                            USPTO
                                                                                        continued



Application   No              13399884                                      First   Named     Inventor          BATES Joseph

II    Claims Correspondence                    Table


                                            Patentable         Claims in

Claims in     US Application              the corresponding              PCT                              Explanation              regarding        the correspondence

                                                  application

              148                                         350                       Claims 148         in the       US application           are    identical        to   claims         350 in the PCT

                                                                                    application        except        that multiple dependent                 claims          in the      PCT application

                                                                                    have been converted                 into   single dependent                   claims in the           US application

              4970                                     2950                         Claims 4970         in the       US application          are identical          to    claims         2950 in the PCT

                                                                                       application       except         that multiple        dependencies                in the     PCT application

                                                                                       have been converted                  into    single   dependencies                 in the     US application




            the claims     in the US application                                                                           the patentable claims in the
III   All                                                              sufficiently         correspond                to

corresponding            PCT application




SignatureRobert                 Plotkin            R       g43861                                                                         Date
                                                                                                                                                    02172012

Name
PrintTyped
                Robert Plotkin                                 Esq                                                                        Registration            Number
                                                                                                                                                                                 43861

                                                                                       Page 2 of 2




                                                                                                                                                                                         SINGULAR 00001754
                    Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 148 of 192
                                                                                             Privacy Act                      Statement


The Privacy Act of 1974                           PL 93579 requires                               that      you      be given certain            information                in    connection             with your

submission of the attached                             form related              to   a patent         application             or patent        Accordingly                  pursuant          to   the requirements                   of

the   Act please be advised                            that     1         the general authority                   for      the collection        of this      information               is    35    USC 2b2 2
furnishing          of   the     information     and    solicited          is
                                                                                voluntary                        3
                                                          the principal purpose for which the information is used by the

US Patent and Trademark Office         process andor examine your submission related to a patent application or
                                                                      is   to


patent   you do not furnish the requested information the
          If                                                     Patent and Trademark Office may not be able to        US
process andor  examine   your submission  which may  result in termination of proceedings or abandonment of the


application or expiration                        of    the patent




The information provided                          by    you      in   this      form       will   be subject             to   the following       routine uses




      1        The information on this form will                                  be treated confidentially                         to   the extent allowed                      under the Freedom of
               Information Act                   5 USC 552 and the Privacy Act 5 US0 552a Records                                                                           from this        system            of   records       may
               be disclosed                 to   the    Department               of   Justice          to   determine           whether disclosure                     of    these records                is   required by the

               Freedom            of       Information           Act
      2        A record          from        this      system         of   records          may be disclosed                       as a routine        use        in   the        course of presenting evidence
               to   a court           magistrate               or administrative                  tribunal           including          disclosures     to    opposing counsel                           in   the   course        of

               settlement              negotiations
      3        A record          in    this      system         of    records         may be disclosed as a routine use to a Member of Congress submitting a
               request involving                      an individual              to   whom the record pertains when the individual has requested assistance from
               the       Member with              respect            to    the subject matter of the                          record
      4        A record          in    this      system         of    records         may be disclosed                        as a routine       use     to   a contractor                   ofthe Agency having

               need       for    the information                 in       order to perform a contract                           Recipients        of   information                 shall     be required to comply
               with the requirements                        of   the Privacy               Act    of    1974          as      amended        pursuant         to       5    USC 552am
      5        A record          related          to   an International Application                              filed     under the Patent            Cooperation Treaty                           in    this      system        of

               records           may be disclosed                         as a routine            use       to   the     International          Bureau       of    the       World       Intellectual               Property

               Organization                  pursuant           to    the Patent            Cooperation                Treaty
      6        A record          in    this      system         of    records may be disclosed as a routine use to another federal agency for purposes
               of   National           Security review                    35 USC 181 and for review pursuant to the Atomic Energy Act 42 USC
               218c
      7        A record          from        this      system         of   records          may be disclosed                       as a routine        use        to   the Administrator                       General

               Services           or hisher             designee                during       an inspection               of    records      conducted             by       GSA as part of that                      agencys
                           recommend improvements in records management practices and programs under authority of
               responsibility               to

               44 USC 2904 and 2906 Such disclosure shall be made in accordance with the GSA regulations governing

               inspection             of    records       for this         purpose            and any other relevant                       ie GSA or Commerce directive                                             Such
               disclosure             shall      not    be used            to   make        determinations                    about      individuals

      8        A record          from        this      system         of   records          may be disclosed                       as a routine        use        to   the public             after      either publication                 of

               the application pursuant                          to       35    USC 122b or issuance                                of   a patent      pursuant              to   35    USC 151 Further a
               record          may be disclosed                       subject         to   the    limitations          of     37 CFR 114 as a routine use                                to    the public            if   the record

               was       filed    in   an application which                       became           abandoned                  or   in   which   the    proceedings were terminated and which
               application             is   referenced               by either a published application                                   an application open                     to   public       inspection             or an    issued

               patent

      9        A recordfrom this system of records may be disclosed as a routine use to a Federal State or local law

               enforcement agency     the USPTO becomes aware of a violation or potential violation of law or regulation
                                                          if




                                                                                                                                                                                                                    SINGULAR 00001755
               Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 149 of 192
                                                                                                                                                                                     PCTUS2010038769

                                                              PATENT                      COOPERATION TREATY
From the
INTERNATIONAL                  PRELIMINARY                    EXAMINING                  AUTHORITY

    To

    ROBERT PLOTKIN
                                                                                                                                                        PCT
                                                                                                                              NOTIFICATION                    OF TRANSMITTAL                         OF
    ROBERT PLOTKIN P0 15 NEW ENGLAND                                             EXECUTIVE
    PARK BURLINGTON                   MA 01803 USA                                                                                INTERNATIONAL                      PRELIMINARY
                                                                                                                                      REPORT ON PATENTABILITY
                                                                                                                          Chapter          II    of the Patent Cooperation                    Treaty


                                                                                                                                                      PCT Rule 711

                                                                                                                Date of mailing

                                                                                                                dayMonthyear                    04   NOVEMBER            2011    04112011

                                           reference
    Applicants      or agents       file


                                                                                                                                      IMPORTANT                   NOTIFICATION
     A00061001PC

    International   application        No                        1
                                                                       International filing              date   daymothyea                           Priority    date   daymonthyear

     PCTAIS2010038769                                                     16 JUNE 2010 16062010                                                      19 JUNE 2009           19062009

    Applicant



     SINGULAR               COMPUTING LLC et al



    1    The    applicant      is   hereby         notified    that       this International Preliminary               Examining Authority                transmits herewith the              international


         preliminaty       report on        patentability      and        its   annexes     if   any established         on   the international application




    2    A copy of the report and              its     annexes       if   any     is   being     transmitted to the International               Bureau       for communication           to    all   the       elected

         Offices


    3    Where     required by        any of the elected Offices                       the International        Bureau    will   prepare        an English       hansiation     of the    report but             not     of

         any annexes and will               transmit       such translation to those Offices



    4    REMINDER

         The    applicant    must enter           the national       phase       before     each    elected     office   by performing           certain      acts filing     translations       and paying

         national    fees     within        30 months from                the priority     date    or later in some Offices Article                     391 see also the reminder sent by the
         International      Bureau         with   Form PCTI13301


         Where a translation of the international application must be furnished to an elected Office                                                         that translation   must contain               a

         translation    of any annexes                 to the international            preliminary        report on patentability          It   is   the applicants      responsibility          to prepare

         and furnish such           translation directly         to       each    elected      Office     concerned




         For further details on the applicable                   time limits and requirements of the elected                           Offices         see    Volume II of the PCT Applicants
         Guide


         The    applicants attention              is   drawn to Atricle           335 which provides that the criteria of novelty inventive                                   step and        industrial


         applicability      described        in Article       332 to            4   merely       serve    the   purposes of international              preliminary      examination and that                    any

         Contracting        State may        apply additional              or different        criteria    for the   purposes     of deciding whether               in that   State the claimed

         invention    is    patentable       or    not see also Article                  275 Such           additional criteria       may relate for example to exemptions from
         patentability       requirements for enabling disclosure                              clarity    and support     for the     claims




1
     Name and      mailing address           of the IPEAKR                                                      Authorized       officer

                     Korean Intellectual                Property Office
                     Government ComplexDaejeon                                  189 Cheongsaro
                                                                                                                         COMMISSIONER
                     Seogu Daejeon 302701                        Republic of Korea

                                                                                                                Telenhone        No    R2 424R15208
                                                                                                                                                                                              SINGULAR 00001756
            Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 150 of 192
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                                                        PATENT                   COOPERATION TREATY

                                                                                                    PCT
                                           INTERNATIONAL PRELIMINARY REPORT ON PATENTABILITY
                                                                         Chapter          II    of the    Patent   Cooperation Treaty


                                                                                      PCT          Artcle    36 and Rule          70


Applicants       or       agents    file   reference

                                                                    FOR FURTHER ACTION                                                                  See    Form PCTIIPEA416
A00061001PC

International application                  No                     International filing             datedaymonthiyean                                 Priority    date   daylmonth6ear
                                                                                                                                                 I




PCULTS2010038769                                                   16    JUNE 2010 16062010                                                      I   19 JUNE 2009             19062009

International Patent              Classilication        1PC or national classification and IPC


 G06F 938200601i                                GO6F 91462006014                               GO6F 1314200601i



Applicant



SINGULAR COMPUTING LLC et al


       This report is the international preliminary                              examination report              established         by this International         Preliminary       Examining

       Authority            under Article 35 and transmitted to the applicant                               according        to Article     36

       This REPORT                 consists      of a total of                    4                sheets    including        this   cover sheet


                                                                    ANNEXES
             m
       This      report       is   also    accompanied        by                           comprising

        a                  sent    to the applicant         and    to the International             Bureau a total of                       16                sheets    as follows


                                     sheets     of the description          claims andor             drawings which have been amended andor                               sheets containing      rectifications

                                                                                                                                                                                                   letters see
                                     authorized by this  Authority unless those sheets were superseded or cancelled and any accompanying
                                     Rules      465 668 7016 912 and Section 607 of the Administrative Instructions
                                     sheets containing            rectifications          not taken       into account       by this Authority because they were not available                      at the

                                     time    when      this Authority       began         to draw up this          report     and any accompanying    letters Rules 664bis                       702e
                                     7016 and 912
                                     superseded         sheets    and any accompanying                     letters    where      this Authority       either considers         that the   superseding     sheets

                                    contain      an amendment           that goes         beyond         the disclosure in the international application as filed                         or the superseding
                                    sheets      were not accompanied               by a letter           indicating       the basis for the      amendments            in the application     as filed   as

                                     indicated     in item    4 of Box       No       I   and the Supplemental               Box see Rule 70160

        b    F1 sent to the International Bureau only a total of indicate type and number of electronic
             I        I
                                                                                                                                                                        carriers

                           containing       a sequence       listing     in electronic           form only         as indicated       in the     Supplemental           Box relating to Sequence

                           Listing    see Section 802 of the               Administrative            Instructions

       This      report contains            indications      relating to the          following          items

                  Box        No              Basis of the report


                  BOX        NO      it
                                                ntority

                  Box No HI                     Non establishment of opinion with                         regard     to   novelty     inventive      step     and industrial     applicability



                  Box No IV                     Lack    of unity of invention


                  Box No             V                                                                    352 with regard
        IX                                      Reasoned      statement          under         Article                               to novelty       inventive        step   and industrial   applicability
                                                citations   and explanations              supporting such            statement



        ElBox No VI                             Certain     documents       cited



                  Box No VII                    Certain defects         in the    international application



                  Box         No VIII           Certain observations             on the international application




Date   of submission of the                 demamd                                                            Date of completion of this                 report




             28 APRIL 2011                                  28042011                                                        31   OCTOBER 2011 31102011



 Name and mailing address of the IFEAKR                                                                       Authorized          officer


                  Korean intellectual                  Property Office

                  Government               ComplexDaejeon                189     Cheongsaro                                Hwang      Seung      lice

                  Seogu Daejeon 302701 Republic                                  of Korea


                                                                                                              Telephone          No       82424815749
                                                                                                                                                                                            SINGULAR 00001757
              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 151 of 192

                                                                                                                                                     International application             No
         INTERNATIONAL PRELIMINARY REPORT ON PATENTABILITY
                                                                                                                                                     PCTUS2010038769

Box No        I     Basis of the report


1    With         regard    to the   language         this report is       based   on


                  the international                                                  in which           was
                                           application in the                                                 filed
                                                                          language                 it




      Li          a translation       of the    international application            into                                                 which   is   the   language      of a translation furnished

                  for the    purposes      of

                   0        international search           under Rules         123a         and   231b
                   0                                                                                            124a
                                                                                                                                                     o
                           publication         of the international          application     under Rule

                   Li       international preliminary              examination under              Rules   552a andor 553a and

2    With     regard       to the    elements of the international               application       this report     is   based on replacement                 sheets     which   have been fitrnished

     to the       receiving Office in response               to an    invitation     under Article 14 are referred to in this                  report        as   originally     filed     and are not
     annexed            to this report



              the       international application as originally filedifurnished




                  the    description


                  pages      1424448                                                                                                                               as originally   filedfurnished


                  pages 43                                                                                              received     by this   Authority           on 28042011

                  pages                                                                                                 received     by this Authority             on



              the       claims

                                                                                                                                                                                   filedfurnished
              pages                                                                                                                                               as originally


              pages                                                                                                as amended        together        with any statment             under     Article   19


              pages 4Qfil                                                                                 received                   by this Authority             on 21142fal

              pages                                                                                                     received     by this   Authority           on



              the       drawings
                            1111111
              pages                                                                                                                                               as originally    tiledfurnished


              pages                                                                                                     received     by   this Authority           on

              pages                                                                                                     received     by   this Authority           on



              the       sequence     listing      see    Supplemental         Box Relating to Sequence                Listing




                   The amendments              have     resulted   in the    cancellation     of

                            the description           pages

                            the   claims    Nos            12

                            the   drawings        sheets


                            the   sequence       listing   specifi




                  This report has been established                   as if   some of the amendments                annexed        to this report       and    listed below       had   not   been   made
                   since    either they are considered               to   go beyond     the disclosure        as   Med     or they were        not     accompanied         by a letter     indicating the

                   basis for the      amendments           in the application         as filed     as indicated       in the   Supplemental          Box Rules           702c and ebis
                    Li      the    description        pages
                                           Nos
                   Ti       the   claims

                   r        the   drawings        sheets


                            the   sequence      listing    specifj


     Ej       This report has been established

                           taking into     account       the rectification         of an obvious mistake                authorized     by or notified         to this    Authority     under

                           Rule     91 Rules      661dbis and 702c
                   ri      without    taking into        account      the rectification       of an obvious mistake                authorized        by or notified        to this Authority


                           under Rule      91Rules         664his and         702e

                                                                                                         Authorityies
                                                                                                                                                                                   c
                  Supplementary            international           search      reports from
                  hashave          been received and taken                   into account         in    establishing       this    report Rule          45bis23b           and



    If item 4 applies             some   or all   of those      sheets     may be marked superseded


                                                                                                                                                                                         SINGULAR 00001758
          Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 152 of 192

                                                                                                                                                    International application         No
          INTERNATIONAL PRELIMINARY REPORT ON PATENTABILITY
                                                                                                                                                    PCTUS2010038769

Box No V Reasoned                  statement under                Article    352 with             regard    to    novelty     inventive      step    or industrial applicability

                    citations     and explanations               supporting          such statement




I   Statement


    Novelty         N                                   Claims
                                                                          350                                                                                                                 YES

                                                        Claims            NONE                                                                                                                   NO

                                                                          350
    Inventive         step   IS                         Claims                                                                                                                                   YES

                                                        Claims            NONE                                                                                                                   NO

                                                                          350
    Industrial        applicability      IA             Claims                                                                                                                                   YES

                                                        Claims
                                                                          NONE                                                                                                                    NO


2   Citations        and explanations          Rule 707

    Reference           is    made      to    the       toll owing          documents


    Dl     US       5887160        Al   LAURITZEN                 M    et    al 23 March                  1999

    02     US       5867683        Al   WITT DB et al 02 February 1999
    03     US       5809320       Al    JAIN A et al 15 September 1998
    Del    US       5293500        Al   1SHIDA               H    et   al 08 March 1994
    D5     US       5226166        Al   ISH1DA               H    et   al 06 July 1993

    1 Novelty and Inventive Step
    11 Claims 3 13 16 and 26
    Claim       3      relates          to     a    device            comprising            a     plurality            of     low   precision             high       dynamic        rangeLPHDR
    executions             units        and    at       least       one     high precision                execution           unit      D1    is     the    closest          prior    art   of        the

    subject          matter        of    claim          3 D1         discloses             the    device         comprising         a   integer           execution          unit    for    integer

    operations             and     a    floating             point     execution            unit     for     floating          point     operations              The     subject       matter          of

    claim       3    differs           from D1          in    the     detail         features       of      the    execution         units      and       the    component          ratio    of       the



                                                                                                                                                                        3
    execution           units           Also        those           features         of     claim       3    are    not       shown     in    any      other         prior     art    documents
    Hence           claim     3    is   novel       and       involves          an    inventive           step under          PCT    Article         332         and



    The    features           of       independent               claims      13       16     and     26     are    substantially             the      same      as     those    of    claim       3    in




                                                                                                                                                           3
    that    claims           1316        and       26    includes           LPHDR      execution            units       for   operations            Therefore            claims       13      16      and

    26    are       also     novel      and        involve        an      inventive         step     under        PCT    Article        332         and



    12     Claims    412 1415 1725 and 2750
    Claims       412 1415 1725 and 2728 are dependent on claims 1 13 16 and 26 respectively Claims
    2836        are dependent on claims one of claims 328 and claims 3750 are dependent on one of claims 1
    13 16            and     26


                                                                                            3
    Consequently                  claims       412            1415          1725            and    2750          are    also    considered            to    be       novel     and    involve          an
    inventive           step       under      PCT       Article        332           and




    2 Industrial                  Applicability
    Claims          350      are industrially                    applicable           under       PCT     Article        334




                                                                                                                                                                                     SINGULAR 00001759
         Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 153 of 192
                                                                                                            International application   No
       INTERNATIONAL PRELIMINARY REPORT ON PATENTABILITY
                                                                                                            PCIYUS2010038769

Box   No VII      Certain defects      in the international     application



The   following    defects   in the   form or contents of the   international application   have been noted




 According to the requirement of PCT Rule                  1113c        the scale of the drawings       and the distinctness   of their graphical

 execution     shall    be such that a photographic        reproduction       with a linear reduction     in size to twothirds   would enable to

 be distingushied without difficulty              However       figures 711 do not meet the requirement



 Claims 2947 and SO do                not   comply with PCT Rule         64a because the multiple dependent claim does not               refer to


 other claims      in   the alternative     way




                                                                                                                                        SINGULAR 00001760
          Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 154 of 192

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   642011 000085276                                                                                             1PEA    KR     2   8 042011



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                  I




        KTL62010            769
              20110428
Rx404181111APP404A1                                  ATTORNEYS DOCKET            NO        A00062001PC


                                         IN    THE                 INTELLECTUAL            PROPERTY OFFICE AS


                                         INTERNATIONAL             PRELDECNARY            EXAMINING AUTHORITY




                  Applicant                    SINGULAR       COMPUTING            LLC

                  Serial          No            PCTUS1038769

                      Filed                     June    16     2010

                      For                      Processing           with    Compact        Arithmetic Processing
                                               Element



                      Korean      Intellectual          Property Office

                  Government             Complex Daej eon            Building         4

                      189    Cheongsaro               Seogu
                      Daejeon       302701

                      Republic      of Korea




                                                                         UNDER   ARTICLE         34


                              Please      amend the          above referenced               application           by


                      replacing        page     43    with    the attached            page      43        The    replacement


                      page    corrects         an error in paragraph                  0140        of the        original


                      page    43    which       stated       that    For example                in certain


                      embodiments          a    LPHDR       arithmetic       element produces                   results    which


                      are    sometimes         or     all    of the      time      no closer          than       005      to       the


                      correct      result       that is            the   absolute         value      of    the difference


                      between      the    produced          result and       the      correct        result is no more


                      than    one twentieth            of    one    percent      of       the   absolute        value     of       the


                      correct      result              In the       replacement           page    43       the phrase          no

                      more    than       has been       replaced         with    the phrase           no        less   than         to




                                                                                                                                           SINGULAR 00001761
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 155 of 192
                                                                                    PCMIS 2010
                                                                                                              03    8   7   6 9


                                                                                          IPEA     KR 2        04 2011




   Application     Serial    No        PCTUS1038769          Attorney     Docket    Na     A0006100IPC




   make    the paragraph               internally consistent                  The    replacement


   phrase     no    less         than     is    consistent         with   the    statement             earlier


   in   the   same sentence              that    a LPHDR         arithmetic element produces


   results      that     are       no    closer    than     005         to the      correct       result


           Applicant         therefore          requests      that      the   original page              43    be


   replaced      with       the    attached       page      43


           Applicant         further       requests         that    the   claims originally


   filed      be amended          as    indicated      in    the    attached        replacement           set


   of claims           The       replacement       claims are           supported         by     the


   specification            as    originally       filed      and    therefore        do not


   introduce       new      matter




   Respectfully          submitted




                                                                 April    27       2011

   Robert      Plotkin           Esq                             Date

   Reg     No 43861


   Robert      Plotkin           PC
   15   New England          Executive          Park

   Burlington          MA    01803        USA

   Tel      978     3189914

   Fax      978     3189060




                                                                                                                        SINGULAR 00001762
                                                                                                                                                      9
                                                                                                              PCTIUS     2010            0    3   8
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                                                                                                            IPEA          KR       28 042011




of   the present invention             may include thousands                   millions or         more arithmetic units

embodiments            of the      present invention         may include any number of arithmetic                              units


as few as one                For example even            an embodiment which                     includes only a single


LPHDR          unit   may be used within a serial processing unit or other device                                  to    provide        a


significant       amount of LPHDR               processing power               in   a small inexpensive            processor or

other device


           0139              For certain     embodiments               of   the present invention           even    if




implemented using only digital                   techniques             the arithmetic operations             may not yield

deterministic          repeatable          or the   most accurate             possible results within the chosen                        low


precision       representation             For instance           on   certain specific          input values      an arithmetic

operation        may produce          a result which         is   not the nearest value              in   the chosen


representation          to   the true arithmetic result


           0140              The degree of precision               of   a low precision             high dynamic range

arithmetic       element         may vary from implementation                       to   implementation         For example


in   certain    embodiments            a LPHDR         arithmetic           element produces results which                         include


fractions       that   is values greater than zero and less than                             one    For example               in   certain


embodiments             a    LPHDR      arithmetic      element produces results which                        are sometimes


or all     of the     time no closer than             005 to the correct result that is the absolute
value     of   the difference         between       the produced             result      and the correct      result     is   no     less


than      one twentieth of one percent of the absolute value                                of   the correct result                As

another example a                  LPHDR     arithmetic       element         may produce           results   which are

sometimes or all              of   the time no closer than                  01      to   the correct result        As another

example a LPHDR                    arithmetic    element      may produce                results   which    are sometimes or


at   of   the time no closer than             02        to   the correct        result       As yet another example a

LPHDR          arithmetic        element    may produce            results     which        are sometimes        or all of the

time no closer than                05      to the   correct       result As         yet further examples a               LPHDR

arithmetic       element         may produce          results     which      are sometimes           or all   of the      time no

closer     than       1 2 5 or        or         or   10 or 20               to the       correct result


           0141              Besides having           various possible degrees of precision


implementations              may vary in the dynamic range                      of the      space   of    values they




                                                                                                                                             SINGULAR 00001763
                                                                                                                                                   Re
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page
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Application        Serial     No     PCTUS1038769                     Attorney         Docket      No A00061001PC



                                                                 Claims




        1    canceled




        2    canceled




        3    new          A device


                   comprising             at     least       one       first          low precision high


dynamic       range       LPHDR            execution              unit          adapted       to     execute         a


first       operation         on     a    first        input          signal          representing             a   first


numerical         value        to    produce           a    first          output       signal          representing

a   second        numerical          value


                  wherein           the    dynamic           range          of    the    possible             valid


inputs       to    the    first          operation           is       at    least       as    wide       as    from


165000            through       65000            and       for    at       least       X=5      of      the    possible

valid       inputs       to    the       first        operation                 the    statistical             mean

over    repeated          execution              of    the       first          operation          on    each


specific          input       from the           at    least          X of the possible valid
inputs       to    the    first          operation               of    the       numerical           values


represented          by the          first        output          signal          of    the     LPHDR         unit


executing          the    first          operation           on       that       input       differs by at


least       Y=05         from the          result of an                    exact       mathematical


calculation          of       the    first        operation                on    the    numerical values                        of



that    same       input




                                                                                                                                       SINGULAR 00001764
                                                     PCTIUS 2010    0 3 8 7                                              69
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Application      Serial   No     PCMS1038769            Attorney      Docket   No     A00061001PC




         4    new       The    device    of     claim      3   wherein        the          least       one


 irst        LPHDR   execution      unit      comprises         at   least     part       of   an     FPGA




         5    new       The    device    of     claim      3   wherein        the    at    least       one


first        LPHDR   execution      unit comprises              at   least     ten    LPHDR


execution        units




         6    new       The    device    of     claim      5   wherein        the    at    least       one


first        LPHDR   execution      unit comprises                   least     part of an FPGA




         7    new       The    device    of     claim      3    wherein       the    number of


LPHDR        execution     units    in   the     device        exceeds      by at     least         ten


the     non negative           integer   number       of   execution          units       in    the


device        adapted     to   execute     at    least     the       operation       of


multiplication            On    floating      point     numbers        that    are    at       least      32


bits     wide




              new        The    device   of     claim      7    wherein       the    at    least       one


first        LPHDR   execution      unit comprises at                 least    part of          an    FPGA




                                         DED     SHFETART              34

                                                                                                               SINGULAR 00001765
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                                                          159 of
                                                              i  192
                                                                 0 3 8 7 6 9




Application      Serial   No     PCTUS1038769             Attorney     Docket   No     A00061001PC



         9    new       The     device     of     claim    3    wherein       the     at    least    one


first        LPHDR    execution       unit      comprises       at    least     one    hundred

LPHDR        execution     units




         10    new        The    device      of    claim    3     wherein       the    number       of


LPHDR        execution     units      in   the     device      exceeds      by at      least      one


hundred        the    non negative         integer number of               execution         units       in


the     device       adapted     to   execute       at    least      the   operation         of


multiplication            on    floating        point numbers          that     are    at    least       32


bits     wide




         11    new        The    device      of    claim    3     wherein       the    at    least       one


first        LPHDR    execution       unit      comprises       at    least     five       hundred


LPHDR        execution     units




         12    new        The    device      of    claim    3     wherein       the    number of


LPHDR        execution     units      in   the     device      exceeds      by at      least      five


hundred        the    non negative         integer number of               execution         units       in


the     device       adapted     to   execute       at    least      the   operation         of


multiplication            on    floating        point     numbers that          are    at    least       32


bits     wide




         13     new       A device         comprising a computer                processor         and     a



computer readable memory                    storing computer               program




                                                                                                               SINGULAR 00001766
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                                                     Page2010
                                                          160 of 0192
                                                                   3 8 7 6 9


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Application          Serial      No     PCT1TS1038769               Attorney            Docket            No   A00061001PC



instructions                wherein           the    computer             program instructions                               are


executable            by     the      processor           to   emulate              a    second              device


comprising


                     at    least        one    first       low      precision high dynamic                                   range


LPHDR          execution              unit     adapted         to     execute                a       first      operation            on


a   first       input        signal          representing             a    first             numerical             value        to


produce         a    first       output        signal          representing                      a    second        numerical


value


         wherein           the     dynamic          range      of     the       possible                  valid         inputs       to


the     first        operation           is    at    least       as       wide          as       from        165000

through         65000         and       for    at    least       X=5           of       the          possible           valid


inputs         to    the     first       operation             the        statistical                     mean          over


repeated            execution           of    the    first       operation                   on       each      specific


input        from the         at      least     X of the possible valid inputs to the
first        operation             of    the    numerical             values             represented                    by   the


first        output        signal        of    the     LPHDR        unit executing                           the    first


operation            on    that       input     differs          by       at    least                Y=05          from the


result of            an    exact        mathematical             calculation                         of   the      first


operation            on    the     numerical           values         of       that          same         input




          14    new           The       device       of    claim          13        wherein               the      at    least


one     fi      t    LPHDR       execution           unit       comprises                at          least      ten      LPHDR


execution            uni




                                                                                                                                           SINGULAR 00001767
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 21318
                                                          161 of 192
                                                                 0 3 8 1                                                                            13   9


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Application        Serial      No     PCTUS1038769                       Attorney      Docket      No A00061001PC



        15    new             The    device              of   claim           13     wherein        the       number of


LPHDR    execution             units           in     the     second          device        exceeds           by    at    least


ten    the    non negative                    integer         number          of     execution              units    in       the


second       device          adapted           to   execute              at   least        the   operation               of


multiplication                on     floating point                      numbers          that     are       at    least       32


bits    wide




        16    new             A device


                   comprising                 at    least       one       first       LPHDR        execution             unit


adapted       to    execute           a       first       operation             on    a    first        input        signal


representing             a    first           numerical value                   to    produce           a    first       output


signal       representing                 a    second         numerical              value


                   wherein           the       dynamic          range          of    the    possible              valid


inputs       to    the       first        operation             is       at    Ieast       as    wide        as    from


165000            through          65000            and       for    at       least       X=5      of       the    possible

valid    inputs          to    the        first          operation              the       statistical              mean

over    repeated             execution              of    the       first       operation           on       each


specific          input       from the              at    least          X of the possible valid
inputs       to    the       first        operation                 of    the       numerical           values


represented          by the           first           output         signal          of    the     LPHDR          unit


executing          the       first        operation             on       that       input       differs           by at

least    Y=05            from the              result          of    an       exact       mathematical


calculation          of       the     first           operation               on    the    numerical              values       of
that     same      input



                                                                         $3




                                                                                                                                        SINGULAR 00001768
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                                                                                                 iPEA      YR   2   8 04   2E


Application     Serial      No    CTM1038769             Attorney    Docket     No     A00061001PC



        wherein       the     number of      LPHDR      execution         units       in    the      device


exceeds       the    non negative          integer      number of         execution             units      in


the   device        adapted      to   execute      at   least      the    operation             of

multiplication           on      floating    point      numbers      that are          at       least      32


bits wide




        17    new        The     device     of   claim       16    wherein      the        at    least


one   first     LPHDR       execution       unit comprises           at    least       part of          an


FPGA




        18    new        The     device     of   claim 16          wherein       the       at    least


one   first     LPHDR       execution       unit    comprises        at    least       ten       LPHDR


execution       units




        19    new        The     device     of   claim 18          wherein       the       at    least


one   first     LPHDR       execution       unit comprises           at    least       part of          an


FPGA




        20    new        The     device     of   claim              herein       the       number


LPHDR    execution          units     in   the   device       exceeds      by    at    least         ten


the   non negative            integer      number       of   execution      units          in    the


device       adapted     to      execute    at   least       the   operation          of


multiplication           on      floating point          numbers     that       are    at       least      32


bits wide




                                  MENDED         SHEET ART          3


                                                                                                                    SINGULAR 00001769
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page  163 of 192
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        21     new        The   device     of   claim    20    wherein      the    at    least


one    first     LPHDR     execution       unit   comprises       at    least     part       of   an


FPGA




        22     new        The   device     of   claim    16    wherein      the    at    least


one    first     LPHDR     execution       unit    comprises      at    least     one    hundred


LPHDR    execution         units




        23     new        The   device     of   claim    16    wherein      the    number         of


LPHDR    execution         units     in   the   device    exceeds       by at     least       one


hundred        the    non negative        integer      number of       execution        units       in


the    device        adapted    to   execute      at   least   the     operation        of


multiplication            on    floating    point numbers         that     are    at    least       32



bits    wide




        24     new        The   device     of   claim 16       wherein      the    at    least


one    first     LPHDR     execution       unit    comprises      at    least     five       hundred


LPHDR    execution         units




        25     new        The   device     of   claim    16    wherein      the    number of


LPHDR    execution         units     in   the   device    exceeds       by at     least       five


hundred        the    non negative        integer number of            execution        units       in


the    device        adapted    to   execute      at   least   the     operation        of




                                                                                                         SINGULAR 00001770
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                                                      FCTAIS    of 192 3 8 7 S 3
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Application        Serial      No    PaUS1038769                 Attorney          Docket    No A00061001PC



multiplication                on    floating        point        numbers           that     are    at    least          32


bits    wide




        26    new             A device        comprising            a    computer           processor          and       a



computer      readable memory storing Computer program

instructions                 wherein       the     computer        program instructions                        are


executable          by       the    processor         to    emulate           a    second      device


comprising


                   at    least       one     first     LPHDR        execution               unit   adapted          to


execute       a    first       operation on            a    first        input        signal       representing

a   first     numerical             value     to     produce        a    first        output       signal


representing             a    second       numerical            value


                   wherein the             dynamic         range        of    the     possible          valid


inputs       to    the       first    operation            is           least       as      wide   as    from


165000            through          65000      and     for           least          5 of the possible
valid       inputs       to    the    first        operation             the       statistical           mean

over    repeated             execution        of     the    first        operation            on   each


specific          input       from the        at     least       5 of the possible                      valid


inputs       to    the       first    operation             of    the        numerical         values


represented             by    the    first       output         signal        of    the      LPHDR      unit


executing          the       first    operation            on    that        input       differs        by    at


least       05 from the result of an exact mathematical
calculation             of    the    first       operation          on the          numerical           values          of


that    same       input




                                                                                                                               SINGULAR 00001771
                                                                                                                                     u
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                                                    WM KR 2 g 04 2011                                   I




Application      Serial   No        PCTUS1038769             Attorney       Docket    No        A00061001PC



                 wherein          the     number of       LPHDR        execution           units      in    the


second        device    exceeds           the   non negative            integer           number      of


execution        units       in     the    second      device      adapted           to    executeat

least    the     operation           of   multiplication               on   floating            point

numbers        that    are     at    least       32   bits   wide




        27     new        The       device       of   claim       26    wherein           the    at    least


one    first     LPHDR       execution          unit    comprises           at    least         ten    LPHDR


execution        units




        28     new        The device             of   claim             wherein           the    number


LPHDR    execution           units        in    the   second      device         exceeds         by at       least


ten    the     non negative             integer       number      of    execution           units       in the


second        device    adapted           to    execute      at    least     the      operation             of


multiplication            on      floating point             numbers that             are       at    least      32


bits    wide




         29    new        The       device       of   any    of    claims        328        wherein X =


10



         30    new        The       device       of   any    of    claims        328        wherein


Y=




                                                                                                                        SINGULAR 00001772
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                                                      Page 166 of 03
                                                                  192 g 7
                                                                                          1PEA       ITS    28 04 2011



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       31    new          The         device    of    any of      claims   328         wherein

     15


       32    new          The         device    of    any of      claims   328         wherein

Y=




       33    new          The         device    of    any of      claims   328         wherein       X =


10    and wherein             Y =       1

       34    new          The         device    of    any    of   claims   328         wherein       X =


10    and    wherein          Y =       15


        35   new          The         device    of    any    of   claims   328         wherein X


10    and    wherein          Y   =     2

        36   new          The         device    of    any of      claims   328         wherein        the


dynamic      range       of       the   possible        valid     inputs   to    the    first


operation      is    at       least      as    wide     as   from    11000000           through

1000000




        37    new         The         device    of     any   of   claims   3     13     16      or    26

wherein      the    at    least         one    first     LPHDR      execution     unit    comprises


a    plurality of         locally          connected         LPHDR    execution        units




                                                                                                               SINGULAR 00001773
                                                                                      PUPS 2010         03   8   7   6   8
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 167 of 192
                                                                                          PEA      KR 2 8 042011




Application       Serial   No    PCTUS1038769            Attorney     Docket   No   A00061001PC




        38    new          The   device      of    any   of claims         3
wherein      the    device       has   a    SIM>    architecture




        39    new          The   device      of    any   of    claims      3   13    16     or    26

wherein      the    device       includes         memory      locally      accessible       to    the


at   least    one    first       LPHDR      execution         unit




        40    new          The   device      of    any   of    claims      3 13 16          or     26

wh    em n   the    device       is    implemented on           a    silicon   chip




        41    new          The   device      of    any   of    claims      3   13    16     or    26

wherein      the    device       is    implemented on           a    silicon   chip       using

digital      technology




        42    new          The   device      of    any   of    claims      3   13    16     or     26

wherein      the    device       further      comprises         a digital      processor


adapted      to    control       the    operatidn        of    the    at   least    one    first


PEW      execution          unit




        43    new          The   device      of    any   of    claims                       or     26

wherein      the    at     least      one   LPHDR    execution         unit    comprises         at


least    five      hundred       locally      connected         LPHDR      execution       units




                                                                                                         SINGULAR 00001774
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 168       0 3 0 I6
                                                          2010 ofI 192


                                                                                                         PEA    I    KR 2   8 042011




Application    Serial      No       PCTUS1038769                 Attorney         Docket    No     A00061001PC



wherein      the    device          includes          memory locally                 accessible          to     at


least    one   of    the    LPHDR          execution             units        and     wherein        the       device


is   implemented on             a       silicon       chip       using       digital         technology




        44    new        The        device       of     any of         claims        3               I     1    4f

wherein the         device          is    part    of       a    mobile device




        45    new        The device              of     any      of    claims        3                   or     26

wherein the         at   least           one    first          LPHDR       execution         unit    represents


numbers using a logarithmic                           representation




              new        The        device       of     any      of claims                           f   V      4lIf




wherein      the         least           one    first          LPHDR       execution         unit    represents


numbers using a floating point                                 representation




        47    new        The        device       of     any      of    c    aims                                26

        wherein      the    device             further          compr       ses     input     means       for


receiving      data      representing                 an       input       image       and



        wherein      the    input          image        includes            the     first     input       signal




        48    new        The        device       of     claim         47     wherein         the    device          is



part of      a mobile d             7    re




                                                                                                                            SINGULAR 00001775
 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page         8 7 6 9
                                                       2010 169
                                                              0 of
                                                                 3 192

                                                                                                042011
                                                                                1Za      KR 2




Application     Serial   No    PCTUS1038769          Attorney   Docket   No A00061001PC



      49   new           The   device   of    claim       47   wherein   the    device    is


adapted    to    deblur the         input    image




      50   new           The   device   of    any   of    claims   3     13               6



wherein    the    device       is   adapted    to   perform nearest           neighbor

search




                                                     61




                                     M1ENDED        SHEEVART 34
                                                                                                SINGULAR 00001776
                     Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 170 of 192
                                                                                                                                                                                       PTOSB08a 0110
Doc code    IDS
                                                                                                                                                     Approved   for   use through         OMB 06510031
                                                                                                                                                                                    07312012
Doc description Information        Disclosure     Statement         IDS Filed                                                    US Patent and Trademark Office US DEPARTMENT OF COMMERCE
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                                                                           Application      Number                                 13399884


                                                                           Filing   Date                                          20120217
INFORMATION DISCLOSURE                                                              Named
                                                                           First                 Inventor                BATES Joseph
STATEMENT BY APPLICANT                                                     Art Unit
     Not for submission under 37             CFR 199
                                                                           Examiner Name


                                                                           Attorney    Docket            Number                   AXXXXXXXX




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                         Patent Number                                   Issue     Date                                                                     Relevant          Passages     or   Relevant
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                                                                                                                                                                               SINGULAR 00001777
                                    Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23
                                                                 Number         13399884
                                                                                         Page 171 of 192
                                                                                          Application


                                                                                          Filing    Date                                         20120217
INFORMATION                                   DISCLOSURE                                           Named
                                                                                          First                 Inventor               BATES Joseph
STATEMENT BY APPLICANT                                                                    Art Unit
     Not for submission under 37                               CFR 199
                                                                                          Examiner Name


                                                                                          Attorney         Docket       Number                   AXXXXXXXX




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                                                                                                                                              Applicant             of cited                                                         T5
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English     language           translation    is   attached




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                                                                                                                                                                                                         SINGULAR 00001778
                                      Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23
                                                                   Number         13399884
                                                                                           Page 172 of 192
                                                                                                            Application


                                                                                                            Filing   Date                                20120217
INFORMATION DISCLOSURE                                                                                               Named
                                                                                                            First              Inventor            BATES Joseph
STATEMENT BY APPLICANT                                                                                      Art Unit
 Not for submission under 37                                          CFR 199
                                                                                                            Examiner Name


                                                                                                            Attorney     Docket       Number             AXXXXXXXX




                                                                                                            CERTIFICATION              STATEMENT

Please see 37                    CFR 197 and 198 to make the appropriate                                                     selections




      That each                      item      of    information               contained               in    the    information       disclosure       statement       was     first    cited       in
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pi    from a               foreign          patent         office         in    a    counterpart               foreign       application      not    more than        three     months            prior   to   the     filing   of   the

      information                    disclosure           statement See 37 CFR                                 197e1

 OR

      That     no           item          of    information               contained               in    the     information       disclosure         statement        was     cited     in    a    communication                from    a

      foreign              patent          office     in    a     counterpart                   foreign       application        and     to   the    knowledge        of the         person        signing       the   certification


      after   making reasonable                                 inquiry             no item of information                    contained       in    the information         disclosure        statement           was known            to

      any     individual                   designated                in    37       CFR 156c                   more than         three     months       prior   to    the   filing     of    the    information            disclosure

      statement                      See 37 CFR              197e2



pi    See attached                        certification           statement


pi    The fee set forth                         in   37   CFR 117                   p has been submitted herewith
Acert          i   f   i   cat   i   on statement               is   not    submitted              herewith

                                                                                                                         SIGNATURE
A signature                of the applicant                 or representative                      is       required    in   accordance        with   CFR 133 1018 Please see CFR 14d for the
form of the signature



Signature                                       Robert Plotkin Reg43861                                                                Date    YYYYMMDD                          20120217

NamePrint                                       Robert Plotkin                 Esq                                                     Registration       Number                 43861




This collection                  of information              is      required          by 37           CFR 197 and 198                 The     information      is    required       to obtain       or retain         a   benefit     by the

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                                                                                                                                                                                                           SINGULAR 00001779
                             Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 173 of 192

                                                                                        Privacy Act Statement




The Privacy Act              of   1974    PL 93579 requires that you be given certain information                                                        in   connection        with     your submission        of the

attached         form related to a patent application                         or    patent          Accordingly           pursuant           to the      requirements           of the Act        please be advised
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The information              provided         by you           in this   form will be subject to the following                         routine      uses


       1               The information          on         this   form will be treated confidentially                         to the       extent   allowed       under the Freedom                of Information         Act

                5 USC 552 and the Privacy Act 5 USC 552a                                                    Records from this system of records                                 may be disclosed         to the

                Department         of Justice             to   determine     whether              the   Freedom     of Information              Act requires disclosure                   of these    record    s


       2               A record from this system of records may be disclosed as a routine use in the course                                                                      of presenting       evidence to a

                court magistrate or administrative                           tribunal         including      disclosures              to   opposing           counsel    in   the     course of settlement

                negotiations



       3            A record in this system of records may be disclosed as a routine use to a Member of Congress submitting a
                request involving an individual to whom the record pertains when the individual has requested assistance from the
                Member       with respect        to the            subject   matter          of the     record



       4               A record in this system of records may be disclosed as a routine use                                                         to   a contractor           of the   Agency having need for
                the information          in   order to perform a contract                           Recipients      of information              shall     be required           to    comply with the
                requirements        of the Privacy                 Act of 1974          as amended            pursuant           to    5    USC 552am

       5               A record related to an                    International      Application           filed   under the Patent Cooperation                           Treaty        in this   system of records

                may be disclosed               as a routine use               to   the   International            Bureau of the World                    Intellectual      Property Organization               pursuant
                to the   Patent Cooperation                      Treaty


       6               A record in this system of records may be disclosed as a routine use to another federal agency for purposes                                                                                   of

                National    Security review 35 USC 181 and for review pursuant to the Atomic Energy Act 42 USC 218c



       7               A record from          this        system of records may be disclosed as a routine                                       use to the Administrator General Services or
                hisher designee during an inspection                               of records           conducted             by GSA as part of that agencys                          responsibility to

                recommend          improvements                   in   records     management             practices           and programs under authority of 44                             USC 2904 and
                2906      Such     disclosure              shall    be made        in   accordance          with the          GSA      regulations            governing       inspection         of records    for   this


                purpose and any other relevant                            ie GSA or Commerce                        directive               Such    disclosure          shall    not   be used to make

                determinations           about individuals




       8           A record from this system of records may be disclosed as a routine use to the public after either publication of
                the applicationpursuant to 35 USC 122b or issuance of a patent pursuant to 35 USC 151 Further a record

                may be disclosed subject to the limitations of 37 CFR 114 as a routine use to the public   the record was filed in                                               if




                an application       which became abandoned                              or   in    which the proceedings                    were terminated             and which application            is



                referenced        by either a published                   application             an application         open to public inspections                      or   an issued patent




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                                                     if




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              Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 174 of 192
                                            Electronic          Acknowledgement                 Receipt


                            EFS ID                                  12109374




                 Application       Number                           13399884




        International       Application       Number


                Confirmation         Number                        2684




                  Title of       Invention                         Processing    with   Compact Arithmetic          Processing           Element




      First   Named InventorApplicant               Name           Joseph     Bates




                  Customer Number                                  24208




                             Filer                                 Robert Plotkin




                  Filer Authorized         By


               Attorney Docket          Number                     A0006 1001C1



                     Receipt Date                                   17FEB2012



                      Filing Date




                      Time Stamp                                   201427



                   Application Type                                Utility   under 35 USC   111a



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                 Petition   to   make   Special   under   PCT
                                                                        PPHPetitionpdf                                                             no
                             Patent Pros     Hwy
                                                                                                   00bc0164577607loacScId967bSdeeSba6c

                                                                                                                    234b7




Warnings

Information




                                                                                                                                               SINGULAR 00001781
                 Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 175 of 192
                                                                                                                                     14623456
                     Petition    to   make   Special    under   Pa
                                                                                             IPRPpdf                                                                    no             21
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                                                                                                                      3c92d5b7952e4b573718d43a70817121485

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                     Petition    to   make   Special    under   PCT
                                                                                            Claimspdf                                                                   no             16
                                  Patent Pros     Hwy
                                                                                                                      59a 72dcliaba9b389Sede      1452498546221

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                                                                                             IDSpdf                                                                     no
                                  Patent Pros     Hwy
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Warnings

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New Applications Under 35 USC 111
                                                and the application                                                                                                  date see 37 CFR

            d
If   a   new application   is   being   filed                                     includes     the necessary components                          for a filing

153b            and MPEP        506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement            Receipt will establish the filing                   date of the application



National      Stage of an International Application under 35                         USC 371
If   a timely submission to        enter the national stage of an international application                                is   compliant with the conditions of 35
USC 371 and other applicable                  requirements a Form PCTDOE0903                             indicating        acceptance of the application as a
national      stage submission under 35                USC 371          will   be issued     in   addition to the Filing Receipt                       in   due course


New International       Application          Filed with        the USPTO as a Receiving Office

If   a   new international      application      is
                                                       being    filed   and the international application includes the necessary components                                                 for

an international      filing    date see PCT Article 11 and MPEP                      1810 a Notification of the International                                     Application    Number
and of the International Filing Date Form PCTR0105                                  will    be issued   in   due course subject                     to prescriptions concerning

national      security and the date shown on this Acknowledgement                                   Receipt   will   establish          the international                filing   date of

the application




                                                                                                                                                                      SINGULAR 00001782
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 176 of 192



                               ATTORNEYS           DOCKET       NO A00061001PC

                   IN    THE    KOREAN       INTELLECTUAL                 PROPERTY          OFFICE AS


                   INTERNATIONAL             PRELIMINARY                 EXAMINING          AUTHORITY




Applicant                 SINGULAR          COMPUTING            LLC

Serial    No              PCTUS1038769
Filed                     June    16        2010

For                       Processing          with    Compact              Arithmetic             Processing
                          Element



Korean    Intellectual            Property          Office

Government         Complex Daej eon            Building              4



189    Cheongsaro               Seogu
Daejeon       302701

Republic      of    Korea




                                AMENDMENT          UNDER        ARTICLE          34



        Please      amend       the    above referenced                    application             by


replacing      page       43    with    the    attached              page       43         The    replacement


page    corrects         an    error in paragraph                    0140            of    the    original


page    43    which       stated       that    For example                      in    certain


embodiments          a    LPHDR       arithmetic       element                 produces          results      which


are    sometimes         or     all    of    the    time         no       closer          than    005        to   the


correct      result       that        is     the    absolute              value       of    the    difference


between      the    produced          result and       the           correct          result is         no    more


than   one twentieth             of    one    percent           of       the    absolute          value      of   the


correct      result              In    the    replacement                 page       43     the   phrase          no

more   than        has    been    replaced          with        the       phrase          no     less   than       to


                                                            1




                                                                                                                  SINGULAR 00001783
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 177 of 192
Application       Serial         No    PCTUS1038769             Attorney        Docket    No     A00061001PC




make    the      paragraph             internally         consistent               The     replacement


phrase      no     less          than        is    consistent         with      the      statement          earlier


in   the    same       sentence             that    a LPHDR arithmetic element                             produces


results         that    are           no    closer    than      005        to    the      correct          result


        Applicant            therefore             requests      that      the     original           page    43   be


replaced         with       the       attached       page      43


        Applicant            further          requests         that    the      claims      originally


filed      be    amended          as       indicated      in    the    attached           replacement          set


of   claims            The       replacement          claims        are    supported            by    the


specification               as    originally filed               and      therefore         do       not


introduce         new       matter




Respectfully            submitted




                                                                    April       27       2011

Robert      Plotkin              Esq                                Date

Reg     No       43861



Robert      Plotkin              PC
15   New    England          Executive             Park

Burlington             MA    01803           USA

Tel      978       3189914

Fax      978       3189060




                                                                                                                   SINGULAR 00001784
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 178 of 192



of   the present        invention       may include thousands                         millions or            more arithmetic units

embodiments             of    the present         invention      may include any number of arithmetic units

as few as one                 For example           even an embodiment which                                 includes       only a single


LPHDR          unit   may be used within                 a serial processing                    unit   or other         device     to       provide            a


significant      amount of LPHDR                   processing          power          in   a small inexpensive                    processor or

other device


          0139                For certain        embodiments               of   the    present invention                   even        if




implemented using only                  digital     techniques the arithmetic operations may not                                                  yield


deterministic          repeatable           or the most accurate                     possible results within                     the chosen                 low


precision       representation              For instance              on certain specific                   input values           an arithmetic


operation        may produce           a result which            is   not the         nearest          value       in   the chosen


representation           to   the true arithmetic result


          0140                The degree          of precision         of   a   low precision                 high       dynamic range

arithmetic element                 may vary from implementation to implementation                                                For        example

in   certain    embodiments             a   LPHDR          arithmetic element produces                                  results   which include

fractions       that    is values       greater than            zero and less than                     one        For example                    in   certain


embodiments             a     LPHDR      arithmetic element produces                              results         which are sometimes


or all    of   the time no closer than                   005          to   the correct            result      that is the absolute

value     of the difference           between        the    produced             result and            the correct          result          is   no less

than     one twentieth             of one percent         of the absolute                  value       of   the    correct    result                  As

another        example         a    LPHDR        arithmetic element may produce                                   results    which are

sometimes or all               of   the time no closer             than         01         to   the     correct         result    As another

example         a     LPHDR         arithmetic element            may produce                   results      which are sometimes or

al   of the time no closer than                   02       to   the correct           result           As yet another             example                  a


LPHDR          arithmetic element may produce                          results        which are sometimes or all of the


time no closer than                 05      to    the correct         result As yet further                       examples         a        LPHDR

arithmetic element                 may produce           results      which      are sometimes                    or all    of the time no


closer    than        1°o or    2 5    or           or   10      or        20    to    the correct            result


          0141                Besides       having       various       possible degrees                     of precision


implementations may vary                     in   the dynamic range of the space                                  of    values    they




                                                                                43




                                                                                                                                                           SINGULAR 00001785
Case 1:19-cv-12551-FDS Document 494-4 Filed 05/19/23 Page 179 of 192
Application       Serial     No     PCTUS1038769                     Attorney          Docket    No       A00061001PC




                                                            Claims




        1    canceled




        2    canceled




        3    new          A device



                  comprising             at     least       one          first       low     precision               high


dynamic       range       LPHDR           execution              unit          adapted          to    execute          a


first       operation         on    a    first        input          signal          representing                a    first


numerical         value       to    produce           a   first           output        signal            representing


a   second        numerical         value


                  wherein          the    dynamic           range          of     the possible                  valid


inputs       to   the     first         operation           is       at    least        as    wide         as    from


165000            through      65000            and       for    at       least        X=5       of       the    possible


valid       inputs      to    the       first        operation                 the     statistical               mean

over    repeated          execution             of    the       first          operation             on    each


specific          input      from the           at    least          X of the possible valid
inputs       to   the     first         operation               of       the     numerical            values


represented          by      the    first        output          signal           of    the      LPHDR          unit


executing         the     first         operation           on       that        input       differs by               at


least       Y=05        from the          result of              an       exact        mathematical


calculation          of      the    first        operation                on     the    numerical               values        of


that    same       input

                                                                     4




                                                                                                                              SINGULAR 00001786
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Application      Serial   No     PCTUS1038769           Attorney     Docket     No     A00061001PC




         4    new       The    device    of     claim       3    wherein      the     at    least          one


first        LPHDR   execution      unit      comprises at          least       part       of    an    FPGA




         5    new       The     device   of     claim       3    wherein      the     at    least          one


first        LPHDR   execution      unit      comprises at          least       ten    LPHDR


execution        units




         6    new       The     device   of     claim       5    wherein      the     at    least          one


first        LPHDR   execution      unit      comprises at          least       part       of    an    FPGA




         7    new       The     device   of     claim       3    wherein      the     number          of


LPHDR        execution     units    in   the    device          exceeds    by    at    least          ten


the     non negative           integer   number       of    execution       units          in    the


device        adapted     to   execute     at   least       the    operation          of


multiplication            on    floating      point     numbers      that       are    at       least       32


bits    wide




         8    new       The     device   of     claim       7    wherein      the     at    least          one


first        LPHDR   execution      unit      comprises at          least       part       of    an    FPGA




                                                        5




                                                                                                            SINGULAR 00001787
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         9    new       The     device      of    claim       3    wherein      the      at    least    one


first        LPHDR    execution       unit       comprises at         least        one    hundred


LPHDR        execution     units




         10    new        The    device      of    claim      3     wherein        the    number       of


LPHDR        execution     units      in    the    device         exceeds     by    at    least      one


hundred        the    non negative          integer       number      of     execution          units       in


the     device       adapted     to   execute       at    least      the     operation          of


multiplication            on    floating         point    numbers      that        are    at    least       32


bits     wide




         11    new        The    device      of    claim      3     wherein        the    at    least       one


first        LPHDR    execution       unit       comprises at         least        five       hundred


LPHDR        execution     units




         12    new        The    device      of    claim      3     wherein        the    number       of


LPHDR        execution     units      in    the    device         exceeds     by    at    least      five


hundred        the    non negative          integer       number      of     execution          units       in


the     device       adapted     to   execute       at    least      the     operation          of


multiplication            on    floating         point    numbers      that        are    at    least       32


bits     wide




         13    new        A device         comprising         a    computer        processor         and     a



computer readable               memory      storing       computer          program


                                                          6




                                                                                                            SINGULAR 00001788
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instructions                 wherein          the    computer                program                instructions                are


executable           by      the     processor            to    emulate                a    second              device


comprising


                    at    least         one    first       low       precision                      high dynamic                range


LPHDR           execution            unit      adapted          to       execute                a       first      operation              on


a   first       input        signal          representing                a    first             numerical              value         to


produce         a    first      output         signal          representing                         a    second        numerical


value


         wherein          the      dynamic          range       of       the possible                        valid         inputs         to


the     first       operation            is    at    least       as          wide          as       from        165000

through         65000         and       for    at    least       X=5              of       the          possible           valid


inputs        to    the      first       operation              the          statistical                     mean          over


repeated            execution           of    the    first       operation                      on       each      specific


input       from the          at     least      X of the possible valid                                           inputs        to    the


first       operation              of    the    numerical             values                represented                    by   the


first       output        signal         of    the     LPHDR         unit          executing                    the    first


operation           on    that       input      differs          by          at    least                Y=05          from      the


result of           an    exact         mathematical             calculation                            of   the      first


operation           on    the      numerical           values            of       that          same         input




         14     new           The       device       of    claim             13        wherein               the      at    least


one     first       LPHDR       execution            unit       comprises at                            least      ten      LPHDR


execution           units




                                                                     7




                                                                                                                                      SINGULAR 00001789
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        15    new             The     device             of    claim          13        wherein        the       number           of


LPHDR    execution             units           in     the      second          device           exceeds          by     at    least


ten    the    non negative                    integer          number          of       execution              units     in       the


second       device          adapted           to     execute            at    least          the     operation              of


multiplication                on     floating             point          numbers             that     are       at    least        32


bits    wide




        16    new             A device



                   comprising                 at    least       one       first          LPHDR        execution              unit


adapted       to    execute           a       first       operation                on    a    first        input        signal


representing             a    first           numerical             value          to    produce           a    first        output


signal       representing                 a    second          numerical                value


                   wherein           the       dynamic          range          of       the possible                 valid


inputs       to    the       first        operation             is       at    least          as    wide        as    from


165000            through          65000            and       for    at       least          X=5      of       the    possible


valid    inputs          to    the        first          operation                 the       statistical              mean

over    repeated             execution              of    the       first          operation           on       each


specific          input       from the              at    least          X of the possible valid
inputs       to    the       first        operation                 of    the       numerical              values


represented          by       the     first           output         signal             of    the     LPHDR          unit


executing          the       first        operation             on       that       input          differs by            at


least    Y=05            from the              result of             an       exact          mathematical


calculation          of       the     first           operation               on    the       numerical              values        of


that    same       input




                                                                                                                                   SINGULAR 00001790
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        wherein        the     number        of    LPHDR       execution       units      in    the       device


exceeds        the    non negative            integer          number     of   execution            units       in


the    device        adapted       to   execute          at    least     the   operation            of


multiplication            on      floating         point       numbers     that     are    at       least       32


bits    wide




        17     new        The      device         of   claim       16    wherein     the       at    least


one    first     LPHDR       execution            unit    comprises at          least      part          of   an


FPGA




        18     new        The      device         of   claim       16    wherein     the       at    least


one    first     LPHDR       execution            unit    comprises at          least      ten       LPHDR


execution        units




        19     new        The      device         of   claim       18    wherein     the       at    least


one    first     LPHDR       execution            unit    comprises at          least      part          of   an


FPGA




        20     new        The      device         of   claim       16    wherein     the       number         of


LPHDR    execution           units      in    the      device       exceeds    by    at    least          ten


the    non negative            integer        number          of   execution      units        in    the


device       adapted      to      execute         at   least       the   operation        of


multiplication            on      floating         point       numbers     that     are    at       least       32


bits    wide




                                                                                                                SINGULAR 00001791
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        21     new        The   device     of   claim       20   wherein     the    at    least


one    first     LPHDR     execution       unit    comprises at         least      part       of   an


FPGA




        22     new        The   device     of   claim       16   wherein     the    at    least


one    first     LPHDR     execution       unit    comprises at         least      one    hundred


LPHDR    execution         units




        23     new        The   device     of   claim       16   wherein     the    number         of


LPHDR    execution         units     in   the   device      exceeds    by    at    least       one


hundred        the    non negative        integer      number     of   execution         units       in


the    device        adapted    to   execute      at   least     the   operation         of


multiplication            on    floating    point      numbers     that     are    at    least       32


bits    wide




        24     new        The   device     of   claim       16   wherein     the    at    least


one    first     LPHDR     execution       unit    comprises at         least      five       hundred


LPHDR    execution         units




        25     new        The   device     of   claim       16   wherein     the    number         of


LPHDR    execution         units     in   the   device      exceeds    by    at    least       five


hundred        the    non negative        integer      number     of   execution         units       in


the    device        adapted    to   execute      at   least     the   operation         of

                                                       10




                                                                                                     SINGULAR 00001792
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multiplication                on     floating         point         numbers             that     are   at    least       32


bits    wide




        26    new             A device         comprising                a    computer           processor         and    a



computer readable                    memory       storing           computer             program


instructions                 wherein        the     computer             program           instructions            are


executable          by       the     processor           to    emulate             a    second     device


comprising


                  at     least        one     first       LPHDR          execution             unit    adapted       to


execute       a    first       operation            on    a    first          input        signal      representing


a   first     numerical              value     to     produce            a    first        output      signal


representing             a    second        numerical              value


                  wherein            the    dynamic           range          of    the possible             valid


inputs       to   the        first     operation              is    at       least       as    wide    as    from


165000            through          65000       and       for       at    least          5 of the         possible


valid       inputs       to    the     first        operation                 the       statistical          mean

over    repeated             execution         of     the      first          operation           on   each


specific          input       from the         at     least         5 of the possible valid
inputs       to   the        first     operation               of       the       numerical        values


represented            by     the     first       output           signal          of    the     LPHDR      unit


executing         the        first     operation              on    that          input       differs by       at


least       05 from the result of an exact mathematical
calculation            of     the     first       operation              on       the    numerical          values       of


that    same      input




                                                                    11




                                                                                                                         SINGULAR 00001793
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                 wherein         the      number      of    LPHDR      execution           units       in    the


second       device    exceeds            the   non negative            integer           number      of


execution        units      in      the    second      device       adapted          to    execute          at


least    the     operation           of    multiplication              on   floating            point


numbers        that   are      at    least       32   bits    wide




        27     new        The       device       of   claim       26    wherein           the    at    least


one    first     LPHDR      execution           unit       comprises at         least           ten    LPHDR


execution        units




        28     new        The       device       of   claim       26    wherein           the    number          of


LPHDR    execution          units         in    the   second      device       exceeds           by   at     least


ten    the     non negative            integer        number      of    execution           units       in       the


second       device    adapted            to    execute      at   least      the      operation             of


multiplication            on     floating         point      numbers        that      are       at    least       32


bits    wide




        29     new        The       device       of   any    of   claims       328          wherein          X    =


10



        30     new        The       device       of   any of      claims       328          wherein


Y=




                                                             12




                                                                                                                  SINGULAR 00001794
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       31   new          The          device     of     any   of   claims   328         wherein


    15


       32   new          The          device     of     any   of   claims   328         wherein


Y=




       33   new          The          device     of     any   of   claims   328         wherein       X


10    and   wherein          Y    =    1




       34   new          The          device     of     any   of   claims   328         wherein       X


10    and   wherein          Y    =    15


       35   new          The          device     of     any   of   claims   328         wherein       X   =


10    and   wherein          Y    =    2

       36   new          The          device     of     any of     claims   328         wherein       the


dynamic     range       of       the    possible         valid     inputs   to    the    first


operation     is    at       least         as   wide     as   from    11000000           through


1000000




       37   new          The          device     of     any   of   claims   3     13     16      or   26

wherein     the    at    least          one     first     LPHDR      execution     unit    comprises


a   plurality      of    locally            connected         LPHDR    execution        units


                                                              13




                                                                                                          SINGULAR 00001795
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        38   new           The   device      of    any of       claims      3   13    16     or     26

wherein      the    device       has    a   SIMD    architecture




        39   new           The   device      of    any of       claims      3   13    16     or     26

wherein      the    device       includes         memory      locally       accessible       to     the


at   least    one    first       LPHDR      execution         unit




        40   new           The   device      of    any of       claims      3   13    16     or     26

wherein      the    device       is    implemented         on    a    silicon    chip




        41   new           The   device      of    any of       claims      3   13    16     or     26

wherein      the    device       is    implemented         on    a    silicon    chip      using


digital      technology




        42   new           The   device      of    any of       claims      3   13    16     or     26

wherein      the    device       further      comprises a             digital    processor


adapted      to    control       the    operation        of     the    at   least    one    first


LPHDR    execution          unit




        43   new           The   device      of    any   of     claims      3   13    16     or     2E



wherein      the    at     least      one   LPHDR    execution          unit    comprises         at


least    five      hundred       locally      connected          LPHDR      execution       units


                                                         14




                                                                                                         SINGULAR 00001796
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wherein      the      device             includes          memory          locally       accessible        to    at


least    one     of    the          LPHDR       execution             units       and wherein           the     device


is   implemented               on    a    silicon          chip       using      digital        technology




        44     new             The       device       of    any       of    claims       3     13     16   or    26

wherein      the      device             is    part    of       a   mobile       device




        45     new             The       device       of    any       of    claims       3     13     16   or    26

wherein      the      at       least          one   first           LPHDR    execution          unit    represents


numbers      using         a    logarithmic                representation




        46     new             The       device       of    any       of    claims       3     13     16   or    26

wherein      the      at       least          one   first           LPHDR    execution          unit    represents


numbers      using         a    floating            point           representation




        47   new               The       device       of    any of          claims       3     13     16   or    26

        wherein        the          device          further          comprises input             means     for


receiving        data          representing                an       input    image        and



        wherein        the          input       image       includes            the    first     input     signal




        48   new               The       device       of    claim          47   wherein         the    device     is


part    of   a   mobile             device




                                                                      15




                                                                                                                      SINGULAR 00001797
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      49   new           The    device   of    claim      47   wherein   the    device    is


adapted    to    deblur        the   input    image




      50   new           The    device   of    any   of   claims   3     13    16   or   26


wherein    the    device        is   adapted    to   perform     nearest      neighbor


search




                                                     16




                                                                                              SINGULAR 00001798
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